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                                                                         APPEAL,CONSOL
                             U.S. District Court
                  District of Columbia (Washington, DC)
            CIVIL DOCKET FOR CASE #: 1:19−mc−00145−TSC

IN THE MATTER OF THE FEDERAL BUREAU OF            Date Filed: 08/20/2019
PRISONS' EXECUTION PROTOCOL CASES                 Jury Demand: None
Assigned to: Judge Tanya S. Chutkan               Nature of Suit: 550 Prisoner Petition: Civil
Member cases:                                     Rights (Other)
   1:19−cv−03520−TSC                              Jurisdiction: U.S. Government Defendant
   1:20−cv−00474−TSC
   1:20−cv−00557−TSC
   1:20−cv−01693−TSC
   1:20−cv−02481−TSC
 Cases: 1:05−cv−02337−TSC
        1:07−cv−02145−TSC
        1:12−cv−00782−TSC
        1:13−cv−00938−TSC
        1:20−cv−03184−TSC
        1:20−cv−00557−TSC
        1:19−cv−03214−TSC
        1:19−cv−03570−TSC
        1:20−cv−01693−TSC
        1:19−cv−03611−TSC
        1:20−cv−00474−TSC
        1:20−cv−02481−TSC
Case in other court: USCA, 19−05322
                     USCA, 20−05199
                     USCA, 20−05206
                     USCA, 20−05210
                     USCA, 20−05252
                     USCA, 20−05260
                     USCA, 20−05285
                     USCA, 20−05329
Cause: 42:1981 Civil Rights
In Re
IN THE MATTER OF THE
FEDERAL BUREAU OF PRISONS'
EXECUTION PROTOCOL CASES

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     Case 1:19-mc-00145-TSC Document 325 Filed 11/19/20 Page 8 of 105


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    Case 1:19-mc-00145-TSC Document 325 Filed 11/19/20 Page 15 of 105


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Intervenor Plaintiff
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Intervenor Plaintiff
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V.
Defendant
KAREN TANDY                         represented by Bradley P. Humphreys
Administrator, Drug Enforcement                    (See above for address)
Administration (05cv2337)                          LEAD ATTORNEY
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                                                  Cristen Cori Handley
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                                                      Jean Lin
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                                                      Alan Burch
                                                      (See above for address)
                                                      TERMINATED: 09/23/2020

                                                      Ethan Price Davis
                                                      (See above for address)
                                                      TERMINATED: 07/03/2020

Defendant
HARLEY G. LAPPIN                       represented by Bradley P. Humphreys
Director, Federal Bureau of Prisons;                  (See above for address)
05cv2337;07cv02145                                    LEAD ATTORNEY

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    Case 1:19-mc-00145-TSC Document 325 Filed 11/19/20 Page 18 of 105


                                                   ATTORNEY TO BE NOTICED

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                                                   Johnny Hillary Walker , III
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                                                   Jonathan D. Kossak
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                                                   Paul R. Perkins
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                                                   Alan Burch
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                                                   TERMINATED: 09/23/2020

                                                   Ethan Price Davis
                                                   (See above for address)
                                                   TERMINATED: 07/03/2020

Defendant
NEWTON E. KENDIG, II                   represented by Bradley P. Humphreys
Medical Director, Health Services                     (See above for address)
Division, Federal Bureau of Prisons;                  LEAD ATTORNEY
05cv2337;12cv782 ;13cv938                             ATTORNEY TO BE NOTICED

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                                                   Denise M. Clark

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                                                       Johnny Hillary Walker , III
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                                                       Jonathan D. Kossak
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                                                       Paul R. Perkins
                                                       (See above for address)
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                                                       Ethan Price Davis
                                                       (See above for address)
                                                       TERMINATED: 07/03/2020

Defendant
MARK BEZY                               represented by Bradley P. Humphreys
Warden, U.S. Penitentiary Terre Haute                  (See above for address)
(05cv2337)                                             LEAD ATTORNEY

                                                                                          19
   Case 1:19-mc-00145-TSC Document 325 Filed 11/19/20 Page 20 of 105


                                                   ATTORNEY TO BE NOTICED

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                                                   Denise M. Clark
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                                                   Johnny Hillary Walker , III
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                                                   Jonathan D. Kossak
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                                                   Paul R. Perkins
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                                                   Peter S. Smith
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                                                   Robert J. Erickson
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                                                   Alan Burch
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                                                   TERMINATED: 09/23/2020

                                                   Ethan Price Davis
                                                   (See above for address)
                                                   TERMINATED: 07/03/2020

Defendant
                                  represented by

                                                                                 20
     Case 1:19-mc-00145-TSC Document 325 Filed 11/19/20 Page 21 of 105


JOHN DOES                                             Bradley P. Humphreys
I−V, Individually and in their official               (See above for address)
capacities 05cv2337; 12cv00782 I−X                    LEAD ATTORNEY
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                                                      Johnny Hillary Walker , III
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                                                      Jonathan D. Kossak
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                                                      TERMINATED: 09/23/2020

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Defendant
THOMAS WEBSTER                            represented by Bradley P. Humphreys
M.D.− Clinical Director;                                 (See above for address)
05cv2337;12cv782; 13cv938                                LEAD ATTORNEY
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                                                        ATTORNEY TO BE NOTICED

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                                                        Johnny Hillary Walker , III
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                                                        Jonathan D. Kossak
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                                                        Alan Burch
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                                                        TERMINATED: 09/23/2020

                                                        Ethan Price Davis
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                                                        TERMINATED: 07/03/2020

Defendant
ERIC H. HOLDER, JR.                         represented by Bradley P. Humphreys
Attorney General for the United States of                  (See above for address)
America; 05cv2337; 12cv782;13cv938                         LEAD ATTORNEY
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                                                        LEAD ATTORNEY
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                                                        Jean Lin

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                                              Johnny Hillary Walker , III
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                                              Jonathan D. Kossak
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                                              Alan Burch
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                                              TERMINATED: 09/23/2020

                                              Ethan Price Davis
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Defendant
MICHAEL B. MUKASEY                represented by Bradley P. Humphreys
07−cv−02145−TSC                                  (See above for address)
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   Case 1:19-mc-00145-TSC Document 325 Filed 11/19/20 Page 24 of 105




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                                              Alan Burch
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                                              TERMINATED: 09/23/2020

                                              Ethan Price Davis
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                                              TERMINATED: 07/03/2020

Defendant
KAREN TANDY                       represented by Bradley P. Humphreys
07−cv−02145−TSC                                  (See above for address)
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                                                                            24
   Case 1:19-mc-00145-TSC Document 325 Filed 11/19/20 Page 25 of 105


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                                              Alan Burch
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                                              TERMINATED: 09/23/2020

                                              Ethan Price Davis
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                                              TERMINATED: 07/03/2020

Defendant
ALAN R. DOERHOFF                  represented by Bradley P. Humphreys
07−cv−02145−TSC                                  (See above for address)
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                                                       Alan Burch
                                                       (See above for address)
                                                       TERMINATED: 09/23/2020

                                                       Ethan Price Davis
                                                       (See above for address)
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Defendant
JOHN DOES                                  represented by Bradley P. Humphreys
I−IV, Individually and in their official                  (See above for address)
capacities; 07−cv−02145−TSC                               LEAD ATTORNEY
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                                                       Johnny Hillary Walker , III
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                                                       TERMINATED: 09/23/2020

                                                       Ethan Price Davis
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                                                       TERMINATED: 07/03/2020


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    Case 1:19-mc-00145-TSC Document 325 Filed 11/19/20 Page 27 of 105



Defendant
MICHELE LEONHART                   represented by Bradley P. Humphreys
07−cv−02145; 12cv782; 13cv938                     (See above for address)
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                                               Alan Burch
                                               (See above for address)
                                               TERMINATED: 09/23/2020

                                               Ethan Price Davis
                                               (See above for address)
                                               TERMINATED: 07/03/2020

Defendant
CHARLES E. SAMUELS, JR.            represented by Bradley P. Humphreys
07−cv−02145; 12−cv−00782                          (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                               Cristen Cori Handley

                                                                             27
   Case 1:19-mc-00145-TSC Document 325 Filed 11/19/20 Page 28 of 105


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                                              LEAD ATTORNEY
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                                              Denise M. Clark
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                                              Jean Lin
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                                              LEAD ATTORNEY
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                                              Johnny Hillary Walker , III
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                                              Jonathan D. Kossak
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                                              Paul R. Perkins
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                                              Alan Burch
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                                              TERMINATED: 09/23/2020

                                              Ethan Price Davis
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                                              TERMINATED: 07/03/2020

Defendant
JOHN F. CARAWAY                   represented by Bradley P. Humphreys
07cv2145; 13cv938                                (See above for address)
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                                                                            28
   Case 1:19-mc-00145-TSC Document 325 Filed 11/19/20 Page 29 of 105




                                              Jean Lin
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                                              Alan Burch
                                              (See above for address)
                                              TERMINATED: 09/23/2020

                                              Ethan Price Davis
                                              (See above for address)
                                              TERMINATED: 07/03/2020

Defendant
UNITED STATES DEPARTMENT          represented by Bradley P. Humphreys
OF JUSTICE                                       (See above for address)
12cv782; 13cv938                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                              Cristen Cori Handley
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                                              Denise M. Clark
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                                              Johnny Hillary Walker , III
                                              (See above for address)

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   Case 1:19-mc-00145-TSC Document 325 Filed 11/19/20 Page 30 of 105


                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Jonathan D. Kossak
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                                              Paul R. Perkins
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                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Alan Burch
                                              (See above for address)
                                              TERMINATED: 09/23/2020

                                              Ethan Price Davis
                                              (See above for address)
                                              TERMINATED: 07/03/2020

Defendant
PAUL LAIRD                        represented by Bradley P. Humphreys
12−cv−00782                                      (See above for address)
                                                 LEAD ATTORNEY
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                                              Cristen Cori Handley
                                              (See above for address)
                                              LEAD ATTORNEY
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                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Jean Lin
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                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Johnny Hillary Walker , III
                                              (See above for address)
                                              LEAD ATTORNEY
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                                              Jonathan D. Kossak
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   Case 1:19-mc-00145-TSC Document 325 Filed 11/19/20 Page 31 of 105


                                              Paul R. Perkins
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Alan Burch
                                              (See above for address)
                                              TERMINATED: 09/23/2020

                                              Ethan Price Davis
                                              (See above for address)
                                              TERMINATED: 07/03/2020

Defendant
KERRY J. FORESTAL                 represented by Bradley P. Humphreys
12cv782;13cv938                                  (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                              Cristen Cori Handley
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Denise M. Clark
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Jean Lin
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Johnny Hillary Walker , III
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Jonathan D. Kossak
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Paul R. Perkins
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Alan Burch
                                              (See above for address)
                                              TERMINATED: 09/23/2020

                                                                            31
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                                                   Ethan Price Davis
                                                   (See above for address)
                                                   TERMINATED: 07/03/2020

Defendant
CHARLES L. LOCKETT                represented by Bradley P. Humphreys
12−cv−00782                                      (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                   Cristen Cori Handley
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Denise M. Clark
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Jean Lin
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Johnny Hillary Walker , III
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Jonathan D. Kossak
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Paul R. Perkins
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Alan Burch
                                                   (See above for address)
                                                   TERMINATED: 09/23/2020

                                                   Ethan Price Davis
                                                   (See above for address)
                                                   TERMINATED: 07/03/2020

Defendant
                                  represented by


                                                                                 32
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WILLIAM P. BARR                               Bradley P. Humphreys
19−cv−03214−TSC                               (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Cristen Cori Handley
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Johnny Hillary Walker , III
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Paul R. Perkins
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Scott A.C. Meisler
                                              U.S. DEPARTMENT OF JUSTICE
                                              950 Pennsylvania Ave NW
                                              Ste 1264
                                              Washington, DC 20530
                                              202−307−3803
                                              Email: scott.meisler@usdoj.gov
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Alan Burch
                                              (See above for address)
                                              TERMINATED: 09/23/2020

Defendant
JEFFREY E. KRUEGER                represented by Bradley P. Humphreys
19−cv−03214−TSC                                  (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                              Cristen Cori Handley
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Johnny Hillary Walker , III
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Paul R. Perkins
                                              (See above for address)

                                                                               33
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                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Scott A.C. Meisler
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Alan Burch
                                              (See above for address)
                                              TERMINATED: 09/23/2020

Defendant
JOSEPH MCCLAIN                    represented by Bradley P. Humphreys
19−cv−03214−TSC                                  (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                              Cristen Cori Handley
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Johnny Hillary Walker , III
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Paul R. Perkins
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Alan Burch
                                              (See above for address)
                                              TERMINATED: 09/23/2020

Defendant
RADM CHRIS A. BINA                represented by Bradley P. Humphreys
19−cv−03214−TSC                                  (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                              Cristen Cori Handley
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Johnny Hillary Walker , III
                                              (See above for address)
                                              LEAD ATTORNEY


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                                                   ATTORNEY TO BE NOTICED

                                                   Paul R. Perkins
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Scott A.C. Meisler
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Alan Burch
                                                   (See above for address)
                                                   TERMINATED: 09/23/2020

Defendant
T. J. WATSON                           represented by Bradley P. Humphreys
19−cv−03214−TSC                                       (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Cristen Cori Handley
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Johnny Hillary Walker , III
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Paul R. Perkins
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Scott A.C. Meisler
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Alan Burch
                                                   (See above for address)
                                                   TERMINATED: 09/23/2020

Defendant
UTTAM DHILLON                          represented by Bradley P. Humphreys
19cv3520; Acting Administrator, U.S.                  (See above for address)
Drug Enforcement Administration                       LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED


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                                                   Cristen Cori Handley
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Johnny Hillary Walker , III
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Defendant
NICOLE ENGLISH                         represented by Bradley P. Humphreys
19cv3520; Acting Assistant Director,                  (See above for address)
Health Services, Federal Bureau of                    LEAD ATTORNEY
Prisons                                               ATTORNEY TO BE NOTICED

                                                   Cristen Cori Handley
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Johnny Hillary Walker , III
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Alan Burch
                                                   (See above for address)
                                                   TERMINATED: 09/23/2020

Defendant
U.S. DEPARTMENT OF JUSTICE             represented by Jean Lin
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Johnny Hillary Walker , III
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED


V.
Debtor−in−Possess
WILLIAM E. WILSON                      represented by Scott A.C. Meisler
M.D.,; 19−cv−03214−TSC                                (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED



                                                                                 36
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V.
Intervenor Defendant
RICHARD VEACH                           represented by Denise M. Clark
Warden, U.S. Penitentiary Terre Haute                  (See above for address)
(05cv2337); 07cv02145                                  LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Movant
LISA MARIE MONTGOMERY                   represented by Kelley Henry
                                                       Federal Public Defender TNM
                                                       810 Broadway
                                                       Ste 200
                                                       Nashville, TN 37203
                                                       615−736−5047
                                                       Email: kelley_henry@fd.org
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Intervenor
JEFFREY PAUL                            represented by Gary E. Proctor
(05cv2337)                                             LAW OFFICES OF GARY E. PROCTOR,
                                                       LLC
                                                       8 E. Mulberry Street
                                                       Baltimore, MD 21202
                                                       (410) 444−1500
                                                       Fax: (443) 836−9162
                                                       Email: garyeproctor@gmail.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      Shawn Nolan
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Robert L. McGlasson
                                                      MCGLASSON & ASSOCIATES, PC
                                                      1024 Clairemont Avenue
                                                      Decatur, GA 30030
                                                      (404) 314−7664
                                                      Fax: (404) 879−0005
                                                      Email: rlmcglasson@comcast.net
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Sean D. O'Brien
                                                      PUBLIC INTEREST LITIGATION
                                                      CLINIC
                                                      6155 Oak


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    Case 1:19-mc-00145-TSC Document 325 Filed 11/19/20 Page 38 of 105


                                                             Suite C
                                                             Kansas City, MO 64113
                                                             (816) 363−2795
                                                             Fax: (816) 363−2799
                                                             Email: dplc@dplclinic.com
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

Intervenor
DUSTIN HIGGS                                represented by Shawn Nolan
(05cv2337)                                                 (See above for address)
                                                           ATTORNEY TO BE NOTICED


 Date Filed   #    Page Docket Text
 08/15/2019             Minute Entry: Status Conference held on 8/15/2019 before Judge Tanya S.
                        Chutkan: Parties will adhere to the following schedule: Defendants shall file
                        the administrative record on or before August 30, 2019; Plaintiffs shall
                        complete the necessary 30(b)(6) depositions on or before February 28, 2020;
                        and Plaintiffs shall file an amended complaint on or before March 31, 2020.
                        Order forthcoming regarding consolidation of 05−2337; 07−2145; 12−782;
                        and 13−958. (Court Reporter Bryan Wayne) (tb) Modified on 8/19/2019
                        (lctsc1). (Entered: 08/16/2019)− (Entry originally filed in 05cv2337 on
                        08/15/19.) (Entered: 08/29/2019)
 08/20/2019    1        ORDER: Upon consideration of the parties consent motions and the
                        representations made by the parties at the August 15, 2019 status conference,
                        the court hereby consolidates the four mention cases in the case caption of this
                        order, pursuant to Federal Rule of Civil Procedure 42(a). It is therefore
                        ORDERED that the following cases are to be consolidated into A Master Case
                        File established for the lead case, 05−cv−2337 (TSC), as well as 07−cv−2145
                        (TSC), 12−cv−0782 (TSC), and 13−cv−0938 (TSC). All filings shall be made
                        solely in the Master Case. SEE ORDER FOR DETAILS. Signed by Judge
                        Tanya S. Chutkan on 8/20/19. (ztd) (Main Document 1 replaced on 8/29/2019)
                        (tb). Modified on 8/29/2019 (DJS). (Entered: 08/27/2019)
 08/29/2019    2        MOTION for Preliminary Injunction by ALFRED BOURGEOIS
                        (Attachments: # 1 Statement of Facts, # 2 Text of Proposed Order)(ztd);
                        (Document originally filed in 12cv782 on 8/19/19) (Entered: 08/29/2019)
 08/29/2019    3        MOTION for Extension of Time to File Response/Reply by ERIC H.
                        HOLDER, JR, NEWTON E. KENDIG, II, HARLEY G. LAPPIN, MICHAEL
                        B. MUKASEY (Attachments: # 1 Text of Proposed Order)(ztd); (Document
                        originally filed in 05cv2337.) (Entered: 08/29/2019)
 08/29/2019             MINUTE ORDER: Defendants' consent motion 3 for an extension of time to
                        file a response to Plaintiff Alfred Bourgeois' (12−cv−00782) motion 2 for a
                        preliminary injunction barring the execution of Plaintiff Bourgeois is
                        GRANTED. Defendants shall file their response on or before September 16,
                        2019. Plaintiff's reply is due within one week of Defendants' response or
                        September 23, 2019, whichever date is earlier. Signed by Judge Tanya S.
                        Chutkan on 8/29/2019. (lctsc1) (Entered: 08/29/2019)


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08/30/2019   4      NOTICE of Filing Certification of the Administrative Record and the Index of
                    the Administrative Record by UNITED STATES DEPARTMENT OF
                    JUSTICE (Attachments: # 1 Certified List of the Contents of the
                    Administrative Records)Associated Cases: 1:19−mc−00145−TSC,
                    1:05−cv−02337−TSC, 1:07−cv−02145−TSC, 1:12−cv−00782−TSC,
                    1:13−cv−00938−TSC(Clark, Denise) (Entered: 08/30/2019)
09/04/2019          Set/Reset Deadlines: Response due by 9/16/2019. Reply due by 9/23/2019.
                    Associated Cases: 1:19−mc−00145−TSC, 1:05−cv−02337−TSC,
                    1:07−cv−02145−TSC, 1:12−cv−00782−TSC, 1:13−cv−00938−TSC(tb)
                    (Entered: 09/04/2019)
09/05/2019   5      NOTICE of Appearance by Jean Lin on behalf of All Defendants (Lin, Jean)
                    (Entered: 09/05/2019)
09/05/2019   6      Memorandum in opposition to re 2 MOTION for Preliminary Injunction (This
                    Document Relates to Bourgeois v. Department of Justice, No. 12−0782 filed
                    by KERRY J. FORESTAL, ERIC H. HOLDER, JR, PAUL LAIRD,
                    MICHELE LEONHART, CHARLES L. LOCKETT, MICHAEL B.
                    MUKASEY, CHARLES E. SAMUELS, JR, UNITED STATES
                    DEPARTMENT OF JUSTICE, THOMAS WEBSTER. (Lin, Jean) (Entered:
                    09/05/2019)
09/05/2019   7      MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Pieter Van Tol,
                    :Firm− Hogan Lovells US LLP, :Address− 390 Madison Avenue New York,
                    NY 10017. Phone No. − (212) 918−3000. Fax No. − (212) 918−3100 Filing
                    fee $ 100, receipt number 0090−6360193. Fee Status: Fee Paid. by DANIEL
                    LEWIS LEE (Attachments: # 1 Declaration of Pieter Van Tol, # 2 Text of
                    Proposed Order, # 3 Certificate of Service)(Hagerty, Elizabeth) (Entered:
                    09/05/2019)
09/05/2019   8      MOTION for Leave to Appear Pro Hac Vice :Attorney Name− John D. Beck,
                    :Firm− Hogan Lovells US LLP, :Address− 390 Madison Avenue New York,
                    NY 10017. Phone No. − (212) 918−3000. Fax No. − (212) 918−3100 Filing
                    fee $ 100, receipt number 0090−6360222. Fee Status: Fee Paid. by DANIEL
                    LEWIS LEE (Attachments: # 1 Declaration of John D. Beck, # 2 Text of
                    Proposed Order, # 3 Certificate of Service)(Hagerty, Elizabeth) (Entered:
                    09/05/2019)
09/06/2019          MINUTE ORDER: THIS ORDER RELATES TO LEE (19cv2559). Granting
                    7 8 Motions for Leave to Appear Pro Hac Vice. Pieter Van Tol and John D.
                    Beck are hereby admitted pro hac vice to appear in this matter on behalf of
                    Plaintiff Daniel Lee. Signed by Judge Tanya S. Chutkan on 9/6/19. (DJS)
                    (Entered: 09/06/2019)
09/06/2019          MINUTE ORDER: THIS ORDER RELATES TO ALL CASES. The parties
                    are hereby reminded that, pursuant to the cour's Consolidation Order (ECF No.
                    1 ), when a filing is made that applies solely to ONE CASE, both the
                    document and THE ECF ENTRY must contain a notation indicating that the
                    filing Relates to [insert case NAME and NUMBER]. Documents that do not
                    meet the requirements in the court's order may be STRICKEN sua sponte.
                    Signed by Judge Tanya S. Chutkan on 9/6/19. (DJS) (Entered: 09/06/2019)
09/10/2019   9      NOTICE of Appearance by David Solomon Victorson on behalf of DANIEL
                    LEWIS LEE (Victorson, David) (Entered: 09/10/2019)

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09/11/2019   10     RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed
                    as to the United States Attorney. Date of Service Upon United States Attorney
                    on 9/11/2019. Answer due for ALL FEDERAL DEFENDANTS by
                    11/10/2019. (Hagerty, Elizabeth) (Entered: 09/11/2019)
09/12/2019   11     REPLY to opposition to motion re (2 in 1:19−mc−00145−TSC) MOTION for
                    Preliminary Injunction (The filing relates to Bourgeois v. United States
                    Department of Justice, et al., No. 12−cv−0782−TSC) filed by ALFRED
                    BOURGEOIS. Associated Cases: 1:19−mc−00145−TSC et al.(Kursman,
                    Alexander) (Entered: 09/12/2019)
09/13/2019          MINUTE ORDER: The Court's 8/15/19 Order requiring that the Defendants
                    file the administrative "record" by 8/30/19, is hereby AMENDED to reflect
                    that, pursuant to Local Civil Rule 7(n), Defendants were obligated to file "a
                    certified list of the contents of the administrative record" by 8/30/19. Signed
                    by Judge Tanya S. Chutkan on 9/13/19. (DJS) (Entered: 09/13/2019)
09/13/2019   12     TRANSCRIPT OF STATUS HEARING before Judge Tanya S. Chutkan held
                    on August 15, 2019, re Consolidated Cases, CV Nos. 05−2337, 07−2145,
                    12−0782, 13−0938. Page Numbers: 1−22. Date of Issuance: 9/13/19. Court
                    Reporter: Bryan A. Wayne. Transcripts may be ordered by submitting the
                    Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 10/4/2019. Redacted Transcript Deadline set for
                    10/14/2019. Release of Transcript Restriction set for 12/12/2019.(Wayne,
                    Bryan) (Entered: 09/13/2019)
09/27/2019   13     MOTION for Preliminary Injunction (This filing relates to Lee v. Barr et al.,
                    Case No. 19−cv−02559−TSC) by DANIEL LEWIS LEE (Attachments: # 1
                    Memorandum in Support, # 2 Declaration of Pieter Van Tol, # 3 Exhibit 1 −
                    True and correct copy of a document entitled Addendum to BOP Execution
                    Protocol Federal Death Sentence Implementation Procedures Effective July
                    25, 2019., # 4 Text of Proposed Order)(Van Tol, Pieter) (Entered: 09/27/2019)
10/01/2019   14     Joint MOTION for Briefing Schedule as to 13 MOTION for Preliminary
                    Injunction (This filing relates to Lee v. Barr et al., Case No.
                    19−cv−02559−TSC) (This document relates to Lee v. Barr,19−cv−2559) by
                    UNITED STATES DEPARTMENT OF JUSTICE (Attachments: # 1 Text of
                    Proposed Order)(Lin, Jean) Modified event title on 10/3/2019 (znmw).
                    (Entered: 10/01/2019)


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10/01/2019          MINUTE ORDER: The parties' joint motion 14 for an extension of time to file
                    a response and reply to Plaintiff Daniel Lee's (19−cv−02559) motion 13 for a
                    preliminary injunction barring implementation of the new federal lethal
                    injunction protocol is GRANTED. Defendants shall file their response on or
                    before October 18, 2019. Plaintiff's reply is due on or before November 1,
                    2019. Signed by Judge Tanya S. Chutkan on 10/1/2019. (lctsc1) (Entered:
                    10/01/2019)
10/01/2019          Set/Reset Deadlines: Defendants' Response due by 10/18/2019. Plaintiff's
                    Reply due by 11/1/2019. (zjd) (Entered: 10/03/2019)
10/02/2019   15     NOTICE of Appearance by Amy J. Lentz on behalf of ORLANDO HALL
                    (Lentz, Amy) (Main Document 15 replaced on 10/2/2019) (ztd). (Entered:
                    10/02/2019)
10/18/2019   16     Memorandum in opposition to re 13 MOTION for Preliminary Injunction
                    (This filing relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) (This
                    document relates to Lee v. Barr,19−cv−2559) filed by MARK BEZY, JOHN
                    F. CARAWAY, ALAN R. DOERHOFF, JOHN DOES(I−IV, Individually and
                    in their official capacities; 07−cv−02145−TSC), JOHN DOES(I−V,
                    Individually and in their official capacities 05cv2337; 12cv00782 I−X),
                    KERRY J. FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER,
                    JR, NEWTON E. KENDIG, II, PAUL LAIRD, HARLEY G. LAPPIN,
                    MICHELE LEONHART, CHARLES L. LOCKETT, MICHAEL B.
                    MUKASEY, CHARLES E. SAMUELS, JR, KAREN TANDY(Administrator,
                    Drug Enforcement Administration (05cv2337)), UNITED STATES
                    DEPARTMENT OF JUSTICE, THOMAS WEBSTER. (Lin, Jean) (Entered:
                    10/18/2019)
10/24/2019   17     ENTERED IN ERROR.....NOTICE of Supplementation to the Administrative
                    Record and Filing of Certification of the Amended Administrative Record and
                    the Amended Index of the Administrative Record by MARK BEZY, JOHN F.
                    CARAWAY, ALAN R. DOERHOFF, JOHN DOES(I−IV, Individually and in
                    their official capacities; 07−cv−02145−TSC), JOHN DOES(I−V, Individually
                    and in their official capacities 05cv2337; 12cv00782 I−X), KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER, JR,
                    NEWTON E. KENDIG, II, PAUL LAIRD, HARLEY G. LAPPIN, MICHELE
                    LEONHART, CHARLES L. LOCKETT, MICHAEL B. MUKASEY,
                    KAREN TANDY(Administrator, Drug Enforcement Administration
                    (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED STATES
                    DEPARTMENT OF JUSTICE, THOMAS WEBSTER re 4 Notice (Other),
                    (Attachments: # 1 Certification and Amended Index to Administrative
                    Record)(Kossak, Jonathan) Modified on 10/25/2019 (zjf). (Entered:
                    10/24/2019)
10/24/2019   18     MOTION for Leave to File supplemental briefing in support of Daniel Lewis
                    Lee's Motion for Preliminary Injunction 13 (This filing relates to Lee v. Barr
                    et al., Case No. 19−cv−02559−TSC), MOTION for Leave to File Excess
                    Pages for a reply brief by DANIEL LEWIS LEE (Attachments: # 1
                    Declaration of Pieter Van Tol, # 2 Exhibit 1 − Transcript for August 15, 2019
                    Hearing before Court, # 3 Exhibit 2 − E−mail exchange between P. Van Tol
                    and counsel for Defendants, October 2, 2019, # 4 Exhibit 3 − E−mail
                    exchange between counsel for Defendants and P. Enzinna, September 25,


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                    2019 and October 1, 2019, # 5 Exhibit 4 − E−mail exchange between P. Van
                    Tol and counsel for Defendants, October 7, 2019 to October 23, 2019, # 6 Text
                    of Proposed Order)(Van Tol, Pieter) (Entered: 10/24/2019)
10/25/2019   19     RESPONSE re 18 MOTION for Leave to File supplemental briefing in
                    support of Daniel Lewis Lee's Motion for Preliminary Injunction 13 (This
                    filing relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) MOTION
                    for Leave to File Excess Pages for a reply brief filed by UNITED STATES
                    DEPARTMENT OF JUSTICE. (Clark, Denise) (Entered: 10/25/2019)
10/25/2019          NOTICE OF CORRECTED DOCKET ENTRY: Document No. re 17 Notice
                    (Other) was entered in error at the request of counsel and will be refiled.(jf)
                    (Entered: 10/25/2019)
10/25/2019   20     NOTICE (Corrected) of Supplementation to the Administrative Record and
                    Filing of Certification of the Amended Administrative Record and the
                    Amended Index of the Administrative Record (This filing relates to all cases
                    consolidated in In the Matter of the Federal Bureau of Prisons' Execution
                    Protocol Cases, Case No. 19−mc−145) by MARK BEZY, JOHN F.
                    CARAWAY, ALAN R. DOERHOFF, JOHN DOES(I−IV, Individually and in
                    their official capacities; 07−cv−02145−TSC), JOHN DOES(I−V, Individually
                    and in their official capacities 05cv2337; 12cv00782 I−X), KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER, JR,
                    NEWTON E. KENDIG, II, PAUL LAIRD, HARLEY G. LAPPIN, MICHELE
                    LEONHART, CHARLES L. LOCKETT, MICHAEL B. MUKASEY,
                    CHARLES E. SAMUELS, JR, KAREN TANDY(Administrator, Drug
                    Enforcement Administration (05cv2337)), KAREN
                    TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT OF
                    JUSTICE, THOMAS WEBSTER re 4 Notice (Other), (Attachments: # 1
                    Certification and Amended Index to Administrative Record)(Kossak,
                    Jonathan) (Entered: 10/25/2019)
10/29/2019   21     NOTICE of Appearance by Jonathan D. Kossak on behalf of All Defendants
                    (Kossak, Jonathan) (Entered: 10/29/2019)
11/01/2019          MINUTE ORDER granting, in part, and denying, in part, 18 Motion to Allow
                    Supplemental Briefing and to Extend Page Limit. Granting with respect to
                    page extension and denying without prejudice until further order of the Court
                    with respect to supplemental briefing. Signed by Judge Tanya S. Chutkan on
                    11/1/19. (lcdl) (Entered: 11/01/2019)
11/01/2019   22     REPLY to opposition to motion re 13 MOTION for Preliminary Injunction
                    (This filing relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) (This
                    filing relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) filed by
                    DANIEL LEWIS LEE. (Van Tol, Pieter) (Entered: 11/01/2019)
11/01/2019   23     DECLARATION of Pieter Van Tol to 22 . . . .REPLY to opposition to motion
                    re 13 MOTION for Preliminary Injunction (This filing relates to Lee v. Barr et
                    al., Case No. 19−cv−02559−TSC) Reply Declaration of Pieter Van Tol (This
                    filing relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) filed by
                    DANIEL LEWIS LEE. (Attachments: # 1 Exhibit A − Appellants Petition for
                    En Banc Rehearing Death Penalty Case, May 14, 2020, # 2 Exhibit B −E−mail
                    exchange between me and counsel for the Defendants between the period of
                    October 7, 2019 and October 23, 2019, # 3 Exhibit C − Transcript for the


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                    conference before the Court on August 15, 2019)(Van Tol, Pieter) Modified
                    text on 11/4/2019 (ztd). (Entered: 11/01/2019)
11/01/2019   24     DECLARATION of Gail A. Van Norman, M.D. to 22 . . . . . REPLY to
                    opposition to motion re 13 MOTION for Preliminary Injunction (This filing
                    relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) Expert Declaration
                    of Gail A. Van (This filing relates to Lee v. Barr et al., Case No.
                    19−cv−02559−TSC) Norman, M.D. filed by DANIEL LEWIS LEE. (Van Tol,
                    Pieter) Modified text on 11/4/2019 (ztd). (Entered: 11/01/2019)
11/01/2019   25     DECLARATION of Craig W. Stevens, Ph.D. to 22 . . . . .REPLY to
                    opposition to motion re 13 MOTION for Preliminary Injunction (This filing
                    relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) Expert Declaration
                    of Craig W. Stevens Ph.D. (This filing relates to Lee v. Barr et al., Case No.
                    19−cv−02559−TSC) filed by DANIEL LEWIS LEE. (Van Tol, Pieter)
                    Modified text on 11/4/2019 (ztd). (Entered: 11/01/2019)
11/01/2019   26     Unopposed MOTION to Intervene by DUSTIN LEE HONKEN (Attachments:
                    # 1 Exhibit Complaint, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6
                    Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12
                    Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit)Associated Cases:
                    1:19−mc−00145−TSC et al.(Schmidt, Amelia) (Entered: 11/01/2019)
11/04/2019   27     MOTION for Extension of Time to Respond to Complaint by UNITED
                    STATES DEPARTMENT OF JUSTICE (Clark, Denise) Modified on
                    11/5/2019 (ztd). (Entered: 11/04/2019)
11/05/2019   28     NOTICE of Appearance by Jonathan Jeffress on behalf of DUSTIN LEE
                    HONKEN (Jeffress, Jonathan) (Entered: 11/05/2019)
11/05/2019   29     MOTION for Preliminary Injunction by DUSTIN LEE HONKEN
                    (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, #
                    6 Exhibit)(Jeffress, Jonathan) (Entered: 11/05/2019)
11/05/2019          NOTICE OF ERROR re 28 Notice of Appearance; emailed to
                    jjeffress@kaiserdillon.com, cc'd 64 associated attorneys −− The PDF file you
                    docketed contained errors: 1. Counsel must call Attorney Admissions, (202)
                    354−3110, regarding status. (ztd, ) (Entered: 11/05/2019)
11/05/2019   30     RESPONSE re 27 MOTION for Extension of Time to File Response/Reply
                    (This filing relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) filed by
                    DANIEL LEWIS LEE. (Van Tol, Pieter) (Entered: 11/05/2019)
11/05/2019   31     Consent MOTION for Extension of Time to Respond to Proposed
                    Plaintiff/Intervenor Honken's Motion for Preliminary Injunction (This filing
                    relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) by MARK BEZY,
                    JOHN F. CARAWAY, ALAN R. DOERHOFF, JOHN DOES(I−IV,
                    Individually and in their official capacities; 07−cv−02145−TSC), JOHN
                    DOES(I−V, Individually and in their official capacities 05cv2337; 12cv00782
                    I−X), KERRY J. FORESTAL, CHADRICK EVAN FULKS, ERIC H.
                    HOLDER, JR, NEWTON E. KENDIG, II, PAUL LAIRD, HARLEY G.
                    LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT, MICHAEL B.
                    MUKASEY, CHARLES E. SAMUELS, JR, KAREN TANDY(Administrator,
                    Drug Enforcement Administration (05cv2337)), KAREN
                    TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT OF


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                    JUSTICE, THOMAS WEBSTER (Attachments: # 1 Text of Proposed
                    Order)(Kossak, Jonathan) (Entered: 11/05/2019)
11/06/2019   32     MOTION for Leave to File the expert declarations of Gail A. Norman, M.D.
                    and Craig W. Stevens, Ph.D. (This filing relates to Lee v. Barr et al., Case No.
                    19−cv−02559−TSC) by DANIEL LEWIS LEE (Attachments: # 1 Text of
                    Proposed Order)(Van Tol, Pieter) (Entered: 11/06/2019)
11/07/2019   33     Joint MOTION for Hearing (This filing relates to All Cases) by DANIEL
                    LEWIS LEE (Van Tol, Pieter) (Entered: 11/07/2019)
11/07/2019          MINUTE ORDER denying 33 the parties' motion for a hearing without
                    prejudice until further order of the Court. The Court intends to issue a ruling
                    and/or hold a hearing no later than November 20, 2019. Signed by Judge
                    Tanya S. Chutkan on November 7, 2019. (tsclc2) (Entered: 11/07/2019)
11/08/2019          MINUTE ORDER: Granting 26 Dustin Lee Honkin's Unopposed Motion to
                    Intervene, pursuant to Federal Rule of Civil Procedure 24(b). Denying 31
                    Consent Motion for Extension of Time to respond to Dustin Lee Honkin's
                    Motion for Preliminary Judgment. Defendant shall file its response by
                    November 12, 2019 at 5pm. Plaintiff's reply brief shall be filed by November
                    18, 2019 at 12 p.m. The Court will view motions for extension with extreme
                    disfavor. Granting 27 Defendant's Motion for Extension of Time to Respond
                    to Daniel Lewis Lee's Complaint. Defendant's response to the Complaint shall
                    be filed no later than April 30, 2020 at 12 p.m.. Signed by Judge Tanya S.
                    Chutkan on 11/8/2019. (tsclc2) (Entered: 11/08/2019)
11/08/2019          Set/Reset Deadlines/Hearings: Answer due by 4/30/2020. Response due by
                    11/12/2019. Reply due by 11/18/2019. (tb) (Entered: 11/08/2019)
11/08/2019   34     MOTION for Preliminary Injunction Barring the Implementation of the Newly
                    Announced Federal Lethal Injection Protocol, by WESLEY IRA PURKEY
                    (Attachments: # 1 Text of Proposed Order)(Smith, Arin) (Entered:
                    11/08/2019)
11/08/2019   38     Intervenor COMPLAINT filed by DUSTIN LEE HONKEN. (Attachments: #
                    1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6
                    Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11
                    Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14)(ztd) (Entered:
                    11/13/2019)
11/12/2019   35     NOTICE of Appearance by Ethan Price Davis on behalf of All Defendants
                    (Attachments: # 1 Certificate of Service)(Davis, Ethan) (Entered: 11/12/2019)
11/12/2019   36     RESPONSE re 29 MOTION for Preliminary Injunction (This document
                    relates to Lee v. Barr,19−cv−2559, re Intervenor Plaintiff Honken) filed by
                    UNITED STATES DEPARTMENT OF JUSTICE. (Attachments: # 1
                    Declaration of Raul Campos)(Lin, Jean) (Entered: 11/12/2019)
11/12/2019   37     Memorandum in opposition to re 34 MOTION for Preliminary Injunction
                    Barring the Implementation of the Newly Announced Federal Lethal Injection
                    Protocol, (This document relates to Purkey v. Barr, 19−cv−03214) filed by
                    UNITED STATES DEPARTMENT OF JUSTICE. (Lin, Jean) (Entered:
                    11/12/2019)
11/12/2019

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                    MINUTE ORDER: Defendant shall file the administrative record in its
                    entirety no later than November 14, 2019 at 5pm. Given this order, parties
                    need not jointly prepare the appendix referred to in Local Civil Rule
                    7(n)(1),(2). Signed by Judge Tanya S. Chutkan on 11/12/19. (tsclc2) (Entered:
                    11/12/2019)
11/13/2019          MINUTE ORDER: This order relates to 19cv3214 (Wesley Purkey).
                    GRANTING Motions for Admission Pro Hac Vice filed in 19cv3214−TSC at
                    ECF Nos. 3 and 4 Alan E. Schoenfeld and Ryan M. Chabot are hereby
                    admitted pro hac vice in this matter on behalf of Wesley Purkey. Signed by
                    Judge Tanya S. Chutkan on 11/13/19. (DJS) Modified on 11/13/2019 (tb).
                    Modified on 11/13/2019 (tb). (Entered: 11/13/2019)
11/13/2019          MINUTE ORDER: Counsel are hereby reminded that pursuant to Paragraph 8
                    of this court's Consolidation Order 1 , when a document is filed that relates to
                    one or more, but not all consolidated cases, the relevant case name(s) and
                    CASE NUMBER(S) must appear in the caption of the document AND on the
                    CM/ECF ENTRY (e.g., This document relates to LEE HONKEN
                    19−cv−2559). Signed by Judge Tanya S. Chutkan on 11/13/19. (DJS)
                    (Entered: 11/13/2019)
11/13/2019   39     NOTICE of Filing of the Amended Administrative Record (this filing relates to
                    All Cases) by UNITED STATES DEPARTMENT OF JUSTICE
                    (Attachments: # 1 Amended Administrative Record)(Kossak, Jonathan)
                    (Entered: 11/13/2019)
11/13/2019   40     NOTICE of Appearance− Pro Bono by Charles Frederick Walker on behalf of
                    CORY JOHNSON (Walker, Charles) (Entered: 11/13/2019)
11/13/2019   41     NOTICE of Appearance− Pro Bono by Steven M Albertson on behalf of
                    CORY JOHNSON (Albertson, Steven) (Entered: 11/13/2019)
11/14/2019          Set/Reset Deadlines: Administrative Record due by 11/14/2019. (tb) (Entered:
                    11/14/2019)
11/14/2019   42     NOTICE of Appearance by Alan Burch on behalf of All Defendants (Burch,
                    Alan) (Entered: 11/14/2019)
11/14/2019   43     NOTICE of Appearance by Paul Perkins on behalf of All Defendants (Perkins,
                    Paul) (Entered: 11/14/2019)
11/18/2019   44     REPLY to opposition to motion re (29 in 1:19−mc−00145−TSC) MOTION
                    for Preliminary Injunction filed by DUSTIN LEE HONKEN. (Attachments: #
                    1 Exhibit)Associated Cases: 1:19−mc−00145−TSC,
                    1:19−cv−02559−TSC(Jeffress, Jonathan) (Entered: 11/18/2019)
11/18/2019   45     SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                    filed by DUSTIN LEE HONKEN (This document is SEALED and only
                    available to authorized persons.) (Attachments: # 1 Exhibit Reply to
                    Opposition, # 2 Exhibit Exhibit 1)(Jeffress, Jonathan) (Entered: 11/18/2019)
11/18/2019   46     SEALED MOTION filed by WESLEY IRA PURKEY (Attachments: # 1
                    Exhibit 1, # 2 Exhibit 2, # 3 Text of Proposed Order)(Smith, Arin) (Entered:
                    11/18/2019)
11/18/2019   47


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                    REPLY to opposition to motion re 34 MOTION for Preliminary Injunction
                    Barring the Implementation of the Newly Announced Federal Lethal Injection
                    Protocol, (This document relates to Purkey v. Barr, 19−cv−03214) filed by
                    WESLEY IRA PURKEY. (Attachments: # 1 Exhibit 1)(Smith, Arin) Modified
                    text on 11/18/2019 at the request of counsel (ztth). (Entered: 11/18/2019)
11/18/2019          MINUTE ORDER: Granting DUSTIN LEE HONKEN's 45 Sealed Motion for
                    Leave to File Document Under Seal and WESLEY IRA PURKEY's 46 Sealed
                    Motion for leave to File Document Under Seal. SO ORDERED − by Judge
                    Tanya S. Chutkan on 11/18/19. (tb) (Entered: 11/18/2019)
11/18/2019   48     SEALED REPLY TO OPPOSITION filed by DUSTIN LEE HONKEN re 29
                    MOTION for Preliminary Injunction (This document is SEALED and only
                    available to authorized persons.) (Attachments: # 1 Exhibit)(ztd) (Entered:
                    11/19/2019)
11/18/2019   49     SEALED REPLY TO OPPOSITION filed by WESLEY IRA PURKEY re 34
                    MOTION for Preliminary Injunction Barring the Implementation of the Newly
                    Announced Federal Lethal Injection Protocol, (This document is SEALED
                    and only available to authorized persons.) (Attachments: # 1 Exhibit)(ztd)
                    (Entered: 11/19/2019)
11/20/2019   50     MEMORANDUM AND OPINION regarding Plaintiffs' motions 2 13 29 34
                    for preliminary injunction. Signed by Judge Tanya S. Chutkan on 11/20/2019.
                    (tsclc) (Entered: 11/20/2019)
11/20/2019   51     ORDER granting 2 Motion for Preliminary Injunction; granting 13 Motion for
                    Preliminary Injunction; granting 29 Motion for Preliminary Injunction;
                    granting 34 Motion for Preliminary Injunction. Defendants are hereby
                    enjoined from executing Plaintiffs until further order of this court. See Order
                    for additional details. Signed by Judge Tanya S. Chutkan on 11/20/2019.
                    (tsclc) (Entered: 11/20/2019)
11/20/2019   56     SEALED DOCUMENT filed by WILLIAM P. BARR, MARK BEZY,
                    RADM CHRIS A. BINA, JOHN F. CARAWAY, ALAN R. DOERHOFF,
                    JOHN DOES(I−IV, Individually and in their official capacities;
                    07−cv−02145−TSC), JOHN DOES(I−V, Individually and in their official
                    capacities 05cv2337; 12cv00782 I−X), KERRY J. FORESTAL, CHADRICK
                    EVAN FULKS, ERIC H. HOLDER, JR, NEWTON E. KENDIG, II,
                    JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G. LAPPIN, MICHELE
                    LEONHART, CHARLES L. LOCKETT, JOSEPH MCCLAIN, MICHAEL B.
                    MUKASEY, CHARLES E. SAMUELS, JR, KAREN TANDY(Administrator,
                    Drug Enforcement Administration (05cv2337)), KAREN
                    TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT OF
                    JUSTICE, T. J. WATSON, THOMAS WEBSTER. (This document is
                    SEALED and only available to authorized persons.)(ztd) (Entered:
                    11/21/2019)
11/21/2019   52     NOTICE OF APPEAL TO DC CIRCUIT COURT as to 51 Order on Motion
                    for Preliminary Injunction,,,,,,, 50 Order by UNITED STATES
                    DEPARTMENT OF JUSTICE. Fee Status: No Fee Paid. Parties have been
                    notified. (Attachments: # 1 November 20, 2019 Order, # 2 November 20, 2019
                    Memorandum Opinion)(Lin, Jean) (Entered: 11/21/2019)
11/21/2019   53

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                    MOTION to Stay Preliminary Injunction Pending Appeal (This document
                    relates to Bourgeois v. Dep't of Justice, 12−cv−782, Lee v. Barr,
                    19−cv−2559, and Purkey v. Barr, 19−cv−3214) by UNITED STATES
                    DEPARTMENT OF JUSTICE (Attachments: # 1 Text of Proposed
                    Order)(Lin, Jean) (Entered: 11/21/2019)
11/21/2019   54     AFFIDAVIT re 53 MOTION to Stay Preliminary Injunction Pending Appeal
                    (This document relates to Bourgeois v. Dep't of Justice, 12−cv−782, Lee v.
                    Barr, 19−cv−2559, and Purkey v. Barr, 19−cv−3214) (Declaration of Rick
                    Winter) by UNITED STATES DEPARTMENT OF JUSTICE. (Lin, Jean)
                    (Entered: 11/21/2019)
11/21/2019   55     Transmission of the Notice of Appeal, Order Appealed (Memorandum
                    Opinion), and Docket Sheet to US Court of Appeals. The Court of Appeals
                    docketing fee was not paid because the appeal was filed by the government re
                    52 Notice of Appeal to DC Circuit Court,. (ztd) (Entered: 11/21/2019)
11/22/2019   57     RESPONSE re 53 MOTION to Stay Preliminary Injunction Pending Appeal
                    (This document relates to Bourgeois v. Dep't of Justice, 12−cv−782, Lee v.
                    Barr, 19−cv−2559, and Purkey v. Barr, 19−cv−3214) filed by ALFRED
                    BOURGEOIS, DUSTIN LEE HONKEN, DANIEL LEWIS LEE, WESLEY
                    IRA PURKEY. (Smith, Arin) (Entered: 11/22/2019)
11/22/2019          MINUTE ORDER: Upon consideration of Defendants' 53 Motion to Stay, this
                    court finds that Defendants are not likely to succeed on the merits of their
                    appeal and that the balance of harms does not weigh in favor of a stay.
                    Therefore, Defendants' 53 Motion to Stay is hereby DENIED. Signed by Judge
                    Tanya S. Chutkan on 11/22/2019. (tsclc) (Entered: 11/22/2019)
11/22/2019          USCA Case Number 19−5322 for 52 Notice of Appeal to DC Circuit Court,
                    filed by UNITED STATES DEPARTMENT OF JUSTICE. (zrdj) (Entered:
                    11/22/2019)
12/03/2019   58     Supplemental Record on Appeal transmitted to US Court of Appeals re Minute
                    Order on Motion to Stay, ; (ztd) (Entered: 12/03/2019)
12/04/2019          MINUTE ORDER: This order relates to Lee (19cv2559). Denying without
                    prejudice 32 Motion for Leave to File Declarations given that the court did not
                    rely on the declarations in ruling on the motion for preliminary injunction.
                    Signed by Judge Tanya S. Chutkan on 12/04/19. (tsclc2) (Entered:
                    12/04/2019)
12/04/2019          MINUTE ORDER: Status Conference scheduled for February 6, 2020 at 2:00
                    PM in Courtroom 9 before Judge Tanya S. Chutkan to discuss discovery,
                    filing a consolidated amended complaint, and a case management plan. Signed
                    by Judge Tanya S. Chutkan on 12/04/19. (tsclc2) (Entered: 12/04/2019)
12/05/2019   59     NOTICE of Appearance− Pro Bono by Evan D. Miller on behalf of BRUCE
                    WEBSTER (Miller, Evan) (Entered: 12/05/2019)
12/06/2019          Minute Entry: Telephone Conference held on 12/6/2019 before Judge Tanya
                    S. Chutkan. (Court Reporter Bryan Wayne) (tb) (Entered: 12/09/2019)
12/10/2019   60     NOTICE of Appearance by Scott Wilson Braden on behalf of NORRIS G.
                    HOLDER, JR (Braden, Scott) (Main Document 60 replaced on 12/10/2019)
                    (ztd). (Entered: 12/10/2019)

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12/12/2019          MINUTE ORDER: By 4:00 pm on 2/4/20, the parties shall file a joint status
                    report that includes a proposal for moving forward with this case, including
                    potentially filing consolidated pleadings and avoiding repetitious filings. The
                    joint report shall be accompanied by a proposed order. Signed by Judge Tanya
                    S. Chutkan on 12/12/19. (DJS) (Entered: 12/12/2019)
12/13/2019   61     NOTICE of Appearance− Pro Bono by Eric Hernandez on behalf of BRUCE
                    WEBSTER (Hernandez, Eric) (Entered: 12/13/2019)
12/13/2019          Set/Reset Deadlines: Joint Status Report due by 2/4/2020. (tb) (Entered:
                    12/13/2019)
12/14/2019   62     MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Andrew
                    Moshos, Filing fee $ 100, receipt number ADCDC−6646229. Fee Status: Fee
                    Paid. by NORRIS G. HOLDER, JR (Attachments: # 1 Declaration, # 2 Text of
                    Proposed Order)(Braden, Scott) (Entered: 12/14/2019)
12/14/2019   63     MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Stephen
                    Kraftschik, Filing fee $ 100, receipt number ADCDC−6646230. Fee Status:
                    Fee Paid. by NORRIS G. HOLDER, JR (Attachments: # 1 Declaration, # 2
                    Text of Proposed Order)(Braden, Scott) (Entered: 12/14/2019)
12/14/2019   64     MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Jennifer Ying,
                    Filing fee $ 100, receipt number ADCDC−6646233. Fee Status: Fee Paid. by
                    NORRIS G. HOLDER, JR (Attachments: # 1 Declaration, # 2 Text of
                    Proposed Order)(Braden, Scott) (Entered: 12/14/2019)
12/23/2019          MINUTE ORDER: Granting 62 63 64 Motions for Leave to Appear Pro Hac
                    Vice. Andrew Moshos, Stephen Kraftschik and Jennifer Ying are hereby
                    admitted pro hac vice to appear in this matter on behalf of Plaintiff Norris
                    Holder (19−cv−3570). Counsel should register for e−filing via PACER and
                    file a notice of appearance pursuant to LCvR 83.6(a). Click for
                    instructions; granting 63 Motion for Leave to Appear Pro Hac Vice Counsel
                    should register for e−filing via PACER and file a notice of appearance
                    pursuant to LCvR 83.6(a). Click for instructions; granting 64 Motion for
                    Leave to Appear Pro Hac Vice Counsel should register for e−filing via
                    PACER and file a notice of appearance pursuant to LCvR 83.6(a). Click
                    for instructions. Signed by Judge Tanya S. Chutkan on 12/23/19. (DJS)
                    (Entered: 12/23/2019)
12/26/2019   65     NOTICE of Appearance by Stephen J. Kraftschik on behalf of NORRIS G.
                    HOLDER, JR(19−cv−03520−TSC) (Kraftschik, Stephen) (Entered:
                    12/26/2019)
12/26/2019   66     NOTICE of Appearance by Jennifer Ying on behalf of NORRIS G. HOLDER,
                    JR(19−cv−03520−TSC) (Ying, Jennifer) (Entered: 12/26/2019)
12/26/2019   67     NOTICE of Appearance by Andrew Moshos on behalf of NORRIS G.
                    HOLDER, JR(19−cv−03520−TSC) (Moshos, Andrew) (Entered: 12/26/2019)
01/02/2020   68     NOTICE OF WITHDRAWAL OF APPEARANCE as to DANIEL LEWIS
                    LEE. Attorney Elizabeth Hagerty terminated. (Hagerty, Elizabeth) (Entered:
                    01/02/2020)
01/14/2020   69     NOTICE of Second Supplement to Administrative Record by WILLIAM P.
                    BARR, MARK BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY,

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                    UTTAM DHILLON, ALAN R. DOERHOFF, NICOLE ENGLISH, KERRY
                    J. FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER, JR,
                    NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD,
                    HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT,
                    JOSEPH MCCLAIN, MICHAEL B. MUKASEY (Attachments: # 1 Campos
                    Declaration and Corrected Page of Administrative Record, # 2 Certification of
                    Second Amended Index of Administrative Record)(Burch, Alan) (Entered:
                    01/14/2020)
01/16/2020          Set/Reset Hearings: Status Conference set for 02/06/2020 has been
                    RESCHEDULED to 2/12/2020 at 11:00 AM in Courtroom 9 before Judge
                    Tanya S. Chutkan. (tb) (Entered: 01/16/2020)
01/22/2020   70     NOTICE of Filing Under Seal Video of Rule 30(b)(6) deposition of US
                    Marshals Service by WILLIAM P. BARR, MARK BEZY, RADM CHRIS A.
                    BINA, JOHN F. CARAWAY, UTTAM DHILLON, ALAN R. DOERHOFF,
                    NICOLE ENGLISH, KERRY J. FORESTAL, CHADRICK EVAN FULKS,
                    ERIC H. HOLDER, JR, NEWTON E. KENDIG, II, JEFFREY E. KRUEGER,
                    PAUL LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES
                    L. LOCKETT, JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES
                    E. SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement
                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC),
                    UNITED STATES DEPARTMENT OF JUSTICE, T. J. WATSON,
                    THOMAS WEBSTER (Burch, Alan) (Entered: 01/22/2020)
01/30/2020   71     NOTICE of Filing Under Seal Video of Rule 30(b)(6) deposition of the Office
                    of the Attorney General by WILLIAM P. BARR, MARK BEZY, RADM
                    CHRIS A. BINA, JOHN F. CARAWAY, UTTAM DHILLON, ALAN R.
                    DOERHOFF, NICOLE ENGLISH, KERRY J. FORESTAL, CHADRICK
                    EVAN FULKS, ERIC H. HOLDER, JR, IN THE MATTER OF THE
                    FEDERAL BUREAU OF PRISONS' EXECUTION PROTOCOL CASES,
                    NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD (Burch,
                    Alan) (Entered: 01/30/2020)
01/31/2020   72     Unopposed MOTION for Extension of Time to File Joint Status Report by
                    WILLIAM P. BARR, MARK BEZY, RADM CHRIS A. BINA, JOHN F.
                    CARAWAY, UTTAM DHILLON, ALAN R. DOERHOFF, KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER, JR,
                    NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD,
                    HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT,
                    JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E. SAMUELS,
                    JR, KAREN TANDY(07−cv−02145−TSC), UNITED STATES
                    DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS WEBSTER
                    (Burch, Alan) (Entered: 01/31/2020)
01/31/2020   73     MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Stephanie
                    Simon, Filing fee $ 100, receipt number ADCDC−6786976. Fee Status: Fee
                    Paid. by WESLEY IRA PURKEY (Attachments: # 1 Declaration of Stephanie
                    Simon, # 2 Text of Proposed Order)(Smith, Arin) (Entered: 01/31/2020)
02/03/2020          MINUTE ORDER granting 72 Unopposed Motion for Extension. Joint Status
                    Report is now due at February 10, 2020 at 4PM. Signed by Judge Tanya S.
                    Chutkan on 2/3/2020. (lcdl) (Entered: 02/03/2020)



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02/04/2020   74     NOTICE of Appearance by Andres C. Salinas on behalf of WESLEY IRA
                    PURKEY (Salinas, Andres) (Entered: 02/04/2020)
02/04/2020          Set/Reset Deadlines: Joint Status Report due by 2/10/2020. (tb) (Entered:
                    02/04/2020)
02/05/2020   75     MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Norman
                    Anderson, Fee Status: No Fee Paid. by DUSTIN LEE HONKEN
                    (Attachments: # 1 Declaration, # 2 Text of Proposed Order)Associated Cases:
                    1:19−mc−00145−TSC, 1:19−cv−03520−TSC(Jeffress, Jonathan) (Entered:
                    02/05/2020)
02/07/2020          MINUTE ORDER: Denying without prejudice 73 Motion for Admission Pro
                    Hac Vice for failing to fully comply with Local Civil Rule 83.2(d)(6). Affiants
                    with offices located outside of the District of Columbia are still required to
                    provide sufficient information for the court to determine "whether the affiant
                    engages in the practice of law from an office located in the District of
                    Columbia." Signed by Judge Tanya S. Chutkan on 2/7/2020. (DJS) (Entered:
                    02/07/2020)
02/07/2020          MINUTE ORDER: Granting in part and denying in part 75 Motion for
                    Admission Pro Hac Vice. Norman Anderson may be heard in open court on
                    behalf of Defendant HONKEN, but may not file papers in this court. See
                    Local Civil Rule 83.2(c)(2) ("An attorney who engages in the practice of law
                    from an office located in the District of Columbia must be a member of the
                    District of Columbia Bar AND the Bar of this Court to file papers in this
                    Court."). Counsel should register for ECF via PACER and file a notice of
                    appearance pursuant to LCvR 83.6(a). Click for instructions. Signed by
                    Judge Tanya S. Chutkan on 2/7/2020. (DJS) (Entered: 02/07/2020)
02/10/2020   76     Joint STATUS REPORT by DANIEL LEWIS LEE. (Attachments: # 1 Text of
                    Proposed Order)(Van Tol, Pieter) (Entered: 02/10/2020)
02/10/2020   77     Unopposed MOTION for Leave to Appear by Telephone at the February 12,
                    2020 Status Conference by JULIUS ROBINSON (Attachments: # 1 Text of
                    Proposed Order)Associated Cases: 1:19−mc−00145−TSC,
                    1:19−cv−03520−TSC(Aminoff, Jonathan) (Entered: 02/10/2020)
02/11/2020          MINUTE ORDER granting 77 Motion for Leave to Appear by Telephone.
                    Jonathan Aminoff, counsel for Julius Robinson, may appear at the 2/2/2020
                    status conference via telephone. Counsel shall contact Courtroom Deputy Tim
                    Bradley at least two hours prior to the call for dial−in instructions. Signed by
                    Judge Tanya S. Chutkan on 2/11/2020. (DJS) (Entered: 02/11/2020)
02/11/2020          MINUTE ORDER: Counsel are hereby reminded to familiarize themselves
                    with court's Consolidation order 1 , which provides that "Any pleading or
                    paper filed relating to any of the Federal Bureau of Prisons' Execution
                    Protocol Cases must be filed ONLY in the Master Case File," which means
                    you MUST CHECK "NO" WHEN ASKED "Do you want to spread this
                    docket entry?". Signed by Judge Tanya S. Chutkan on 2/11/2020. (DJS)
                    (Entered: 02/11/2020)
02/12/2020   78     NOTICE of Appearance by Shawn Nolan on behalf of DUSTIN LEE
                    HONKEN (Nolan, Shawn) (Entered: 02/12/2020)



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02/12/2020   79     NOTICE of Appearance by Shawn Nolan on behalf of CHADRICK EVAN
                    FULKS (Nolan, Shawn) (Entered: 02/12/2020)
02/12/2020          Minute Entry: Status Conference held on 2/12/2020 before Judge Tanya S.
                    Chutkan: Scheduling Order forthcoming. (Court Reporter Bryan Wayne) (tb)
                    (Entered: 02/13/2020)
02/14/2020   80     NOTICE OF WITHDRAWAL OF APPEARANCE as to NORRIS G.
                    HOLDER, JR. Attorney Stephen J. Kraftschik terminated. Associated Cases:
                    1:19−mc−00145−TSC, 1:19−cv−03520−TSC(Kraftschik, Stephen) (Entered:
                    02/14/2020)
02/19/2020   81     ORDER: Having considered the parties' joint status report 76 , it is ordered
                    that the parties shall adhere to the following deadlines: Plaintiffs' consolidated
                    amended complaint due March 31, 2020. Defendants' dispositive motion due
                    June 1, 2020. Plaintiffs' combined opposition/or cross motion due August 3,
                    2020. Defendants' combined reply /opposition due September 14, 2020.
                    Plaintiffs' reply, if any, due October 5, 2020. The parties shall meet and confer
                    pursuant to Federal Rule of Civil Procedure 26(f) and file a joint case
                    management plan 15 days after resolution of the dispositive motion, if
                    necessary. Signed by Judge Tanya S. Chutkan on 02/19/20. (lcdl) (Entered:
                    02/19/2020)
02/19/2020          Set/Reset Deadlines: Amended Pleadings due by 3/31/2020. Cross Motion/due
                    by 8/3/2020. Response to Cross Motion due by 9/14/2020. Reply to Cross
                    Motion due by 10/5/2020. Dispositive Motion due by 6/1/2020. Response to
                    Dispositive Motion due by 8/3/2020. Reply to Dispositive Motion due by
                    9/14/2020. Associated Cases: 1:19−mc−00145−TSC,
                    1:19−cv−03520−TSC(tb) (Entered: 02/19/2020)
02/20/2020   82     NOTICE of Filing Under Seal of Rule 30(b)(6) deposition of Drug
                    Enforcement Administration by WILLIAM P. BARR, MARK BEZY, RADM
                    CHRIS A. BINA, JOHN F. CARAWAY, UTTAM DHILLON, ALAN R.
                    DOERHOFF, NICOLE ENGLISH, KERRY J. FORESTAL, CHADRICK
                    EVAN FULKS, ERIC H. HOLDER, JR, JEFFREY E. KRUEGER, PAUL
                    LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L.
                    LOCKETT, JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E.
                    SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement
                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC),
                    UNITED STATES DEPARTMENT OF JUSTICE, T. J. WATSON,
                    THOMAS WEBSTER (Burch, Alan) (Entered: 02/20/2020)
02/21/2020   83     MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Jeffery Lyons,
                    Filing fee $ 100, receipt number ADCDC−6851362. Fee Status: Fee Paid. by
                    NORRIS G. HOLDER, JR (Attachments: # 1 Declaration, # 2 Text of
                    Proposed Order)(Braden, Scott) (Entered: 02/21/2020)
02/24/2020          MINUTE ORDER: Granting 83 Motion for Leave to Appear Pro Hac Vice.
                    Jeffery Lyons is hereby admitted pro hac vice to appear in this matter on
                    behalf Plaintiff NORRIS G. HOLDER, JR. Counsel should register for
                    e−filing via PACER and file a notice of appearance pursuant to LCvR
                    83.6(a). Click for instructions. Signed by Judge Tanya S. Chutkan on
                    2/24/2020. (DJS) (Entered: 02/24/2020)
02/27/2020   84

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                    NOTICE OF WITHDRAWAL OF APPEARANCE as to BRUCE WEBSTER.
                    Attorney Eric Hernandez terminated. Associated Cases:
                    1:19−mc−00145−TSC, 1:19−cv−03520−TSC(Hernandez, Eric) (Entered:
                    02/27/2020)
03/02/2020   85     NOTICE of Appearance by Jeffrey Lyons on behalf of NORRIS G. HOLDER,
                    JR (Lyons, Jeffrey) (Entered: 03/02/2020)
03/03/2020   86     NOTICE OF WITHDRAWAL OF APPEARANCE as to WESLEY IRA
                    PURKEY. Attorney Arin Hillary Smith terminated. (Smith, Arin) (Entered:
                    03/03/2020)
03/17/2020   87     Consent MOTION for Extension of Time to File Consolidated Amended
                    Complaint and Dispositive Motion Papers by WILLIAM P. BARR, MARK
                    BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY, UTTAM
                    DHILLON, ALAN R. DOERHOFF, NICOLE ENGLISH, KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER, JR,
                    NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD,
                    HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT,
                    JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E. SAMUELS,
                    JR, KAREN TANDY(Administrator, Drug Enforcement Administration
                    (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED STATES
                    DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS WEBSTER
                    (Burch, Alan) (Entered: 03/17/2020)
03/18/2020          MINUTE ORDER granting 87 Joint Motion to Extend Time. The schedule
                    adopted in ECF No. 81 is hereby VACATED. The parties shall adhere to the
                    following deadlines: Plaintiff's Consolidated Amended Complaint due June 1,
                    2020; Defendant's dispositive motion due July 31, 2020; Plaintiff's combined
                    opposition and/or cross motion due September 28, 2020; Defendant's
                    combined reply and/or cross opposition due November 13, 2020; Plaintiff's
                    cross reply (if any) due December 4, 2020. The parties shall meet and confer
                    pursuant to Federal Rule of Civil Procedure 26(f) and file a joint case
                    management plan 15 days after resolution of the dispositive motion, if
                    necessary. Signed by Judge Tanya S. Chutkan on 3/18/2020. (lcdl) (Entered:
                    03/18/2020)
03/27/2020   88     NOTICE OF WITHDRAWAL OF APPEARANCE as to NORRIS G.
                    HOLDER, JR. Attorney Jeffrey Lyons terminated. (Lyons, Jeffrey) (Entered:
                    03/27/2020)
04/07/2020   89     NOTICE of Appearance by Jennifer M. Moreno on behalf of KEITH
                    NELSON (Moreno, Jennifer) (Entered: 04/07/2020)
05/14/2020   90     NOTICE of Filing Under Seal Video of 30(b)(6) continuation deposition of
                    Federal Bureau of Prisons by WILLIAM P. BARR, MARK BEZY, RADM
                    CHRIS A. BINA, JOHN F. CARAWAY, UTTAM DHILLON, ALAN R.
                    DOERHOFF, NICOLE ENGLISH, KERRY J. FORESTAL, CHADRICK
                    EVAN FULKS, ERIC H. HOLDER, JR, DUSTIN LEE HONKEN, IN THE
                    MATTER OF THE FEDERAL BUREAU OF PRISONS' EXECUTION
                    PROTOCOL CASES, NEWTON E. KENDIG, II, JEFFREY E. KRUEGER,
                    PAUL LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES
                    L. LOCKETT, JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES
                    E. SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement


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                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC),
                    UNITED STATES DEPARTMENT OF JUSTICE, T. J. WATSON,
                    THOMAS WEBSTER (Burch, Alan) (Entered: 05/14/2020)
06/01/2020   91     SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                    filed by WESLEY IRA PURKEY (This document is SEALED and only
                    available to authorized persons.) (Attachments: # 1 Proposed Sealed
                    Complaint, # 2 Text of Proposed Order)(Schoenfeld, Alan) (Entered:
                    06/01/2020)
06/01/2020   92     AMENDED COMPLAINT (Redacted) against WILLIAM P. BARR, MARK
                    BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY, UTTAM
                    DHILLON, ALAN R. DOERHOFF, JOHN DOES(I−IV, Individually and in
                    their official capacities; 07−cv−02145−TSC), JOHN DOES(I−V, Individually
                    and in their official capacities 05cv2337; 12cv00782 I−X), NICOLE
                    ENGLISH, KERRY J. FORESTAL, CHADRICK EVAN FULKS, ERIC H.
                    HOLDER, JR, NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL
                    LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L.
                    LOCKETT, JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E.
                    SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement
                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC),
                    UNITED STATES DEPARTMENT OF JUSTICE, T. J. WATSON,
                    THOMAS WEBSTER filed by WESLEY IRA PURKEY.(Schoenfeld, Alan)
                    (Entered: 06/01/2020)
06/01/2020   93     ENTERED IN ERROR. . . . .AMENDED COMPLAINT Supplemental against
                    WILLIAM P. BARR filed by NORRIS G. HOLDER, JR. (Attachments: # 1
                    Exhibit Declaration of Dr. Arthur Grant)(Braden, Scott) Modified on 6/2/2020
                    (ztd). (Entered: 06/01/2020)
06/01/2020   94     SUPPLEMENT TO 92 AMENDED COMPLAINT Supplemental−Corrected
                    against WILLIAM P. BARR filed by NORRIS G. HOLDER, JR.
                    (Attachments: # 1 Exhibit Declaration of Dr. Arthur Grant)(Braden, Scott)
                    Modified on 6/2/2020 (ztd). (Entered: 06/01/2020)
06/01/2020          NOTICE OF CORRECTED DOCKET ENTRY: re 93 Amended Complaint
                    was entered in error and counsel refiled said pleading as docket entry no. 94 .
                    (ztd) (Entered: 06/02/2020)
06/07/2020   95     NOTICE of Appearance by Cristen Cori Handley on behalf of All Defendants
                    (Handley, Cristen) (Entered: 06/07/2020)
06/08/2020   96     NOTICE of Appearance by Dale Andrew Baich on behalf of KEITH
                    NELSON (Baich, Dale) (Entered: 06/08/2020)
06/08/2020   97     NOTICE of Third Supplement to Administrative Record by WILLIAM P.
                    BARR, MARK BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY,
                    UTTAM DHILLON, ALAN R. DOERHOFF, NICOLE ENGLISH, KERRY
                    J. FORESTAL, CHADRICK EVAN FULKS, NEWTON E. KENDIG, II,
                    JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G. LAPPIN, MICHELE
                    LEONHART, CHARLES L. LOCKETT, JOSEPH MCCLAIN, KAREN
                    TANDY(Administrator, Drug Enforcement Administration (05cv2337)),
                    KAREN TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT
                    OF JUSTICE, T. J. WATSON, THOMAS WEBSTER (Attachments: # 1
                    Certified Index of Administrative Record, # 2 Bates Pages 1075−85)(Burch,

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                    Alan) (Entered: 06/08/2020)
06/12/2020    98    MANDATE of USCA as to 52 Notice of Appeal to DC Circuit Court, filed by
                    UNITED STATES DEPARTMENT OF JUSTICE ; USCA Case Number
                    19−5322. (Attachments: # 1 USCA Judgment)(zrdj) (Entered: 06/15/2020)
06/15/2020    99    NOTICE Regarding Execution Dates by WILLIAM P. BARR, MARK BEZY,
                    RADM CHRIS A. BINA, JOHN F. CARAWAY, UTTAM DHILLON, ALAN
                    R. DOERHOFF, NICOLE ENGLISH, KERRY J. FORESTAL, CHADRICK
                    EVAN FULKS, NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL
                    LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L.
                    LOCKETT, JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E.
                    SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement
                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC),
                    UNITED STATES DEPARTMENT OF JUSTICE, T. J. WATSON,
                    THOMAS WEBSTER (Burch, Alan) (Entered: 06/15/2020)
06/18/2020   100    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Danielle
                    Desaulniers Stempel, Filing fee $ 100, receipt number ADCDC−7243866. Fee
                    Status: Fee Paid. by DANIEL LEWIS LEE (Attachments: # 1 Declaration of
                    Danielle Desaulniers Stempel, # 2 Text of Proposed Order, # 3 Certificate of
                    Service)(Victorson, David) (Entered: 06/18/2020)
06/19/2020   101    MOTION to Strike 99 Notice (Other),, by KEITH NELSON (Attachments: # 1
                    Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Text of Proposed
                    Order)(Clune, Kathryn) (Entered: 06/19/2020)
06/19/2020          MINUTE ORDER: Granting 5 Motion for Leave to Appear Pro Hac Vice.
                    Danielle Desaulniers Stempel is hereby admitted pro hac vice to appear in this
                    matter on behalf of Plaintiff DANIEL LEWIS LEE. Counsel should register
                    for e−filing via PACER and file a notice of appearance pursuant to LCvR
                    83.6(a). Click for instructions. Signed by Judge Tanya S. Chutkan on
                    6/19/2020. (DJS) (Entered: 06/19/2020)
06/19/2020   102    MOTION for Preliminary Injunction by DUSTIN LEE HONKEN, DANIEL
                    LEWIS LEE, KEITH NELSON, WESLEY IRA PURKEY (Attachments: # 1
                    Declaration of Alan E. Schoenfeld, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3,
                    # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Text of Proposed
                    Order)(Schoenfeld, Alan) (Entered: 06/19/2020)
06/19/2020   103    WITHDRAWN PURSUANT TO DOCKET ENTRY NO. 194 . . . .
                    .SUPPLEMENTAL MEMORANDUM re 102 MOTION for Preliminary
                    Injunction filed by DUSTIN LEE HONKEN, KEITH NELSON, WESLEY
                    IRA PURKEY, DANIEL LEWIS LEE by DANIEL LEWIS LEE.
                    (Attachments: # 1 Exhibit A−Arkansas Lethal Injection Procedure, # 2
                    Certificate of Service)(Van Tol, Pieter) Modified event title on 6/23/2020
                    (znmw). Modified on 8/17/2020 (ztd). (Entered: 06/19/2020)
06/19/2020   104    MOTION for Discovery Expedited by DUSTIN LEE HONKEN, DANIEL
                    LEWIS LEE, KEITH NELSON, WESLEY IRA PURKEY (Attachments: # 1
                    Exhibit 1−Plaintiffs First Set of Interrogatories to Defendants, # 2 Exhibit
                    2−E−mail Correspondence, # 3 Text of Proposed Order, # 4 Certificate of
                    Service)(Van Tol, Pieter) (Entered: 06/19/2020)
06/19/2020   105


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                    ENTERED IN ERROR. . . . .MOTION to Expedite THIS DOCUMENT
                    RELATES TO: Lee v. Barr, 19−cv−2559, Purkey v. Barr, 19−cv−3214, and
                    Nelson v. Barr, 20−cv−557 by DUSTIN LEE HONKEN, DANIEL LEWIS
                    LEE, KEITH NELSON, WESLEY IRA PURKEY (Attachments: # 1 Text of
                    Proposed Order)(Schoenfeld, Alan) Modified on 6/22/2020 (ztd). (Entered:
                    06/19/2020)
06/19/2020          NOTICE OF CORRECTED DOCKET ENTRY: re 105 MOTION to Expedite
                    THIS DOCUMENT RELATES TO: Lee v. Barr, 19−cv−2559, Purkey v. Barr,
                    19−cv−3214, and Nelson v. Barr, 20−cv−557 was entered in error and
                    counsel refiled said pleading as docket entry no. 106 . (ztd) (Entered:
                    06/22/2020)
06/20/2020          MINUTE ORDER: Defendants shall file any oppositions to Plaintiffs' 101 ,
                    102 , 103 , 104 , and 105 no later than June 25, 2020. The opposition to each
                    motion shall be filed separately, rather than as an omnibus opposition.
                    Plaintiffs shall file any replies no later than June 29, 2020. The replies in
                    support of each motion shall be filed separately, rather than as an omnibus
                    reply. Signed by Judge Tanya S. Chutkan on 6/20/2020. (lcdl) (Entered:
                    06/20/2020)
06/20/2020   106    MOTION to Expedite (Corrected) (THIS DOCUMENT RELATES TO: Lee v.
                    Barr, 19−cv−2559, Purkey v. Barr, 19−cv−3214, and Nelson v. Barr,
                    20−cv−557) by DUSTIN LEE HONKEN, DANIEL LEWIS LEE, KEITH
                    NELSON, WESLEY IRA PURKEY (Attachments: # 1 Text of Proposed
                    Order)(Schoenfeld, Alan) (Entered: 06/20/2020)
06/23/2020          Set/Reset Deadlines: Responses due by 6/25/2020. Replies due by 6/29/2020.
                    (tb) (Entered: 06/23/2020)
06/25/2020   107    Memorandum in opposition to re 104 MOTION for Discovery Expedited filed
                    by WILLIAM P. BARR, MARK BEZY, RADM CHRIS A. BINA, JOHN F.
                    CARAWAY, UTTAM DHILLON, ALAN R. DOERHOFF, NICOLE
                    ENGLISH, KERRY J. FORESTAL, CHADRICK EVAN FULKS, NEWTON
                    E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G.
                    LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT, JOSEPH
                    MCCLAIN, MICHAEL B. MUKASEY, CHARLES E. SAMUELS, JR,
                    KAREN TANDY(Administrator, Drug Enforcement Administration
                    (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED STATES
                    DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS WEBSTER.
                    (Burch, Alan) (Entered: 06/25/2020)
06/25/2020   108    Memorandum in opposition to re 106 MOTION to Expedite (Corrected)
                    (THIS DOCUMENT RELATES TO: Lee v. Barr, 19−cv−2559, Purkey v. Barr,
                    19−cv−3214, and Nelson v. Barr, 20−cv−557) filed by WILLIAM P. BARR,
                    MARK BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY, UTTAM
                    DHILLON, ALAN R. DOERHOFF, NICOLE ENGLISH, KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, NEWTON E. KENDIG, II,
                    JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G. LAPPIN, MICHELE
                    LEONHART, CHARLES L. LOCKETT, JOSEPH MCCLAIN, CHARLES E.
                    SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement
                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC),
                    UNITED STATES DEPARTMENT OF JUSTICE, T. J. WATSON,
                    THOMAS WEBSTER. (Burch, Alan) (Entered: 06/25/2020)

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06/25/2020   109    Memorandum in opposition to re 101 MOTION to Strike 99 Notice (Other),,
                    filed by WILLIAM P. BARR, ANTHONY BATTLE, MARK BEZY, RADM
                    CHRIS A. BINA, JOHN F. CARAWAY, ALAN R. DOERHOFF, NICOLE
                    ENGLISH, KERRY J. FORESTAL, CHADRICK EVAN FULKS, NEWTON
                    E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G.
                    LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT, JOSEPH
                    MCCLAIN, CHARLES E. SAMUELS, JR, KAREN TANDY(Administrator,
                    Drug Enforcement Administration (05cv2337)), KAREN
                    TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT OF
                    JUSTICE, T. J. WATSON, THOMAS WEBSTER. (Attachments: # 1
                    Declaration of Kevin Pistro)(Burch, Alan) (Entered: 06/25/2020)
06/25/2020   110    RESPONSE re 103 Memorandum, filed by WILLIAM P. BARR, MARK
                    BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY, UTTAM
                    DHILLON, ALAN R. DOERHOFF, JOHN DOES(I−IV, Individually and in
                    their official capacities; 07−cv−02145−TSC), JOHN DOES(I−V, Individually
                    and in their official capacities 05cv2337; 12cv00782 I−X), NICOLE
                    ENGLISH, KERRY J. FORESTAL, CHADRICK EVAN FULKS, ERIC H.
                    HOLDER, JR, NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL
                    LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L.
                    LOCKETT, JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E.
                    SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement
                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC),
                    UNITED STATES DEPARTMENT OF JUSTICE, T. J. WATSON,
                    THOMAS WEBSTER. (Handley, Cristen) (Entered: 06/25/2020)
06/25/2020   111    RESPONSE re 102 MOTION for Preliminary Injunction (this filing relates to
                    Lee v. Barr, 19cv2559, Purkey v. Barr, 19cv3214, Nelson v. Barr, 20cv557)
                    filed by UNITED STATES DEPARTMENT OF JUSTICE. (Attachments: # 1
                    Exhibit A (book excerp), # 2 Exhibit Winter Decl. Excerp, # 3 Affidavit
                    Declaration of Tom Watson, # 4 Affidavit Declaration of Joseph Antognini,
                    MD)(Lin, Jean) (Entered: 06/25/2020)
06/26/2020   112    NOTICE of Appearance by Danielle Desaulniers Stempel on behalf of
                    DANIEL LEWIS LEE (Attachments: # 1 Certificate of Service)(Stempel,
                    Danielle) (Entered: 06/26/2020)
06/26/2020   113    NOTICE of Correction (and Corrected Brief) by UNITED STATES
                    DEPARTMENT OF JUSTICE re 111 Response to motion, (Attachments: # 1
                    Errata CORRECTED Defendants' Opposition to Plaintiffs Lee, Honken,
                    Purkery and Nelson's Motion for a Preliminary Injunction)(Lin, Jean)
                    (Entered: 06/26/2020)
06/29/2020   114    REPLY to opposition to motion re (101 in 1:19−mc−00145−TSC) MOTION
                    to Strike (99) Notice (Other),, filed by KEITH NELSON. Associated Cases:
                    1:19−mc−00145−TSC, 1:20−cv−00557−TSC(Clune, Kathryn) (Entered:
                    06/29/2020)
06/29/2020   115    REPLY re 102 , 103 in Support of Supplemental Memorandum in Support of
                    Motion for a Preliminary Injunction filed by DANIEL LEWIS LEE.
                    (Attachments: # 1 Certificate of Service)(Van Tol, Pieter) Modified linkage on
                    6/30/2020 (ztd). (Entered: 06/29/2020)
06/29/2020   116


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                    REPLY re 106 in Further Support of Motion for Expedited Discovery filed by
                    DUSTIN LEE HONKEN, DANIEL LEWIS LEE, KEITH NELSON,
                    WESLEY IRA PURKEY. (Attachments: # 1 Exhibit A − OIRA Conclusion of
                    EO 12866 Regulatory Review, # 2 Exhibit B − Exec. Order No. 12,866, # 3
                    Certificate of Service)(Van Tol, Pieter) Modified linkage on 6/30/2020 (ztd).
                    (Entered: 06/29/2020)
06/29/2020   117    MOTION for Leave to File Supplemental Expert Declaration THIS
                    DOCUMENT RELATES TO: Lee v. Barr, 19−cv−2559, Purkey v. Barr,
                    19−cv−3214, and Nelson v. Barr, 20−cv−557 by DUSTIN LEE HONKEN,
                    DANIEL LEWIS LEE, KEITH NELSON, WESLEY IRA PURKEY
                    (Attachments: # 1 Exhibit 1 − Supplemental Expert Declaration of Gail A.
                    Van Norman, M.D., # 2 Text of Proposed Order)(Schoenfeld, Alan) (Entered:
                    06/29/2020)
06/29/2020   118    REPLY to opposition to motion re 102 MOTION for Preliminary Injunction
                    (THIS DOCUMENT RELATES TO: Lee v. Barr, 19−cv−2559, Purkey v. Barr,
                    19−cv−3214, and Nelson v. Barr, 20−cv−557) filed by DUSTIN LEE
                    HONKEN, DANIEL LEWIS LEE, KEITH NELSON, WESLEY IRA
                    PURKEY. (Schoenfeld, Alan) (Entered: 06/29/2020)
06/29/2020   119    REPLY to opposition to motion re 106 MOTION to Expedite (Corrected)
                    (THIS DOCUMENT RELATES TO: Lee v. Barr, 19−cv−2559, Purkey v. Barr,
                    19−cv−3214, and Nelson v. Barr, 20−cv−557) (THIS DOCUMENT
                    RELATES TO: Lee v. Barr, 19−cv−2559, Purkey v. Barr, 19−cv−3214, and
                    Nelson v. Barr, 20−cv−557) filed by DUSTIN LEE HONKEN, DANIEL
                    LEWIS LEE, KEITH NELSON, WESLEY IRA PURKEY. (Schoenfeld,
                    Alan) (Entered: 06/29/2020)
06/30/2020   120    RESPONSE re 117 MOTION for Leave to File Supplemental Expert
                    Declaration THIS DOCUMENT RELATES TO: Lee v. Barr, 19−cv−2559,
                    Purkey v. Barr, 19−cv−3214, and Nelson v. Barr, 20−cv−557 filed by
                    UNITED STATES DEPARTMENT OF JUSTICE. (Attachments: # 1 Exhibit
                    A−Proposed Surreply, # 2 Declaration Supplemental Declaration of Dr. Joseh
                    F. Antognini, # 3 Text of Proposed Order)(Lin, Jean) (Entered: 06/30/2020)
06/30/2020   121    Consent MOTION for Leave to File Surreply and Supplemental Declaration
                    of Dr. Joseph F. Antognini, in opposition to Plaintiffs' Motion for Preliminary
                    Injunction (This filing relates to Lee v. Barr, 19cv2559, Purkey v. Barr,
                    19cv3214, and Nelson v. Barr, 20cv557) by UNITED STATES
                    DEPARTMENT OF JUSTICE (Attachments: # 1 Exhibit A−Proposed
                    Surreply, # 2 Exhibit A−1 Supplemental Declaration of Dr. Joseh F.
                    Antognini, # 3 Text of Proposed Order)(Lin, Jean) (Entered: 06/30/2020)
06/30/2020   122    NOTICE of Correction by UNITED STATES DEPARTMENT OF JUSTICE
                    re 120 Response to motion, 121 Consent MOTION for Leave to File Surreply
                    and Supplemental Declaration of Dr. Joseph F. Antognini, in opposition to
                    Plaintiffs' Motion for Preliminary Injunction (This filing relates to Lee v. Barr,
                    19cv2559, Purkey v. Barr, 19cv3214, and Nelso (Attachments: # 1 Corrected
                    Proposed Surreply, # 2 Corrected Supplemental Declaration of Dr. Joseph F.
                    Antognini)(Lin, Jean) (Entered: 06/30/2020)
07/01/2020          MINUTE ORDER: It is hereby ORDERED that Plaintiff' 117 Motion for
                    Leave to File is GRANTED. Plaintiffs' filing of the supplemental expert


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                    declaration of Dr. Gail A. Van Norman is deemed properly filed and,
                    accordingly, the court may consider this declaration in connection with
                    Plaintiff' Motion for a Preliminary Injunction. It is further ORDERED that 121
                    Consent Motion for Leave to File is GRANTED. The Clerk of the Court shall
                    docket Defendants' proposed surreply and supplemental declaration, the
                    corrected version of which Defendants attached to 122 Notice of Correction..
                    Signed by Judge Tanya S. Chutkan on 7/1/2020. (lcdl) (Entered: 07/01/2020)
07/01/2020   123    AFFIDAVIT Supplemental Expert Declaration of Gail A. Van Norman, M.D.,
                    by DUSTIN LEE HONKEN, DANIEL LEWIS LEE, KEITH NELSON,
                    WESLEY IRA PURKEY. (ztd) (Entered: 07/01/2020)
07/01/2020   124    SURREPLY to re 117 MOTION for Leave to File Supplemental Expert
                    Declaration THIS DOCUMENT RELATES TO: Lee v. Barr, 19−cv−2559,
                    Purkey v. Barr, 19−cv−3214, and Nelson v. Barr, 20−cv−557 filed by
                    UNITED STATES DEPARTMENT OF JUSTICE. (Attachments: # 1
                    Declaration Supplemental Declaration of Dr. Joseh F. Antognini)(ztd) (Main
                    Document 124 replaced on 7/1/2020) (ztd). (Attachment 1 replaced on
                    7/1/2020) (ztd). (Entered: 07/01/2020)
07/02/2020   125    NOTICE by DUSTIN LEE HONKEN, DANIEL LEWIS LEE, KEITH
                    NELSON, WESLEY IRA PURKEY re 116 Reply to Document, 104
                    MOTION for Discovery Expedited (Attachments: # 1 Certificate of
                    Service)(Van Tol, Pieter) (Entered: 07/02/2020)
07/03/2020   126    NOTICE of Supplemental Authority. (THIS DOCUMENT RELATES TO:
                    Purkey v. Barr, 19−cv−3214 ) by WESLEY IRA PURKEY (Attachments: # 1
                    Exhibit A)(Schoenfeld, Alan) (Entered: 07/03/2020)
07/03/2020   127    NOTICE OF WITHDRAWAL OF APPEARANCE as to WILLIAM P.
                    BARR, MARK BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY,
                    UTTAM DHILLON, ALAN R. DOERHOFF, JOHN DOES(I−IV,
                    Individually and in their official capacities; 07−cv−02145−TSC), JOHN
                    DOES(I−V, Individually and in their official capacities 05cv2337; 12cv00782
                    I−X), NICOLE ENGLISH, KERRY J. FORESTAL, CHADRICK EVAN
                    FULKS, ERIC H. HOLDER, JR, NEWTON E. KENDIG, II, JEFFREY E.
                    KRUEGER, PAUL LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART,
                    CHARLES L. LOCKETT, JOSEPH MCCLAIN, MICHAEL B. MUKASEY,
                    CHARLES E. SAMUELS, JR, KAREN TANDY(Administrator, Drug
                    Enforcement Administration (05cv2337)), KAREN
                    TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT OF
                    JUSTICE, T. J. WATSON, THOMAS WEBSTER. Attorney Ethan Price
                    Davis terminated. (Attachments: # 1 Certificate of Service)(Davis, Ethan)
                    (Entered: 07/03/2020)
07/06/2020          MINUTE ORDER: Plaintiff's Unopposed Motion 91 to File Document Under
                    Seal is hereby GRANTED. The Clerk of the Court is requested to file under
                    seal Plaintiffs Amended Complaint (Exhibit 1). SO ORDERED by Judge
                    Tanya S. Chutkan on 07/06/2020. (tb) (Entered: 07/06/2020)
07/10/2020   129    NOTICE OF SUPPLEMENTAL AUTHORITY by DANIEL LEWIS LEE
                    (Attachments: # 1 Exhibit A − Peterson v. Barr Order Granting Pls.' Motion
                    for Prelim. Inj., # 2 Certificate of Service)(Van Tol, Pieter) (Entered:
                    07/10/2020)


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07/10/2020          MINUTE ORDER: Telephone Status Conference scheduled for July 11, 2020
                    at 1 PM. Signed by Judge Tanya S. Chutkan on 7/10/2020. (lcdl) (Entered:
                    07/10/2020)
07/11/2020          Set/Reset Hearings: Telephone Conference set for 7/11/2020 at 01:00 PM in
                    Telephonic/VTC before Judge Tanya S. Chutkan. (lcdl) (Entered: 07/11/2020)
07/11/2020          Minute Entry: Telephone Conference held on 7/11/2020 before Judge Tanya
                    S. Chutkan: The parties informed the Court of the posture of pending
                    executions. (Court Reporter Bryan Wayne) (tb) (Entered: 07/11/2020)
07/11/2020   130    TRANSCRIPT OF 7/11/20 TELEPHONE CONFERENCE before Judge
                    Tanya S. Chutkan held on July 11, 2020; Page Numbers: 1−14. Date of
                    Issuance: 7/11/2020. Court Reporter: Bryan A. Wayne. Transcripts may be
                    ordered by submitting the Transcript Order Form at www.dcd.uscourts.gov.
                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.NOTICE RE REDACTION OF TRANSCRIPTS:
                    The parties have twenty−one days to file with the court and the court reporter
                    any request to redact personal identifiers from this transcript. If no such
                    requests are filed, the transcript will be made available to the public via
                    PACER without redaction after 90 days. The policy, which includes the five
                    personal identifiers specifically covered, is located on our website at
                    www.dcd.uscourts.gov. Redaction Request due 8/1/2020. Redacted Transcript
                    Deadline set for 8/11/2020. Release of Transcript Restriction set for
                    10/9/2020.(Wayne, Bryan) (Entered: 07/11/2020)
07/12/2020   131    NOTICE OF SUPPLEMENTAL AUTHORITY by DUSTIN LEE HONKEN,
                    DANIEL LEWIS LEE, KEITH NELSON, WESLEY IRA PURKEY
                    (Attachments: # 1 Exhibit Hartkemeyer v. Barr − Declaration of Rick Winter,
                    # 2 Certificate of Service)(Van Tol, Pieter) (Entered: 07/12/2020)
07/12/2020   132    NOTICE (Corrected) of Supplemental Authority by DUSTIN LEE HONKEN,
                    DANIEL LEWIS LEE, KEITH NELSON, WESLEY IRA PURKEY
                    (Attachments: # 1 Exhibit Exhibit Hartkemeyer v. Barr − Declaration of Rick
                    Winter, # 2 Certificate of Service)(Van Tol, Pieter) (Entered: 07/12/2020)
07/12/2020   133    NOTICE by DANIEL LEWIS LEE (Attachments: # 1 Exhibit A − Peterson v.
                    Barr Filed Opinion (No. 20−2252), # 2 Certificate of Service)(Van Tol, Pieter)
                    (Entered: 07/12/2020)
07/12/2020   134    RESPONSE re 133 Notice (Other), 132 Notice (Other), (this filing relates to
                    Lee v. Barr et al. (No. 19−cv−2559), Purkey v. Barr et al. (No.
                    19−cv−03214), and Nelson v. Barr (No. 20−cv−557)) filed by WILLIAM P.
                    BARR, RADM CHRIS A. BINA, JOHN F. CARAWAY, UTTAM
                    DHILLON, ALAN R. DOERHOFF, JOHN DOES(I−IV, Individually and in
                    their official capacities; 07−cv−02145−TSC), JOHN DOES(I−V, Individually
                    and in their official capacities 05cv2337; 12cv00782 I−X), NICOLE
                    ENGLISH, KERRY J. FORESTAL, CHADRICK EVAN FULKS, ERIC H.
                    HOLDER, JR, NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL
                    LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L.
                    LOCKETT, JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E.


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                    SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement
                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC),
                    UNITED STATES DEPARTMENT OF JUSTICE, T. J. WATSON,
                    THOMAS WEBSTER. (Handley, Cristen) (Entered: 07/12/2020)
07/13/2020   135    MEMORANDUM AND OPINION regarding Plaintiffs' 102 motion for
                    preliminary injunction. Signed by Judge Tanya S. Chutkan on 7/13/2020.
                    (lcdl) (Entered: 07/13/2020)
07/13/2020   136    ORDER granting Plaintiffs' 102 Motion for Preliminary Injunction.
                    Defendants are hereby enjoined from executing Plaintiffs until further order of
                    this court. See Order for details. Signed by Judge Tanya S. Chutkan on
                    7/13/2020. (lcdl) (Entered: 07/13/2020)
07/13/2020   137    NOTICE OF APPEAL TO DC CIRCUIT COURT as to 135 Memorandum &
                    Opinion, 136 Order on Motion for Preliminary Injunction by MICHELE
                    LEONHART, JOHN F. CARAWAY, JEFFREY E. KRUEGER, CHADRICK
                    EVAN FULKS, UNITED STATES DEPARTMENT OF JUSTICE, JOSEPH
                    MCCLAIN, ERIC H. HOLDER, JR, CHARLES E. SAMUELS, JR,
                    WILLIAM P. BARR, NEWTON E. KENDIG, II, MARK BEZY, KERRY J.
                    FORESTAL, NICOLE ENGLISH, PAUL LAIRD, THOMAS WEBSTER,
                    JOHN DOES(I−IV, Individually and in their official capacities;
                    07−cv−02145−TSC), UTTAM DHILLON, ALAN R. DOERHOFF, HARLEY
                    G. LAPPIN, JOHN DOES(I−V, Individually and in their official capacities
                    05cv2337; 12cv00782 I−X), CHARLES L. LOCKETT, KAREN
                    TANDY(Administrator, Drug Enforcement Administration (05cv2337)),
                    MICHAEL B. MUKASEY, T. J. WATSON, KAREN
                    TANDY(07−cv−02145−TSC), RADM CHRIS A. BINA. Fee Status: No Fee
                    Paid. Parties have been notified. (Attachments: # 1 Exhibit District Court
                    Opinion, # 2 Exhibit District Court Order)(Handley, Cristen) (Entered:
                    07/13/2020)
07/13/2020   138    Transmission of the Notice of Appeal, Order Appealed (Memorandum
                    Opinion), and Docket Sheet to US Court of Appeals. The Court of Appeals
                    docketing fee was not paid because the appeal was filed by the government re
                    137 Notice of Appeal to DC Circuit Court,,,. (ztd) (Entered: 07/13/2020)
07/13/2020   139    MOTION to Stay re 136 Order on Motion for Preliminary Injunction, 135
                    Memorandum & Opinion (this filing relates to Lee v. Barr et al. (No.
                    19−cv−2559), Purkey v. Barr et al. (No. 19−cv−03214), and Nelson v. Barr
                    (No. 20−cv−557)) by WILLIAM P. BARR, MARK BEZY, RADM CHRIS A.
                    BINA, JOHN F. CARAWAY, UTTAM DHILLON, ALAN R. DOERHOFF,
                    JOHN DOES(I−IV, Individually and in their official capacities;
                    07−cv−02145−TSC), JOHN DOES(I−V, Individually and in their official
                    capacities 05cv2337; 12cv00782 I−X), NICOLE ENGLISH, KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER, JR,
                    NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD,
                    HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT,
                    JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E. SAMUELS,
                    JR, KAREN TANDY(Administrator, Drug Enforcement Administration
                    (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED STATES
                    DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS WEBSTER
                    (Attachments: # 1 Declaration Declaration of Rick Winter)(Handley, Cristen)


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                    (Entered: 07/13/2020)
07/13/2020   140    Memorandum in opposition to re 139 MOTION to Stay re 136 Order on
                    Motion for Preliminary Injunction, 135 Memorandum & Opinion (this filing
                    relates to Lee v. Barr et al. (No. 19−cv−2559), Purkey v. Barr et al. (No.
                    19−cv−03214), and Nelson v. Barr (No. 20−cv−557)) filed by DUSTIN LEE
                    HONKEN, DANIEL LEWIS LEE, KEITH NELSON, WESLEY IRA
                    PURKEY. (Attachments: # 1 Certificate of Service)(Van Tol, Pieter) (Entered:
                    07/13/2020)
07/13/2020          MINUTE ORDER: Upon consideration of Defendants' 139 Motion to Stay,
                    this court finds that Defendants are not likely to succeed on the merits of their
                    appeal and that the balance of harms does not weigh in favor of a stay.
                    Therefore, Defendants' 139 Motion to Stay is hereby DENIED. Signed by
                    Judge Tanya S. Chutkan on 7/13/2020. (lcdl) (Entered: 07/13/2020)
07/13/2020          USCA Case Number 20−5199 for 137 Notice of Appeal to DC Circuit Court,,,
                    filed by MICHAEL B. MUKASEY, CHARLES L. LOCKETT, JOHN DOES,
                    T. J. WATSON, KERRY J. FORESTAL, THOMAS WEBSTER, ERIC H.
                    HOLDER, JR., MARK BEZY, CHADRICK EVAN FULKS, NICOLE
                    ENGLISH, CHARLES E. SAMUELS, JR., MICHELE LEONHART, RADM
                    CHRIS A. BINA, KAREN TANDY, UNITED STATES DEPARTMENT OF
                    JUSTICE, NEWTON E. KENDIG, II, JOHN F. CARAWAY, PAUL LAIRD,
                    JOSEPH MCCLAIN, JEFFREY E. KRUEGER, WILLIAM P. BARR, ALAN
                    R. DOERHOFF, UTTAM DHILLON, HARLEY G. LAPPIN. (zrdj) (Entered:
                    07/13/2020)
07/13/2020   141    NOTICE by DUSTIN LEE HONKEN, DANIEL LEWIS LEE, KEITH
                    NELSON, WESLEY IRA PURKEY (Attachments: # 1 Exhibit A − No.
                    20−5199 Order, # 2 Certificate of Service)(Van Tol, Pieter) (Entered:
                    07/13/2020)
07/13/2020   142    NOTICE by DANIEL LEWIS LEE (Attachments: # 1 Exhibit A − Letter from
                    Counsel Pieter Van Tol, # 2 Certificate of Service)(Van Tol, Pieter) (Entered:
                    07/13/2020)
07/14/2020   143    WITHDRAWN PURSUANT TO DOCKET ENTRY NO. 194 . . . .
                    .Emergency MOTION for Order on Pending Claim and Motion by DANIEL
                    LEWIS LEE (Attachments: # 1 Certificate of Service)(Van Tol, Pieter)
                    Modified on 8/17/2020 (ztd). (Entered: 07/14/2020)
07/14/2020   144    MOTION for Order (Emergency Notice Requesting Ruling on Pending
                    Motion), re 102 , [THIS DOCUMENT RELATES TO: Lee v. Barr,
                    19−cv−2559, Purkey v. Barr, 19−cv−3214, and Nelson v. Barr, 20−cv−557]
                    by DUSTIN LEE HONKEN, KEITH NELSON, WESLEY IRA PURKEY
                    (Schoenfeld, Alan) Modified event and text on 7/14/2020 (ztd). (Entered:
                    07/14/2020)
07/15/2020   145    MEMORANDUM AND OPINION regarding Plaintiffs' 102 motion for
                    preliminary injunction and Plaintiffs' 144 Motion for Order. Signed by Judge
                    Tanya S. Chutkan on 7/15/2020. (lcdl) (Entered: 07/15/2020)
07/15/2020   146    ORDER granting Plaintiffs' 102 Motion for Preliminary Injunction and
                    granting Plaintiffs' 144 Motion for Order. Defendants are HEREBY
                    ENJOINED from executing Plaintiffs until further order of this court. See


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                    Order for details. Signed by Judge Tanya S. Chutkan on 7/15/2020. (lcdl)
                    (Entered: 07/15/2020)
07/15/2020   147    NOTICE OF APPEAL TO DC CIRCUIT COURT by MICHELE
                    LEONHART, JOHN F. CARAWAY, JEFFREY E. KRUEGER, CHADRICK
                    EVAN FULKS, UNITED STATES DEPARTMENT OF JUSTICE, JOSEPH
                    MCCLAIN, ERIC H. HOLDER, JR, CHARLES E. SAMUELS, JR,
                    WILLIAM P. BARR, NEWTON E. KENDIG, II, MARK BEZY, KERRY J.
                    FORESTAL, NICOLE ENGLISH, PAUL LAIRD, THOMAS WEBSTER,
                    JOHN DOES(I−IV, Individually and in their official capacities;
                    07−cv−02145−TSC), UTTAM DHILLON, ALAN R. DOERHOFF, HARLEY
                    G. LAPPIN, JOHN DOES(I−V, Individually and in their official capacities
                    05cv2337; 12cv00782 I−X), CHARLES L. LOCKETT, KAREN
                    TANDY(Administrator, Drug Enforcement Administration (05cv2337)),
                    MICHAEL B. MUKASEY, T. J. WATSON, KAREN
                    TANDY(07−cv−02145−TSC), RADM CHRIS A. BINA. Fee Status: No Fee
                    Paid. Parties have been notified. (Attachments: # 1 Exhibit District Court
                    Opinion, # 2 Exhibit District Court Order)(Handley, Cristen) (Entered:
                    07/15/2020)
07/15/2020   148    MOTION to Stay (this filing relates to Lee v. Barr et al. (No. 19−cv−2559),
                    Purkey v. Barr et al. (No. 19−cv−03214), and Nelson v. Barr (No.
                    20−cv−557)) by WILLIAM P. BARR, MARK BEZY, RADM CHRIS A.
                    BINA, JOHN F. CARAWAY, UTTAM DHILLON, ALAN R. DOERHOFF,
                    JOHN DOES(I−IV, Individually and in their official capacities;
                    07−cv−02145−TSC), JOHN DOES(I−V, Individually and in their official
                    capacities 05cv2337; 12cv00782 I−X), NICOLE ENGLISH, KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER, JR,
                    NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD,
                    HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT,
                    JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E. SAMUELS,
                    JR, KAREN TANDY(Administrator, Drug Enforcement Administration
                    (05cv2337)), UNITED STATES DEPARTMENT OF JUSTICE, T. J.
                    WATSON, THOMAS WEBSTER (Handley, Cristen) (Entered: 07/15/2020)
07/15/2020   149    Transmission of the Notice of Appeal, Order Appealed (Memorandum
                    Opinion), and Docket Sheet to US Court of Appeals. The fee was not paid
                    because it was filed in forma pauperis re (147 in 1:19−mc−00145−TSC)
                    Notice of Appeal to DC Circuit Court. Associated Cases:
                    1:19−mc−00145−TSC, 1:20−cv−00557−TSC(zadc) (Entered: 07/15/2020)
07/15/2020   150    Memorandum in opposition to re 53 MOTION to Stay Preliminary Injunction
                    Pending Appeal (This document relates to Bourgeois v. Dep't of Justice,
                    12−cv−782, Lee v. Barr, 19−cv−2559, and Purkey v. Barr, 19−cv−3214)
                    THIS DOCUMENT RELATES TO: Lee v. Barr, 19−cv−2559, Purkey v. Barr,
                    19−cv−3214, and Nelson v. Barr, 20−cv−557 filed by DUSTIN LEE
                    HONKEN, KEITH NELSON, WESLEY IRA PURKEY. (Schoenfeld, Alan)
                    (Entered: 07/15/2020)
07/15/2020          USCA Case Number 20−5206 for 147 Notice of Appeal to DC Circuit Court,,,
                    filed by MICHAEL B. MUKASEY, CHARLES L. LOCKETT, JOHN DOES,
                    T. J. WATSON, KERRY J. FORESTAL, THOMAS WEBSTER, ERIC H.
                    HOLDER, JR., MARK BEZY, CHADRICK EVAN FULKS, NICOLE


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                    ENGLISH, CHARLES E. SAMUELS, JR., MICHELE LEONHART, RADM
                    CHRIS A. BINA, KAREN TANDY, UNITED STATES DEPARTMENT OF
                    JUSTICE, NEWTON E. KENDIG, II, JOHN F. CARAWAY, PAUL LAIRD,
                    JOSEPH MCCLAIN, JEFFREY E. KRUEGER, WILLIAM P. BARR, ALAN
                    R. DOERHOFF, UTTAM DHILLON, HARLEY G. LAPPIN. (zrdj) (Entered:
                    07/15/2020)
07/15/2020   151    Emergency MOTION for Order for Preservation of Evidence by DANIEL
                    LEWIS LEE (Attachments: # 1 Certificate of Service, # 2 Text of Proposed
                    Order)(Van Tol, Pieter) (Entered: 07/15/2020)
07/15/2020   152    NOTICE OF CROSS APPEAL as to 146 Order on Motion for Order, 145
                    Memorandum & Opinion by DUSTIN LEE HONKEN, KEITH NELSON,
                    WESLEY IRA PURKEY. Filing fee $ 505, receipt number
                    ADCDC−7341407. Fee Status: Fee Paid. Parties have been notified.
                    (Schoenfeld, Alan) (Entered: 07/15/2020)
07/15/2020   153    Transmission of the Notice of Appeal, Order Appealed (Memorandum
                    Opinion), and Docket Sheet to US Court of Appeals. The Court of Appeals fee
                    was paid this date re 152 Notice of Cross Appeal. (zjf) (Entered: 07/15/2020)
07/15/2020          MINUTE ORDER: Upon consideration of Defendants' 148 Motion to Stay,
                    this court finds that Defendants are not likely to succeed on the merits of their
                    appeal and that the balance of harms does not weigh in favor of a stay.
                    Therefore, Defendants' 148 Motion to Stay is hereby DENIED. Signed by
                    Judge Tanya S. Chutkan on 7/15/2020. (lcdl) (Entered: 07/15/2020)
07/15/2020   154    ENTERED IN ERROR.....Transmission of the Notice of Appeal, Order
                    Appealed (Memorandum Opinion), and Docket Sheet to US Court of Appeals.
                    The Court of Appeals fee was paid this date re 152 Notice of Cross Appeal.
                    (zrdj) Modified on 7/15/2020 (zrdj). (Entered: 07/15/2020)
07/15/2020          NOTICE OF CORRECTED DOCKET ENTRY: re 154 Transmission of
                    Notice of Appeal and Docket Sheet to USCA, was entered in error AS A
                    DUPLICATE. (zrdj) (Entered: 07/15/2020)
07/15/2020          MINUTE ORDER: Defendants shall file any opposition to Plaintiffs' 151
                    Emergency Motion for Order for Preservation of Evidence no later than 2PM
                    EST today, 7/15/2020. Signed by Judge Tanya S. Chutkan on 7/15/2020. (lcdl)
                    (Entered: 07/15/2020)
07/15/2020   155    Memorandum in opposition to re 151 Emergency MOTION for Order for
                    Preservation of Evidence filed by WILLIAM P. BARR, HARLEY G.
                    LAPPIN. (Burch, Alan) (Entered: 07/15/2020)
07/15/2020          USCA Case Number 20−5210 for 152 Notice of Cross Appeal, filed by
                    DUSTIN LEE HONKEN, KEITH NELSON, WESLEY IRA PURKEY. (zrdj)
                    (Entered: 07/15/2020)
07/15/2020   156    MANDATE of USCA as to 137 Notice of Appeal to DC Circuit Court,,, filed
                    by MICHAEL B. MUKASEY, CHARLES L. LOCKETT, JOHN DOES, T. J.
                    WATSON, KERRY J. FORESTAL, THOMAS WEBSTER, ERIC H.
                    HOLDER, JR., MARK BEZY, CHADRICK EVAN FULKS, NICOLE
                    ENGLISH, CHARLES E. SAMUELS, JR., MICHELE LEONHART, RADM
                    CHRIS A. BINA, KAREN TANDY, UNITED STATES DEPARTMENT OF


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                    JUSTICE, NEWTON E. KENDIG, II, JOHN F. CARAWAY, PAUL LAIRD,
                    JOSEPH MCCLAIN, JEFFREY E. KRUEGER, WILLIAM P. BARR, ALAN
                    R. DOERHOFF, UTTAM DHILLON, HARLEY G. LAPPIN ; USCA Case
                    Number 20−5199. (Attachments: # 1 USCA Order)(zrdj) (Entered:
                    07/15/2020)
07/15/2020   157    REPLY to opposition to motion re 151 Emergency MOTION for Order for
                    Preservation of Evidence filed by DANIEL LEWIS LEE. (Attachments: # 1
                    Certificate of Service)(Van Tol, Pieter) (Entered: 07/15/2020)
07/15/2020   158    ORDER granting 151 Motion for Order to Preserve Evidence. See Order for
                    details. Signed by Judge Tanya S. Chutkan on 7/15/2020. (lcdl) (Entered:
                    07/15/2020)
07/15/2020   159    NOTICE of Appearance by Michael Robles on behalf of KEITH NELSON
                    (Robles, Michael) (Entered: 07/15/2020)
07/15/2020   160    Emergency MOTION for Preservation of Evidence by KEITH NELSON
                    (Attachments: # 1 Text of Proposed Order)Associated Cases:
                    1:19−mc−00145−TSC, 1:20−cv−00557−TSC(Clune, Kathryn) (Entered:
                    07/15/2020)
07/16/2020   161    NOTICE Regarding Body of Daniel Lewis Lee by WILLIAM P. BARR,
                    MARK BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY, UTTAM
                    DHILLON, ALAN R. DOERHOFF, NICOLE ENGLISH, KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, NEWTON E. KENDIG, II,
                    JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G. LAPPIN, MICHELE
                    LEONHART, CHARLES L. LOCKETT, JOSEPH MCCLAIN, JEFFREY
                    PAUL, CHARLES E. SAMUELS, JR, KAREN TANDY(Administrator, Drug
                    Enforcement Administration (05cv2337)), KAREN
                    TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT OF
                    JUSTICE, T. J. WATSON, THOMAS WEBSTER re 158 Order on Motion for
                    Order (Attachments: # 1 Exhibit Email to counsel for Lee)(Burch, Alan)
                    (Entered: 07/16/2020)
07/16/2020   162    RESPONSE re 160 Emergency MOTION for Preservation of Evidence filed
                    by WILLIAM P. BARR, MARK BEZY, RADM CHRIS A. BINA, JOHN F.
                    CARAWAY, UTTAM DHILLON, ALAN R. DOERHOFF, NICOLE
                    ENGLISH, KERRY J. FORESTAL, CHADRICK EVAN FULKS, NEWTON
                    E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G.
                    LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT, JOSEPH
                    MCCLAIN, CHARLES E. SAMUELS, JR, KAREN TANDY(Administrator,
                    Drug Enforcement Administration (05cv2337)), KAREN
                    TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT OF
                    JUSTICE, T. J. WATSON, THOMAS WEBSTER. (Burch, Alan) (Entered:
                    07/16/2020)
07/16/2020   163    ORDER granting 160 Emergency Motion to Preserve Evidence. See Order for
                    details. Signed by Judge Tanya S. Chutkan on 7/16/2020. (lcdl) (Entered:
                    07/16/2020)
07/16/2020   164    Emergency MOTION to Stay Execution Pending Cross−Appeal by DUSTIN
                    LEE HONKEN Associated Cases: 1:19−mc−00145−TSC,
                    1:19−cv−03520−TSC, 1:20−cv−00474−TSC, 1:20−cv−00557−TSC(Nolan,
                    Shawn) (Entered: 07/16/2020)

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07/16/2020   165    Memorandum in opposition to re 164 Emergency MOTION to Stay Execution
                    Pending Cross−Appeal (this filing relates to Lee (Honken) v. Barr et al. (No.
                    19−cv−2559)) filed by WILLIAM P. BARR, MARK BEZY, RADM CHRIS
                    A. BINA, JOHN F. CARAWAY, UTTAM DHILLON, ALAN R.
                    DOERHOFF, JOHN DOES(I−IV, Individually and in their official capacities;
                    07−cv−02145−TSC), JOHN DOES(I−V, Individually and in their official
                    capacities 05cv2337; 12cv00782 I−X), NICOLE ENGLISH, KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER, JR,
                    NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD,
                    HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT,
                    JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E. SAMUELS,
                    JR, KAREN TANDY(Administrator, Drug Enforcement Administration
                    (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED STATES
                    DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS WEBSTER.
                    (Handley, Cristen) (Entered: 07/16/2020)
07/16/2020   166    ORDER denying 164 Motion to Stay. See Order for details. Signed by Judge
                    Tanya S. Chutkan on 7/16/2020. (lcdl) (Entered: 07/16/2020)
07/22/2020   167    MANDATE of USCA as to 147 Notice of Appeal to DC Circuit Court,,, filed
                    by MICHAEL B. MUKASEY, CHARLES L. LOCKETT, JOHN DOES, T. J.
                    WATSON, KERRY J. FORESTAL, THOMAS WEBSTER, ERIC H.
                    HOLDER, JR., MARK BEZY, CHADRICK EVAN FULKS, NICOLE
                    ENGLISH, CHARLES E. SAMUELS, JR., MICHELE LEONHART, RADM
                    CHRIS A. BINA, KAREN TANDY, UNITED STATES DEPARTMENT OF
                    JUSTICE, NEWTON E. KENDIG, II, JOHN F. CARAWAY, PAUL LAIRD,
                    JOSEPH MCCLAIN, JEFFREY E. KRUEGER, WILLIAM P. BARR, ALAN
                    R. DOERHOFF, UTTAM DHILLON, HARLEY G. LAPPIN ; USCA Case
                    Number 20−5206. (Attachments: # 1 USCA Order)(zrdj) (Entered:
                    07/22/2020)
07/22/2020   168    NOTICE of Appearance by Harry P. Cohen on behalf of KEITH NELSON
                    Associated Cases: 1:19−mc−00145−TSC, 1:20−cv−00557−TSC(Cohen,
                    Harry) (Entered: 07/22/2020)
07/31/2020   169    MOTION to Dismiss Plaintiffs' NON−APA Claims and for Summary
                    Judgment Regarding Plaintiffs' APA CLAIMS (This filing relates to All
                    CASES) by UNITED STATES DEPARTMENT OF JUSTICE (Attachments:
                    # 1 Text of Proposed Order)(Lin, Jean) (Entered: 07/31/2020)
07/31/2020   170    MOTION for Summary Judgment as to Plaintiffs' APA Claims (This filing
                    relates to ALL CASES and is the same filing as ECF No. 169)) by UNITED
                    STATES DEPARTMENT OF JUSTICE (Attachments: # 1 Text of Proposed
                    Order)(Lin, Jean) (Entered: 07/31/2020)
07/31/2020   171    NOTICE of Fourth Supplement to the Administrative Record (this filing
                    relates to ALL CASES) by UNITED STATES DEPARTMENT OF JUSTICE
                    (Kossak, Jonathan) (Entered: 07/31/2020)
07/31/2020   172    NOTICE Regarding Execution Date by WILLIAM P. BARR, MARK BEZY,
                    RADM CHRIS A. BINA, JOHN F. CARAWAY, UTTAM DHILLON, ALAN
                    R. DOERHOFF, NICOLE ENGLISH, KERRY J. FORESTAL, CHADRICK
                    EVAN FULKS, NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL
                    LAIRD, HARLEY G. LAPPIN, CHARLES L. LOCKETT, JOSEPH


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                    MCCLAIN, MICHAEL B. MUKASEY, CHARLES E. SAMUELS, JR,
                    KAREN TANDY(Administrator, Drug Enforcement Administration
                    (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED STATES
                    DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS WEBSTER
                    (Burch, Alan) (Entered: 07/31/2020)
07/31/2020   173    MOTION to Vacate Preliminary Injunctions Barring Executions of Plaintiffs
                    James Roane, Richard Tipton, Cory Johnson, Orlando Hall, Bruce Webster,
                    Anthony Battle, and Jeffrey Paul by WILLIAM P. BARR, MARK BEZY,
                    RADM CHRIS A. BINA, JOHN F. CARAWAY, ALAN R. DOERHOFF,
                    KERRY J. FORESTAL, CHADRICK EVAN FULKS, NEWTON E.
                    KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G.
                    LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT, JOSEPH
                    MCCLAIN, CHARLES E. SAMUELS, JR, KAREN TANDY(Administrator,
                    Drug Enforcement Administration (05cv2337)), KAREN
                    TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT OF
                    JUSTICE, T. J. WATSON, THOMAS WEBSTER (Attachments: # 1 Text of
                    Proposed Order)(Burch, Alan) (Entered: 07/31/2020)
07/31/2020   174    Emergency MOTION to Expedite Trial by KEITH NELSON (Attachments: #
                    1 Text of Proposed Order)Associated Cases: 1:19−mc−00145−TSC,
                    1:20−cv−00557−TSC(Cohen, Harry) (Entered: 07/31/2020)
07/31/2020   176    MANDATE of USCA as to 152 Notice of Cross Appeal, filed by DUSTIN
                    LEE HONKEN, KEITH NELSON, WESLEY IRA PURKEY ; USCA Case
                    Number 20−5210. (Attachments: # 1 USCA Order)(zrdj) (Entered:
                    08/03/2020)
08/03/2020          MINUTE ORDER: Plaintiffs shall file any opposition to Defendants' Motion
                    to Dismiss and Motion for Summary Judgment 169 170 in a single filing no
                    later than August 10, 2020. Defendants shall file any Reply no later than
                    August 13, 2020. Signed by Judge Tanya S. Chutkan on 8/3/2020. (lcdl)
                    (Entered: 08/03/2020)
08/03/2020          MINUTE ORDER: Plaintiffs James Roane, Richard Tipton, Cory Johnson,
                    Orlando Hall, Bruce Webster, Anthony Battle, and Jeffrey Paul shall file any
                    opposition to Defendants' Motion to Vacate 173 in a single filing no later than
                    August 11, 2020. Defendants shall file any Reply no later than August 14,
                    2020. Signed by Judge Tanya S. Chutkan on 8/3/2020. (lcdl) (Entered:
                    08/03/2020)
08/03/2020          MINUTE ORDER: Defendants shall file any opposition to Plaintiff Nelson's
                    Motion to Expedite Trial 174 no later than August 5, 2020. Plaintiff Nelson
                    shall file any reply no later than August 7, 2020. Signed by Judge Tanya S.
                    Chutkan on 8/3/2020. (lcdl) (Entered: 08/03/2020)
08/03/2020          Set/Reset Deadlines: Response to Motion to Dismiss or for Summary
                    Judgment due by 8/10/2020. Reply to Motion for Summary Judgment due by
                    8/13/2020. (tb) (Entered: 08/03/2020)
08/03/2020          Set/Reset Deadlines: Response due by 8/11/2020. Reply due by 8/14/2020.
                    (tb) (Entered: 08/03/2020)
08/03/2020          Set/Reset Deadlines: Motion to Expedite due by 8/5/2020. Reply due by
                    8/7/2020. (tb) (Entered: 08/03/2020)


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08/03/2020   175    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− James K.
                    Stronski, Filing fee $ 100, receipt number DCDC−7415356. Fee Status: Fee
                    Paid. by KEITH NELSON (Attachments: # 1 Declaration of James K.
                    Stronski, # 2 Text of Proposed Order, # 3 Certificate of Service)Associated
                    Cases: 1:19−mc−00145−TSC, 1:20−cv−00557−TSC(Clune, Kathryn)
                    (Entered: 08/03/2020)
08/03/2020   177    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Brian J.
                    O'Sullivan, Filing fee $ 100, receipt number DCDC−7417622. Fee Status: Fee
                    Paid. by KEITH NELSON (Attachments: # 1 Declaration of Brian J.
                    O'Sullivan, # 2 Text of Proposed Order, # 3 Certificate of Service)Associated
                    Cases: 1:19−mc−00145−TSC, 1:20−cv−00557−TSC(Clune, Kathryn)
                    (Entered: 08/03/2020)
08/04/2020   178    Memorandum in opposition to re 174 Emergency MOTION to Expedite Trial
                    (this filing relates to Nelson v. Barr (No. 20−cv−557)) filed by WILLIAM P.
                    BARR, RADM CHRIS A. BINA, JOHN F. CARAWAY, UTTAM
                    DHILLON, ALAN R. DOERHOFF, JOHN DOES(I−IV, Individually and in
                    their official capacities; 07−cv−02145−TSC), JOHN DOES(I−V, Individually
                    and in their official capacities 05cv2337; 12cv00782 I−X), NICOLE
                    ENGLISH, KERRY J. FORESTAL, CHADRICK EVAN FULKS, ERIC H.
                    HOLDER, JR, NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL
                    LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L.
                    LOCKETT, JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E.
                    SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement
                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC),
                    UNITED STATES DEPARTMENT OF JUSTICE, T. J. WATSON,
                    THOMAS WEBSTER. (Handley, Cristen) (Entered: 08/04/2020)
08/04/2020          MINUTE ORDER: Granting 175 7 Motions for Leave to Appear Pro Hac
                    Vice. James K. Stronski and Brian J. OSullivan and are hereby admitted pro
                    hac vice to appear in this matter on behalf of Plaintiff (Nelson v. Barr
                    20−cv−557). Counsel should register for e−filing via PACER and file a
                    notice of appearance pursuant to LCvR 83.6(a). Click for instructions;
                    granting 177 Motion for Leave to Appear Pro Hac V ice Counsel should
                    register for e−filing via PACER and file a notice of appearance pursuant
                    to LCvR 83.6(a). Click for instructions. Signed by Judge Tanya S. Chutk an
                    on 8/4/2020. (DJS) (Entered: 08/04/2020)
08/04/2020   179    MOTION to defer briefing on Defendants' Motion to Vacate Preliminary
                    Injunctions pending resolution of dispositive motions by ANTHONY
                    BATTLE, ORLANDO HALL, CORY JOHNSON, JEFFREY PAUL, JAMES
                    H. ROANE, JR, RICHARD TIPTON, BRUCE WEBSTER (Attachments: # 1
                    Text of Proposed Order)(Lentz, Amy) (Entered: 08/04/2020)
08/04/2020   180    Emergency MOTION for Summary Judgment on FDCA Causes of Action by
                    KEITH NELSON (Attachments: # 1 Text of Proposed Order, # 2 Certificate of
                    Service)(Cohen, Harry) (Entered: 08/04/2020)
08/05/2020          MINUTE ORDER: Defendants shall file any opposition to Plaintiffs' 179
                    Motion to Defer Briefing no later than August 6, 2020. Plaintiffs James Roane,
                    Richard Tipton, Cory Johnson, Orlando Hall, Bruce Webster, Anthony Battle,
                    and Jeffrey Paul shall file any joint reply no later than August 7, 2020. Signed
                    by Judge Tanya S. Chutkan on 8/5/2020. (lcdl) (Entered: 08/05/2020)

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08/05/2020          MINUTE ORDER: Defendants' opposition to Plaintiff Nelson's 180 Motion
                    for Summary Judgment shall be filed no later than August 10, 2020. Nelson's
                    Reply shall be filed no later than August 13, 2020. Signed by Judge Tanya S.
                    Chutkan on 8/5/2020. (lcdl) (Entered: 08/05/2020)
08/05/2020          Set/Reset Deadlines: Response due by 8/6/2020. Reply due by 8/7/2020. (tb)
                    (Entered: 08/05/2020)
08/05/2020          Set/Reset Deadlines: Response to Motion for Summary Judgment due by
                    8/10/2020. Reply to Motion for Summary Judgment due by 8/13/2020. (tb)
                    (Entered: 08/05/2020)
08/05/2020   181    Memorandum in opposition to re 179 MOTION to defer briefing on
                    Defendants' Motion to Vacate Preliminary Injunctions pending resolution of
                    dispositive motions filed by WILLIAM P. BARR, MARK BEZY, RADM
                    CHRIS A. BINA, JOHN F. CARAWAY, ALAN R. DOERHOFF, NICOLE
                    ENGLISH, KERRY J. FORESTAL, CHADRICK EVAN FULKS, NEWTON
                    E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G.
                    LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT, JOSEPH
                    MCCLAIN, CHARLES E. SAMUELS, JR, KAREN TANDY(Administrator,
                    Drug Enforcement Administration (05cv2337)), KAREN
                    TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT OF
                    JUSTICE, T. J. WATSON, THOMAS WEBSTER. (Burch, Alan) (Entered:
                    08/05/2020)
08/05/2020   182    REPLY to opposition to motion re 179 MOTION to defer briefing on
                    Defendants' Motion to Vacate Preliminary Injunctions pending resolution of
                    dispositive motions filed by ANTHONY BATTLE, ORLANDO HALL,
                    CORY JOHNSON, JEFFREY PAUL, JAMES H. ROANE, JR, RICHARD
                    TIPTON, BRUCE WEBSTER. (Lentz, Amy) (Entered: 08/05/2020)
08/07/2020   183    REPLY to opposition to motion re (23 in 1:20−cv−00557−TSC, 174 in
                    1:19−mc−00145−TSC) Emergency MOTION to Expedite Trial filed by
                    KEITH NELSON. (Attachments: # 1 Exhibit 1 − Report of Dr. DeJong, # 2
                    Exhibit 2 − Second Suppl. Decl. of Gail A. Van Norman, M.D., # 3 Certificate
                    of Service)Associated Cases: 1:19−mc−00145−TSC,
                    1:20−cv−00557−TSC(Cohen, Harry) (Entered: 08/07/2020)
08/10/2020          MINUTE ORDER related to James Roane, Richard Tipton, Cory Johnson,
                    Orlando Hall, Bruce Webster, Anthony Battle, and Jeffrey Paul: Plaintiffs'
                    Motion to Defer Briefing 179 is hereby DENIED. However, the briefing
                    schedule on the Motion to Vacate 173 is hereby amended as follows: Plaintiffs
                    James Roane, Richard Tipton, Cory Johnson, Orlando Hall, Bruce Webster,
                    Anthony Battle, and Jeffrey Paul shall file any joint opposition no later than
                    8/17/2020 and Defendants shall file any Reply no later than 8/20/2020. Signed
                    by Judge Tanya S. Chutkan on 8/10/2020. (lcdl) (Entered: 08/10/2020)
08/10/2020   184    Memorandum in opposition to re (169 in 1:19−mc−00145−TSC) MOTION to
                    Dismiss Plaintiffs' NON−APA Claims and for Summary Judgment Regarding
                    Plaintiffs' APA CLAIMS (This filing relates to All CASES), (170 in
                    1:19−mc−00145−TSC) MOTION for Summary Judgment as to Plaintiffs'
                    APA Claims (This filing relates to ALL CASES and is the same filing as ECF
                    No. 169)) Opposition on Behalf of All Plaintiffs filed by JEFFREY PAUL.
                    (Attachments: # 1 Exhibit Ex. 1, # 2 Exhibit Ex. 2, # 3 Exhibit Ex.


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                    3)Associated Cases: 1:19−mc−00145−TSC, 1:19−cv−03520−TSC,
                    1:20−cv−00474−TSC, 1:20−cv−00557−TSC(Nolan, Shawn) (Entered:
                    08/10/2020)
08/10/2020   185    NOTICE of Appearance by Bradley P. Humphreys on behalf of All
                    Defendants (Humphreys, Bradley) (Entered: 08/10/2020)
08/10/2020   186    Memorandum in opposition to re 169 MOTION to Dismiss Plaintiffs'
                    NON−APA Claims and for Summary Judgment Regarding Plaintiffs' APA
                    CLAIMS (This filing relates to All CASES) Supplemental filed by NORRIS G.
                    HOLDER, JR. (Attachments: # 1 Exhibit Declaration of Dr. Gail Van
                    Norman)(Braden, Scott) (Entered: 08/10/2020)
08/10/2020   187    RESPONSE re 180 Emergency MOTION for Summary Judgment on FDCA
                    Causes of Action (This filing relates to Nelson v. Barr, 20cv557) filed by
                    UNITED STATES DEPARTMENT OF JUSTICE. (Lin, Jean) (Entered:
                    08/10/2020)
08/10/2020   188    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Alexander C.
                    Drylewski, Filing fee $ 100, receipt number ADCDC−7446368. Fee Status:
                    Fee Paid. by CORY JOHNSON (Attachments: # 1 Declaration of Alexander
                    C. Drylewski, # 2 Text of Proposed Order)(Salzman, Donald) (Entered:
                    08/10/2020)
08/11/2020          Set/Reset Deadlines: Plaintiffs James Roane, Richard Tipton, Cory Johnson,
                    Orlando Hall, Bruce Webster, Anthony Battle, and Jeffrey Paul's Joint
                    response due by 8/17/2020. Reply due by 8/20/2020. (tb) (Entered:
                    08/11/2020)
08/12/2020   189    NOTICE of Appearance by Brian J O'Sullivan on behalf of KEITH NELSON
                    Associated Cases: 1:19−mc−00145−TSC, 1:20−cv−00557−TSC(O'Sullivan,
                    Brian) (Entered: 08/12/2020)
08/13/2020          MINUTE ORDER: It is hereby ORDERED that a telephonic status conference
                    is scheduled for August 14, 2020 at 10:00 a.m. eastern. The court intends to
                    discuss 174 Motion to Expedite Trial. It is further ORDERED that, pursuant to
                    Standing Order 20−20 (BAH), the Court will provide access for the public to
                    listen to the status conference at toll−free number 866−590−5055 and access
                    code 3850112; and it is further ORDERED that participants using the public
                    access telephone line shall adhere to the rules set forth in Standing Order
                    20−20, available on the Court's website. Signed by Judge Tanya S. Chutkan on
                    8/13/2020. (lcdl) (Entered: 08/13/2020)
08/13/2020          Set/Reset Hearings: Status Conference set for 8/14/2020 at 10:00 AM in
                    Telephonic/VTC before Judge Tanya S. Chutkan. (tb) (Entered: 08/13/2020)
08/13/2020   190    REPLY to opposition to motion re (180 in 1:19−mc−00145−TSC) Emergency
                    MOTION for Summary Judgment on FDCA Causes of Action filed by KEITH
                    NELSON. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Certificate of
                    Service)Associated Cases: 1:19−mc−00145−TSC,
                    1:20−cv−00557−TSC(Cohen, Harry) (Entered: 08/13/2020)
08/13/2020   191    REPLY to opposition to motion re 169 MOTION to Dismiss Plaintiffs'
                    NON−APA Claims and for Summary Judgment Regarding Plaintiffs' APA
                    CLAIMS (This filing relates to All CASES) filed by UNITED STATES


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                    DEPARTMENT OF JUSTICE. (Lin, Jean) (Entered: 08/13/2020)
08/14/2020   192    NOTICE of Appearance by James K. Stronski on behalf of KEITH NELSON
                    Associated Cases: 1:19−mc−00145−TSC, 1:20−cv−00557−TSC(Stronski,
                    James) (Entered: 08/14/2020)
08/14/2020          Minute Entry: Telephone Conference held on 8/14/2020 before Judge Tanya
                    S. Chutkan: Oral argument on 174 Motion for Expedited Trial; heard and
                    taken under advisement. The Court hereby DENIES AS MOOT motions 104
                    and 106 . (Court Reporter Nancy Meyer) (tb) Modified on 8/14/2020 (tb).
                    (Entered: 08/14/2020)
08/15/2020   193    ORDER granting 169 Motion to Dismiss as to Count II ONLY and as to all
                    Plaintiffs except Norris Holder; denying 174 Motion for an Expedited Trial.
                    Signed by Judge Tanya S. Chutkan on 8/15/2020. (lcdl) (Entered: 08/15/2020)
08/17/2020   194    NOTICE OF WITHDRAWAL OF MOTION by DANIEL LEWIS LEE re 143
                    Emergency MOTION for Order on Pending Claim and Motion, 103
                    Memorandum, (Attachments: # 1 Certificate of Service)(Van Tol, Pieter)
                    (Entered: 08/17/2020)
08/17/2020   195    NOTICE (EMERGENCY) Requesting Ruling on Pending Motions by KEITH
                    NELSON (Attachments: # 1 Certificate of Service)Associated Cases:
                    1:19−mc−00145−TSC, 1:20−cv−00557−TSC(Cohen, Harry) (Entered:
                    08/17/2020)
08/17/2020   196    Emergency MOTION for Entry of Final Judgment by KEITH NELSON
                    (Attachments: # 1 Text of Proposed Order, # 2 Certificate of
                    Service)Associated Cases: 1:19−mc−00145−TSC,
                    1:20−cv−00557−TSC(Cohen, Harry) (Entered: 08/17/2020)
08/17/2020   197    Memorandum in opposition to re 173 MOTION to Vacate Preliminary
                    Injunctions Barring Executions of Plaintiffs James Roane, Richard Tipton,
                    Cory Johnson, Orlando Hall, Bruce Webster, Anthony Battle, and Jeffrey Paul
                    filed by ANTHONY BATTLE, ORLANDO HALL, CORY JOHNSON,
                    JEFFREY PAUL, JAMES H. ROANE, JR, RICHARD TIPTON, BRUCE
                    WEBSTER. (Attachments: # 1 Text of Proposed Order)(Miller, Evan)
                    (Entered: 08/17/2020)
08/17/2020   198    RESPONSE re 196 Emergency MOTION for Entry of Final Judgment (This
                    filing relates to Nelson v. Barr, 20cv557) filed by UNITED STATES
                    DEPARTMENT OF JUSTICE. (Lin, Jean) (Entered: 08/17/2020)
08/18/2020   199    NOTICE of Appearance by Jonathan S. Meltzer on behalf of BRANDON
                    BERNARD (Meltzer, Jonathan) (Entered: 08/18/2020)
08/18/2020   200    NOTICE of Appearance by Brendan B. Gants on behalf of BRANDON
                    BERNARD (Gants, Brendan) (Entered: 08/18/2020)
08/18/2020   201    REPLY to opposition to motion re (32 in 1:20−cv−00557−TSC, 196 in
                    1:19−mc−00145−TSC) Emergency MOTION for Entry of Final Judgment
                    filed by KEITH NELSON. (Attachments: # 1 Certificate of
                    Service)Associated Cases: 1:19−mc−00145−TSC,
                    1:20−cv−00557−TSC(Cohen, Harry) (Entered: 08/18/2020)
08/18/2020


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                    MINUTE ORDER to SHOW CAUSE: In light of the court's August 15, 2020
                    order 193 and Plaintiff Keith Nelson's emergency motion 196 , it is hereby
                    ORDERED that all Plaintiffs with the exception of Norris Holder shall SHOW
                    CAUSE in writing, not to exceed 10 pages, by 5p.m. on August 19, 2020,
                    whether they object to the entry of final judgment as to Count II of the
                    Amended Complaint 92 . Signed by Judge Tanya S. Chutkan on 08/18/2020.
                    (kcfb) (Entered: 08/18/2020)
08/19/2020          Set/Reset Deadlines: Response to Show Cause due by 5 p.m. on 8/19/2020.
                    (tb) (Entered: 08/19/2020)
08/19/2020   202    RESPONSE TO ORDER TO SHOW CAUSE by JEFFREY PAUL, IN THE
                    MATTER OF THE FEDERAL BUREAU OF PRISONS' EXECUTION
                    PROTOCOL CASES re Order to Show Cause, On Behalf of All Plaintiffs
                    Except Nelson, Holder and Vialva filed by JEFFREY PAUL, IN THE
                    MATTER OF THE FEDERAL BUREAU OF PRISONS' EXECUTION
                    PROTOCOL CASES. Associated Cases: 1:19−mc−00145−TSC,
                    1:19−cv−03520−TSC, 1:20−cv−00474−TSC, 1:20−cv−00557−TSC,
                    1:20−cv−01693−TSC(Nolan, Shawn) (Entered: 08/19/2020)
08/19/2020   203    RESPONSE re 196 Emergency MOTION for Entry of Final Judgment filed by
                    CHRISTOPHER ANDRE VIALVA. (Otto, Susan) (Entered: 08/19/2020)
08/20/2020   204    MEMORANDUM AND OPINION re 196 Plaintiff KEITH NELSON's
                    Emergency MOTION for Entry of Final Judgment. Signed by Judge Tanya S.
                    Chutkan on 8/20/2020. (DJS) (Entered: 08/20/2020)
08/20/2020   205    ORDER granting 196 Motion for Entry of Final Judgment. The court hereby
                    enters PARTIAL FINAL JUDGMENT for the Defendants, dismissing Count
                    II (Eighth Amendment) of the Amended Complaint. This Judgement applies to
                    all Plaintiffs in this consolidated action, except Norris Holder. Signed by
                    Judge Tanya S. Chutkan on 8/20/2020. (DJS) (ztb). (Entered: 08/20/2020)
08/20/2020   206    NOTICE OF APPEAL TO DC CIRCUIT COURT as to ( 193 in
                    1:19−mc−00145−TSC) Order on Motion to Expedite by KEITH NELSON.
                    Filing fee $ 505, receipt number DCDC−7488946. Fee Status: Fee Paid.
                    Parties have been notified. (Attachments: # 1 Certificate of Service)Associated
                    Cases: 1:19−mc−00145−TSC, 1:20−cv−00557−TSC(Clune, Kathryn);
                    Modified text and deleted docket entry relationship on 8/20/2020 at the request
                    of counsel (ztth). (Entered: 08/20/2020)
08/20/2020   207    Transmission of the Notice of Appeal, Order Appealed (Memorandum
                    Opinion), and Docket Sheet to US Court of Appeals. The Court of Appeals fee
                    was paid this date re 206 Notice of Appeal to DC Circuit Court. (ztth)
                    (Entered: 08/20/2020)
08/20/2020          USCA Case Number 20−5252 for 206 Notice of Appeal to DC Circuit Court,
                    filed by KEITH NELSON. (zrdj) (Entered: 08/20/2020)
08/20/2020   208    REPLY to opposition to motion re 173 MOTION to Vacate Preliminary
                    Injunctions Barring Executions of Plaintiffs James Roane, Richard Tipton,
                    Cory Johnson, Orlando Hall, Bruce Webster, Anthony Battle, and Jeffrey Paul
                    This Document Relates to Roane, et al. v. Barr, et al., No. 05−2337 filed by
                    WILLIAM P. BARR, MARK BEZY, RADM CHRIS A. BINA, JOHN F.
                    CARAWAY, ALAN R. DOERHOFF, KERRY J. FORESTAL, CHADRICK


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                    EVAN FULKS, NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL
                    LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L.
                    LOCKETT, JOSEPH MCCLAIN, CHARLES E. SAMUELS, JR, KAREN
                    TANDY(Administrator, Drug Enforcement Administration (05cv2337)),
                    KAREN TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT
                    OF JUSTICE, T. J. WATSON, THOMAS WEBSTER. (Attachments: # 1
                    Exhibit)(Humphreys, Bradley) (Entered: 08/20/2020)
08/20/2020   209    ORDER denying 101 Plaintiff Nelson's (20−cv−557) Motion to Strike. Signed
                    by Judge Tanya S. Chutkan on 8/20/20. (DJS) (Entered: 08/20/2020)
08/22/2020   210    ORDER denying leave to file motions by non−parties Bille J. Allen and
                    Dustin J. Higgs. The Clerk of the Court shall mail a copy of this order and the
                    attachment to the movants at the addresses listed in the order. Signed by Judge
                    Tanya S. Chutkan on 9/22/20. (Attachment: # 1 Motions from non−parties)
                    (DJS) (Entered: 08/22/2020)
08/25/2020   211    MOTION for Leave to File a Surreply in Opposition to Defendants' Motion to
                    Vacate Preliminary Injunctions by JEFFREY PAUL (Attachments: # 1
                    Exhibit Surreply in Opposition to Defendants' Motion to Vacate Preliminary
                    Injunctions)(Nolan, Shawn) (Entered: 08/25/2020)
08/25/2020   212    Memorandum in opposition to re 211 MOTION for Leave to File a Surreply in
                    Opposition to Defendants' Motion to Vacate Preliminary Injunctions filed by
                    WILLIAM P. BARR, MARK BEZY, RADM CHRIS A. BINA, JOHN F.
                    CARAWAY, UTTAM DHILLON, NICOLE ENGLISH, KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, NEWTON E. KENDIG, II,
                    JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G. LAPPIN, MICHELE
                    LEONHART, CHARLES L. LOCKETT, JOSEPH MCCLAIN, CHARLES E.
                    SAMUELS, JR, UNITED STATES DEPARTMENT OF JUSTICE, T. J.
                    WATSON, THOMAS WEBSTER. (Burch, Alan) (Entered: 08/25/2020)
08/25/2020          MINUTE ORDER: Granting 188 Motion for Leave to Appear Pro Hac Vice.
                    Alexander C. Drylewski is hereby admitted pro hac vice to appear in this
                    matter on behalf Plaintif CORY JOHNSON. Counsel should register for
                    e−filing via PACER and file a notice of appearance pursuant to LCvR
                    83.6(a). Click for instructions. Signed by Judge Tanya S. Chutkan on
                    8/25/2020. (DJS) (Entered: 08/25/2020)
08/27/2020   213    MEMORANDUM AND OPINION regarding 169 170 Defendant's Motion
                    and 180 Plaintiff Keith Nelson's Emergency Motion for Summary Judgment
                    on FDCA Causes of Action. Signed by Judge Tanya S. Chutkan on
                    08/27/2020. (kcfb) (Entered: 08/27/2020)
08/27/2020   214    ORDER granting−in−part 169 170 Defendant's Motion and granting−in−part
                    180 Plaintiff Keith Nelson's Emergency Motion for Summary Judgment on
                    FDCA Causes of Action. The court hereby enters PARTIAL FINAL
                    JUDGMENT for the Defendants and PARTIAL FINAL JUDGMENT for
                    Keith Nelson. Signed by Judge Tanya S. Chutkan on 08/27/2020. (kcfb)
                    (Entered: 08/27/2020)
08/27/2020   215    NOTICE OF APPEAL TO DC CIRCUIT COURT as to 213 Memorandum &
                    Opinion, 214 Order on Motion for Summary Judgment, by UNITED STATES
                    DEPARTMENT OF JUSTICE. Fee Status: No Fee Paid. Parties have been
                    notified. (Humphreys, Bradley) (Entered: 08/27/2020)

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08/27/2020   216    MOTION to Stay re 213 Memorandum & Opinion, 214 Order on Motion for
                    Summary Judgment, (This Document Relates to Nelson v. Barr, et al., No.
                    20−cv−557) by UNITED STATES DEPARTMENT OF JUSTICE
                    (Humphreys, Bradley) (Entered: 08/27/2020)
08/27/2020   217    Transmission of the Notice of Appeal, Order Appealed (Memorandum
                    Opinion), and Docket Sheet to US Court of Appeals. The Court of Appeals
                    docketing fee was not paid because the appeal was filed by the government re
                    215 Notice of Appeal to DC Circuit Court. (ztd) (Entered: 08/27/2020)
08/27/2020          MINUTE ORDER: Upon consideration of Defendants' 216 Motion to Stay,
                    this court finds that Defendants are not likely to succeed on the merits of their
                    appeal and that the balance of harms does not weigh in favor of a stay.
                    Therefore, Defendants' 216 Motion to Stay is hereby DENIED. Signed by
                    Judge Tanya S. Chutkan on 08/27/2020. (kcfb) (Entered: 08/27/2020)
08/27/2020          USCA Case Number 20−5260 for 215 Notice of Appeal to DC Circuit Court
                    filed by UNITED STATES DEPARTMENT OF JUSTICE. (zrdj) (Entered:
                    08/27/2020)
08/27/2020   218    Supplemental Record on Appeal transmitted to US Court of Appeals re Order
                    on Motion to Stay, ;USCA Case Number 20−5260. (ztd) (Entered:
                    08/27/2020)
08/27/2020   219    MOTION Preservation of Evidence by NORRIS G. HOLDER, JR (Braden,
                    Scott) (Entered: 08/27/2020)
08/27/2020   220    RESPONSE re 219 MOTION Preservation of Evidence filed by WILLIAM P.
                    BARR, MARK BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY,
                    KERRY J. FORESTAL, CHADRICK EVAN FULKS, NEWTON E.
                    KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G.
                    LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT, JOSEPH
                    MCCLAIN, CHARLES E. SAMUELS, JR, UNITED STATES
                    DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS WEBSTER.
                    (Burch, Alan) (Entered: 08/27/2020)
08/27/2020   223    MANDATE of USCA as to 215 Notice of Appeal to DC Circuit Court filed by
                    UNITED STATES DEPARTMENT OF JUSTICE ; USCA Case Number
                    20−5260. (Attachments: # 1 USCA Order)(zrdj) (Entered: 08/28/2020)
08/28/2020   221    ORDER granting 219 Emergency Motion to Preserve Evidence. See Order for
                    details. Signed by Judge Tanya S. Chutkan on 08/28/2020. (kcfb) (Entered:
                    08/28/2020)
08/28/2020   222    NOTICE of Ruling and Request to Clarify And/Or Amend Order and Issue
                    New Injunction by KEITH NELSON (Cohen, Harry) (Entered: 08/28/2020)
08/28/2020   224    RESPONSE re 222 Notice (Other) (This filing relates to Nelson v. Barr,
                    20cv557) filed by UNITED STATES DEPARTMENT OF JUSTICE. (Lin,
                    Jean) (Entered: 08/28/2020)
08/28/2020          MINUTE ORDER: A telephone status conference is hereby set for 11:45 am
                    today Friday 8/28/2020. The parties will receive an email with dial in
                    instructions. Signed by Judge Tanya S. Chutkan on 8/28/2020. (DJS) (Entered:
                    08/28/2020)


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08/28/2020   225    MOTION to Clarify, MOTION Issue New Injunction by KEITH NELSON
                    (ztd); (See docket entry no. 222 to view.) (Entered: 08/28/2020)
08/28/2020          Minute Entry for proceedings held before Judge Tanya S. Chutkan: Telephone
                    Conference call held on 8/28/2020. (Court Reporter: Sara Wick) (jth)
                    (Entered: 08/28/2020)
08/28/2020   226    ORDER denying 222 request to clarify and/or amend 214 Order. Signed by
                    Judge Tanya S. Chutkan on 08/28/2020. (kcfb) (Entered: 08/28/2020)
08/28/2020   227    NOTICE of Appearance by Alex Drylewski on behalf of CORY JOHNSON
                    (Drylewski, Alex) (Entered: 08/28/2020)
08/31/2020   228    ANSWER to 94 Amended Complaint by WILLIAM P. BARR, NICOLE
                    ENGLISH, JEFFREY E. KRUEGER, T. J. WATSON.(Burch, Alan) (Entered:
                    08/31/2020)
09/01/2020   229    Unopposed MOTION to Intervene and Incorporated Memorandum of Law in
                    Support by Dustin Higgs (Attachments: # 1 Exhibit 1)(Nolan, Shawn)
                    (Entered: 09/01/2020)
09/01/2020   230    MEMORANDUM re 229 Unopposed MOTION to Intervene and
                    Incorporated Memorandum of Law in Support filed by Dustin Higgs by Dustin
                    Higgs. (Nolan, Shawn) (Entered: 09/01/2020)
09/04/2020          MINUTE ORDER: Granting 229 Dustin Higgs's Unopposed Motion to
                    Intervene, pursuant to Federal Rule of Civil Procedure 24(b). Signed by Judge
                    Tanya S. Chutkan on 09/04/2020. (lcfb) (Entered: 09/04/2020)
09/07/2020   231    NOTICE of Fifth Supplement to the Administrative Record (this filing relates
                    to ALL CASES) by UNITED STATES DEPARTMENT OF JUSTICE
                    (Kossak, Jonathan) (Entered: 09/07/2020)
09/08/2020   232    ORDER CONSOLIDATING CASES and SETTING BRIEFING
                    DEADLINES: Consolidating 20−cv−2481−TSC with IN THE MATTER OF
                    THE FEDERAL BUREAU OF PRISONS EXECUTION PROTOCOL
                    CASES, 19−mc−145 (TSC). By noon on Wednesday 9/9/20, Plaintiff shall file
                    a copy of his Emergency Motion for Preliminary Injunction (Lecroy,
                    20−cv−2481−TSC, ECF No. 9) and Motion for Hearing (Lecroy,
                    20−cv−2481−TSC, ECF No. 10) in the master case, 19−mc−145−TSC.
                    Defendants shall file a consolidated response to both motions in the master
                    case no later than 5:00 p.m. on Friday 9/11/20. Plaintiff shall file a
                    consolidated reply in the master case no later than noon on Sunday 9/13/20.
                    By 5:00 pm on Wednesday 9/9/20, the parties shall meet and confer and file a
                    joint notice in the master case advising the court of their positions on whether
                    the motion for a preliminary injunction should be converted to a motion for
                    summary judgment. Signed by Judge Tanya S. Chutkan on 9/8/2020.
                    (Attachments: # 1 Cosolidation Order) (DJS) (Entered: 09/08/2020)
09/08/2020   233    Emergency MOTION for Preliminary Injunction with Memorandum of Law in
                    Support by WILLIAM EMMETT LECROY (Attachments: # 1 Memorandum
                    in Support, # 2 Exhibit A to Memorandum in Support)(Smith, Gregory)
                    (Entered: 09/08/2020)
09/08/2020   234    MOTION for Hearing re 233 Emergency MOTION for Preliminary Injunction
                    with Memorandum of Law in Support on an Expedited Basis by WILLIAM

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                    EMMETT LECROY (Smith, Gregory) (Entered: 09/08/2020)
09/09/2020          Set/Reset Deadlines: Joint notice due by 9/9/2020. Motion due by 9/9/2020.
                    Response due by 9/11/2020 Reply due by 9/9/2020. (tb) (Entered: 09/09/2020)
09/09/2020   235    NOTICE (Joint Notice on Whether Motion for Preliminary Injunction Should
                    be Converted to Motion for Summary Judgment) by WILLIAM EMMETT
                    LECROY re 232 Order,,, (Smith, Gregory) (Entered: 09/09/2020)
09/09/2020   236    MOTION for Partial Summary Judgment on APA Claim Concerning
                    Defendants' Violations of the Food, Drug and Cosmetic Act, MOTION for
                    Permanent Injunction on APA Claim Concerning Defendants' Violations of the
                    Food, Drug and Cosmetic Act by JEFFREY PAUL (Attachments: # 1 Text of
                    Proposed Order)(Nolan, Shawn) (Entered: 09/09/2020)
09/09/2020   237    SUPPLEMENTAL MEMORANDUM Supplemental Statement of Irreparable
                    Harm by NORRIS G. HOLDER, JR (Braden, Scott) Modified text on
                    9/11/2020 (ztd). (Entered: 09/09/2020)
09/10/2020   238    MOTION to Alter Judgment as to (205 in 1:19−mc−00145−TSC) Order on
                    Motion for Entry of Final Judgment, by RICHARD TIPTON Associated
                    Cases: 1:19−mc−00145−TSC et al.(King, Gerald) (Entered: 09/10/2020)
09/10/2020          MINUTE ORDER: Counsel are hereby reminded to familiarize themselves
                    with court's Consolidation order 1 , which provides that "Any pleading or
                    paper filed relating to any of the Federal Bureau of Prisons' Execution
                    Protocol Cases must be filed ONLY in the Master Case File," which means
                    you MUST CHECK "NO" WHEN ASKED "Do you want to spread this
                    docket entry?". Signed by Judge Tanya S. Chutkan on 9/10/2020. (DJS)
                    (Entered: 09/10/2020)
09/10/2020   239    NOTICE of Appearance by Scott A.C. Meisler on behalf of WILLIAM P.
                    BARR, RADM CHRIS A. BINA, JEFFREY E. KRUEGER, T. J. WATSON,
                    WILLIAM E. WILSON (Meisler, Scott) (Entered: 09/10/2020)
09/11/2020          SCHEDULING MINUTE ORDER: The government shall file its response to
                    236 Plaintiffs' partial motion for summary judgment no later than Monday,
                    September 14, 2020 at 8 a.m. Signed by Judge Tanya S. Chutkan on
                    09/11/2020. (lcfb) (Entered: 09/11/2020)
09/11/2020   240    NOTICE OF WITHDRAWAL OF APPEARANCE as to KEITH NELSON,
                    KEITH NELSON. Attorney Brian J O'Sullivan; Michael Robles; James K.
                    Stronski; Kathryn Louise Clune and Harry P. Cohen terminated. (Attachments:
                    # 1 Certificate of Service)Associated Cases: 1:19−mc−00145−TSC,
                    1:20−cv−00557−TSC(Clune, Kathryn) (Entered: 09/11/2020)
09/11/2020   241    NOTICE by UNITED STATES DEPARTMENT OF JUSTICE re 173
                    MOTION to Vacate Preliminary Injunctions Barring Executions of Plaintiffs
                    James Roane, Richard Tipton, Cory Johnson, Orlando Hall, Bruce Webster,
                    Anthony Battle, and Jeffrey Paul (Burch, Alan) (Entered: 09/11/2020)
09/11/2020   242    RESPONSE re 234 MOTION for Hearing re 233 Emergency MOTION for
                    Preliminary Injunction with Memorandum of Law in Support on an Expedited
                    Basis, 233 Emergency MOTION for Preliminary Injunction with
                    Memorandum of Law in Support filed by WILLIAM P. BARR, RADM
                    CHRIS A. BINA, JEFFREY E. KRUEGER, T. J. WATSON, WILLIAM E.

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                    WILSON. (Attachments: # 1 Exhibit Declaration of Rick Winter, # 2 Exhibit
                    LeCroy Administrative Remedy Request)(Meisler, Scott) (Entered:
                    09/11/2020)
09/11/2020   243    NOTICE OF SUPPLEMENTAL AUTHORITY by WILLIAM P. BARR,
                    RADM CHRIS A. BINA, JEFFREY E. KRUEGER, T. J. WATSON,
                    WILLIAM E. WILSON (Attachments: # 1 Exhibit Vialva Opinion)(Meisler,
                    Scott) (Entered: 09/11/2020)
09/13/2020   244    REPLY to opposition to motion re 234 MOTION for Hearing re 233
                    Emergency MOTION for Preliminary Injunction with Memorandum of Law in
                    Support on an Expedited Basis, 233 Emergency MOTION for Preliminary
                    Injunction with Memorandum of Law in Support filed by WILLIAM
                    EMMETT LECROY. (Smith, Gregory) (Entered: 09/13/2020)
09/13/2020   245    AMENDED COMPLAINT by William LeCroy against WILLIAM P. BARR,
                    RADM CHRIS A. BINA, JOHN DOES(I−IV, Individually and in their official
                    capacities; 07−cv−02145−TSC), JEFFREY E. KRUEGER, T. J. WATSON,
                    WILLIAM E. WILSON filed by WILLIAM EMMETT LECROY.
                    (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Smith, Gregory)
                    (Entered: 09/13/2020)
09/14/2020   246    RESPONSE re 237 Partial MOTION for Summary Judgment Supplemental
                    Statement of Irreparable Harm, 236 MOTION for Partial Summary Judgment
                    on APA Claim Concerning Defendants' Violations of the Food, Drug and
                    Cosmetic Act MOTION for Permanent Injunction on APA Claim Concerning
                    Defendants' Violations of the Food, Drug and Cosmetic Act filed by UNITED
                    STATES DEPARTMENT OF JUSTICE. (Attachments: # 1 Declaration Dr.
                    Kendall Von Crowns, # 2 Declaration Dr. Joseph F. Antognini (2d Suppl.), # 3
                    Certificate of Service)(Lin, Jean) (Entered: 09/14/2020)
09/14/2020          Set/Reset Deadlines: Response due by 9/14/2020 (tb) (Entered: 09/14/2020)
09/14/2020          SCHEDULING MINUTE ORDER: Plaintiffs shall file a consolidated reply to
                    246 Defendants' opposition to 236 Plaintiffs' motion for partial summary
                    judgment by Tuesday, September 15, 2020 at 5p.m. Signed by Judge Tanya S.
                    Chutkan on 09/14/2020. (lcfb) (Entered: 09/14/2020)
09/14/2020          MINUTE ORDER: The court has been inundated with filings and motions in
                    this case, many of which address the same, or very similar, issues. The court
                    understands the stakes here and is appreciative of the zealous advocacy of
                    counsel on both sides. However, the court is in a position to address all
                    remaining open motions on the docket and, mindful of the Supreme Court's
                    admonishment that the issues in this case be addressed with "appropriate
                    dispatch," it is hereby ORDERED that the parties shall not make any further
                    filings in these consolidated cases without leave of court. Signed by Judge
                    Tanya S. Chutkan on 09/14/2020. (lcfb) (Entered: 09/14/2020)
09/14/2020          MINUTE ORDER: In their motion for summary judgment 170 , Defendants
                    have represented that, "[a]ssuming there are conflicts between a state statute
                    and the Protocol... 'the federal protocol allows the federal government to
                    depart from its procedures as necessary to conform to state statutes and
                    regulations,' which BOP is prepared to do if such circumstances arise." ( 170
                    Defs. Mot. at 32 (quoting In re Fed. Bureau of Prisons' Execution Protocol
                    Cases, 955 F.3d 106, 112 (D.C. Cir. 2020)); see also 191 Defs. Reply at 19.).

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                    Plaintiffs have identified the following state statutes, which they contend
                    conflict with the Bureau of Prisons' 2019 Execution Protocol: S.C. Code
                    Section 24−3−530(A); VA Code Ann. Section 53.1−234; Mo. Rev. Stat.
                    Section 546.720.1; Ga. Code Section 17−10−41; Ark. Code Sections
                    5−4−617(d), (f); and Tex. Code of Crim. Proc. Art. 43.14(a). The Defendants
                    have also submitted an affidavit attesting to their intention to have two doctors
                    present at the execution of Plaintiff William Emmett LeCroy in accordance
                    with Ga. Code Section 17−10−41. (See [242−1], Winter Decl. Paragraph 7.)
                    Given their representations, the Defendants are hereby ORDERED to file a
                    notice by Tuesday, September 15, 2020 at 9 a.m. indicating whether they are
                    prepared to deviate from the procedures of the 2019 Execution Protocol to
                    accommodate these statutes. If Defendants have not determined whether they
                    will comply with a given statute, they shall so indicate. Signed by Judge Tanya
                    S. Chutkan on 09/14/2020. (lcfb) (Entered: 09/14/2020)
09/14/2020          Set/Reset Deadlines: Notice by defendants due by 9/15/2020. (tb) (Entered:
                    09/14/2020)
09/15/2020   247    NOTICE in Response to Court Order by UNITED STATES DEPARTMENT
                    OF JUSTICE re Order,,,,,, (Attachments: # 1 Certificate of Service)(Lin, Jean)
                    (Entered: 09/15/2020)
09/15/2020   248    REPLY to opposition to motion re 236 MOTION for Partial Summary
                    Judgment on APA Claim Concerning Defendants' Violations of the Food,
                    Drug and Cosmetic Act MOTION for Permanent Injunction on APA Claim
                    Concerning Defendants' Violations of the Food, Drug and Cosmetic Act filed
                    by JEFFREY PAUL. (Nolan, Shawn) (Entered: 09/15/2020)
09/15/2020   249    SUPPLEMENTAL REPLY to opposition to motion re 236 MOTION for
                    Partial Summary Judgment on APA Claim Concerning Defendants' Violations
                    of the Food, Drug and Cosmetic Act MOTION for Permanent Injunction on
                    APA Claim Concerning Defendants' Violations of the Food, Drug and
                    Cosmetic Act filed by NORRIS G. HOLDER, JR. (Attachments: # 1 Exhibit
                    Declaration of Gail Van Norman, MD, # 2 Exhibit Declaration of Jennifer
                    Moreno)(Braden, Scott) Modified event title on 9/17/2020 (znmw). (Entered:
                    09/15/2020)
09/15/2020   250    NOTICE Requesting Leave to File Motion for Preliminary Injunction Against
                    Execution Until FDCA Claim is Decided by WILLIAM EMMETT LECROY
                    re Order,, (Attachments: # 1 Exhibit Motion for Preliminary Injunction Until
                    Decision on FDCA Claim, # 2 Memorandum in Support, # 3 Text of Proposed
                    Order)(Smith, Gregory) (Entered: 09/15/2020)
09/16/2020   251    MOTION for Leave to File Opposition to Emergency Motion for Preliminary
                    Injunction by WILLIAM P. BARR, RADM CHRIS A. BINA, JEFFREY E.
                    KRUEGER, T. J. WATSON, WILLIAM E. WILSON (Attachments: # 1
                    Memorandum in Support Opposition to Emergency Motion for Preliminary
                    Injunction)(Meisler, Scott) (Entered: 09/16/2020)
09/16/2020          MINUTE ORDER: Plaintiff William Emmett LeCroy's 250 request for leave
                    to file a motion for preliminary injunction is hereby DENIED. Defendants' 251
                    motion for leave to file an opposition to 250 Plaintiff LeCroy's request for
                    leave is also DENIED. The court is preparing an opinion and order that will
                    address the claims therein. Signed by Judge Tanya S. Chutkan on 09/16/2020.


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                    (lcfb) (Entered: 09/16/2020)
09/16/2020   252    MOTION for Leave to File Surreply in Opposition to Plaintiffs' Motoin for
                    Partial Summary Judgment Concerning the FDCA Claim (Count XI) (This
                    document relates to all cases) by UNITED STATES DEPARTMENT OF
                    JUSTICE (Attachments: # 1 Proposed Surreply, # 2 Declaration of Dr. Peter
                    W. Swaan, # 3 Text of Proposed Order, # 4 Certificate of Service)(Lin, Jean)
                    (Entered: 09/16/2020)
09/16/2020   253    NOTICE of Appearance by Johnny Hillary Walker, III on behalf of All
                    Defendants (Walker, Johnny) (Entered: 09/16/2020)
09/16/2020   254    MANDATE of USCA as to 206 Notice of Appeal to DC Circuit Court, filed
                    by KEITH NELSON ; USCA Case Number 20−5252. (Attachments: # 1
                    USCA Order)(zrdj) (Entered: 09/16/2020)
09/17/2020   255    MOTION for Leave to File Opposition to Defendants' Motion for Leave to
                    File a Surreply (ECF No. 252) by JEFFREY PAUL (Attachments: # 1
                    Proposed opposition to motion for leave to file a surreply)(Nolan, Shawn)
                    (Entered: 09/17/2020)
09/17/2020          MINUTE ORDER: A telephone conference is hereby set for 5:00 pm today
                    Thursday 9/17/2020. Judge Chutkan's courtroom deputy has emailed the
                    dial−in instructions to all attorneys of record. Signed by Judge Tanya S.
                    Chutkan on 9/17/2020. (DJS) (Entered: 09/17/2020)
09/17/2020          Set/Reset Hearings: Telephone Conference set for 9/17/2020 at 05:00 PM in
                    Telephonic/VTC before Judge Tanya S. Chutkan. (tb) (Entered: 09/17/2020)
09/17/2020   256    ERRATA to Exhibit B ECF Doc. 249 by NORRIS G. HOLDER, JR.
                    (Attachments: # 1 Exhibit Corrected Declaration of Jennifer Moreno)(Braden,
                    Scott) (Entered: 09/17/2020)
09/17/2020          Minute Entry: Telephone Conference held on 9/17/2020 before Judge Tanya
                    S. Chutkan: The parties discussed the dynamics of a potential evidentiary
                    hearing before the Court. (Court Reporter Bryan Wayne) (tb) (Entered:
                    09/18/2020)
09/18/2020          MINUTE ORDER: An telephonic evidentiary hearing his hereby set for 1:00
                    pm today Friday 9/16/2020. Signed by Judge Tanya S. Chutkan on 9/18/2020.
                    (DJS) Modified on 9/18/2020 (DJS). (Entered: 09/18/2020)
09/18/2020          AMENDED MINUTE ORDER: An telephonic evidentiary hearing his hereby
                    set for 1:00 pm today Friday 9/18/2020. Signed by Judge Tanya S. Chutkan on
                    9/18/2020. (DJS) (Entered: 09/18/2020)
09/18/2020   257    MOTION for Leave to File Supplemental Declaration from Dr. Michaela
                    Almgren by JEFFREY PAUL (Attachments: # 1 Declaration Declaration −
                    Michaela Almgren − 9−18−2020)(Nolan, Shawn) (Entered: 09/18/2020)
09/18/2020          Set/Reset Hearings: Telephone Conference set for 9/18/2020 at 01:00 PM in
                    Telephonic/VTC before Judge Tanya S. Chutkan. (tb) (Entered: 09/18/2020)
09/18/2020   258    Memorandum in opposition to re 257 MOTION for Leave to File
                    Supplemental Declaration from Dr. Michaela Almgren filed by IN THE
                    MATTER OF THE FEDERAL BUREAU OF PRISONS' EXECUTION


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                    PROTOCOL CASES. (Burch, Alan) (Entered: 09/18/2020)
09/18/2020          MINUTE ORDER: The evidentiary hearing is hereby set for Saturday
                    9/19/2020 at 1:30 pm. Signed by Judge Tanya S. Chutkan on 09/18/2020.
                    (DJS) (Entered: 09/18/2020)
09/18/2020          Minute Entry: Evidentiary Hearing held on 9/18/2020 before Judge Tanya S.
                    Chutkan: Gov't witnesses: Joseph F. Antognini and Kendall Von Crowns.
                    Evidentiary Hearing continued to 09/19/2020 at 1:30 before Judge Tanya S.
                    Chutkan by telephone. (Court Reporter Bryan Wayne) (tb) (Entered:
                    09/19/2020)
09/19/2020          MINUTE ORDER: Defendants' 252 motion to file a surreply in opposition to
                    Plaintiffs' 236 motion for partial summary judgment is hereby GRANTED.
                    Likewise, Plaintiffs' 257 motion for leave to file a supplemental declaration
                    from Dr. Michaela Almgren is hereby GRANTED. The court notes the
                    objections raised to both motions. Absent express direction of the court or a
                    bona fide emergency, no further documents are to be filed on the docket until
                    the court has had the opportunity to rule on the pending motions for summary
                    judgment. Signed by Judge Tanya S. Chutkan on 09/19/2020. (lcfb) (Entered:
                    09/19/2020)
09/19/2020   259    ERRATA relating only to Complaint of Dustin Honken − ECF No. 38 by
                    DUSTIN LEE HONKEN 38 Intervenor Complaint, filed by DUSTIN LEE
                    HONKEN. (Attachments: # 1 Exhibit O − Almgren CV)(Nolan, Shawn)
                    (Entered: 09/19/2020)
09/19/2020          Set/Reset Hearings: Evidentiary Hearing set for 9/19/2020 at 01:30 PM in
                    Telephonic/VTC before Judge Tanya S. Chutkan. (tb) Modified on 9/19/2020
                    (tb). (Entered: 09/19/2020)
09/19/2020   260    RESPONSE re 238 MOTION to Alter Judgment as to (205 in
                    1:19−mc−00145−TSC) Order on Motion for Entry of Final Judgment, (This
                    filing relates to all cases, filed by Defendants) filed by U.S. Dep't of Justice.
                    (Attachments: # 1 Certificate of Service)(Lin, Jean) Modified filer on
                    9/23/2020 (ztd). (Entered: 09/19/2020)
09/19/2020          Minute Entry: Evidentiary Hearing resumed on 9/19/2020 before Judge Tanya
                    S. Chutkan: Witnesses: Peter Swaan and Michaella Almgren. (Court Reporter
                    Bryan Wayne) (tb) (Entered: 09/21/2020)
09/19/2020   274    SURREPLY to re 236 MOTION for Partial Summary Judgment on APA
                    Claim Concerning Defendants' Violations of the Food, Drug and Cosmetic Act
                    MOTION for Permanent Injunction on APA Claim Concerning Defendants'
                    Violations of the Food, Drug and Cosmetic Act filed by U.S. DEPARTMENT
                    OF JUSTICE, UNITED STATES DEPARTMENT OF JUSTICE.
                    (Attachments: # 1 Declaration)(ztd) (Entered: 09/23/2020)
09/19/2020   275    AFFIDAVIT by JEFFREY PAUL. (ztd) (Entered: 09/23/2020)
09/20/2020   261    MEMORANDUM AND OPINION re 169 170 Defendants' motion to
                    dismiss/motion for summary judgment; 236 Plaintiffs' motion for partial
                    summary judgment. Signed by Judge Tanya S. Chutkan on 09/20/2020. (lcfb)
                    (Entered: 09/20/2020)
09/20/2020   262

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                    ORDER: Consistent with 261 Memorandum Opinion, granting 236 Motion for
                    Partial Summary Judgment; denying 236 request for Permanent Injunction;
                    granting 169 Motion to Dismiss; granting in part and denying in part 170
                    Motion for Summary Judgment. Signed by Judge Tanya S. Chutkan on
                    09/20/2020. (lcfb) (Entered: 09/20/2020)
09/20/2020   263    MEMORANDUM AND OPINION re 233 Plaintiff WILLIAM EMMETT
                    LECROY's motion for preliminary injunction; 234 Plaintiff WILLIAM
                    EMMETT LECROY's motion for hearing. Signed by Judge Tanya S. Chutkan
                    on 09/20/2020. (lcfb) (Entered: 09/20/2020)
09/20/2020   264    ORDER: Consistent with 263 Memorandum Opinion, denying 233 Motion for
                    Preliminary Injunction; denying 234 Motion for Hearing. Signed by Judge
                    Tanya S. Chutkan on 09/20/2020. (lcfb) (Entered: 09/20/2020)
09/20/2020   265    MEMORANDUM AND OPINION re 173 Defendants' motion to vacate
                    preliminary injunctions. Signed by Judge Tanya S. Chutkan on 09/20/2020.
                    (lcfb) (Entered: 09/20/2020)
09/20/2020   266    ORDER: Consistent with 265 Memorandum Opinion, granting 173 Motion to
                    Vacate Preliminary Injunctions. Signed by Judge Tanya S. Chutkan on
                    09/20/2020. (lcfb) (Entered: 09/20/2020)
09/20/2020          MINUTE ORDER: Granting Plaintiffs' 255 Motion for Leave to File
                    Opposition to Defendants' Motion 252 for Leave to File a Surreply. Signed by
                    Judge Tanya S. Chutkan on 9/28/2020. (DJS) (Entered: 09/20/2020)
09/20/2020   267    NOTICE OF APPEAL TO DC CIRCUIT COURT as to 264 Order on Motion
                    for Preliminary Injunction, Order on Motion for Hearing by WILLIAM
                    EMMETT LECROY. Filing fee $ 505, receipt number ADCDC−7613863. Fee
                    Status: Fee Paid. Parties have been notified. (Smith, Gregory) (Entered:
                    09/20/2020)
09/20/2020   268    Transmission of the Notice of Appeal, Order Appealed (Memorandum
                    Opinion), and Docket Sheet to US Court of Appeals. The Court of Appeals fee
                    was paid this date re 267 Notice of Appeal to DC Circuit Court. (zadc) (Main
                    Document 268 replaced on 9/21/2020) (zjf). (Entered: 09/20/2020)
09/20/2020   269    Emergency MOTION to Stay Proceedings as to Plaintiff William LeCroy
                    Only by WILLIAM EMMETT LECROY (Attachments: # 1 Text of Proposed
                    Order)(Smith, Gregory) (Entered: 09/20/2020)
09/20/2020          USCA Case Number 20−5285 for 267 Notice of Appeal to DC Circuit Court,
                    filed by WILLIAM EMMETT LECROY. (zrdj) (Entered: 09/21/2020)
09/20/2020   276    Memorandum in opposition to re 252 MOTION for Leave to File Surreply in
                    Opposition to Plaintiffs' Motoin for Partial Summary Judgment Concerning
                    the FDCA Claim (Count XI) (This document relates to all cases) filed by
                    JEFFREY PAUL. (ztd) (Entered: 09/23/2020)
09/20/2020   286    SURREPLY to re 252 MOTION for Leave to File Surreply in Opposition to
                    Plaintiffs' Motoin for Partial Summary Judgment Concerning the FDCA
                    Claim (Count XI) (This document relates to all cases) filed by JEFFREY
                    PAUL. (ztd) (Entered: 10/05/2020)
09/21/2020


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                    MINUTE ORDER: Plaintiff William Emmett LeCroy's 269 Emergency
                    Motion to Stay Proceedings is hereby DENIED. The purpose of Mr. LeCroy's
                    motion is unclear. In any event, Mr. LeCroy has failed to demonstrate he is
                    entitled to a stay pending appeal. In particular, he has not shown he is likely to
                    succeed on the merits of any appeal. See In re Special Proceedings, 840 F.
                    Supp. 2d 370, 372 (D.D.C. 2012) (citing Nken v. Holder, 556 U.S. 418, 434
                    (2009); Wash. Metro Area Transit Comm'n v. Holiday Tours, 559 F.2d 841,
                    842 n.1 (D.C. Cir. 1977)) ("In determining whether to stay an order pending
                    appeal, the Court considers the same four factors as it would in resolving a
                    motion for a preliminary injunction."). Signed by Judge Tanya S. Chutkan on
                    09/21/2020. (lcfb) (Entered: 09/21/2020)
09/21/2020   270    TRANSCRIPT OF STATUS CONFERENCE before Judge Tanya S. Chutkan
                    held on 08/28/2020. Page Numbers: 1−20. Date of Issuance: 09/21/2020.
                    Court Reporter: Sara Wick, telephone number 202−354−3284. Transcripts
                    may be ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 10/12/2020. Redacted Transcript Deadline set for
                    10/22/2020. Release of Transcript Restriction set for 12/20/2020.(Wick, Sara)
                    (Entered: 09/21/2020)
09/21/2020   271    TRANSCRIPT OF 9/18/20 EVIDENTIARY HEARING before Judge Tanya
                    S. Chutkan held on September 18, 2020; Page Numbers: 1−81. Date of
                    Issuance: 9/21/2020. Court Reporter: Bryan A. Wayne. Transcripts may be
                    ordered by submitting the Transcript Order Form at www.dcd.uscourts.gov.
                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.NOTICE RE REDACTION OF TRANSCRIPTS:
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                    any request to redact personal identifiers from this transcript. If no such
                    requests are filed, the transcript will be made available to the public via
                    PACER without redaction after 90 days. The policy, which includes the five
                    personal identifiers specifically covered, is located on our website at
                    www.dcd.uscourts.gov. Redaction Request due 10/12/2020. Redacted
                    Transcript Deadline set for 10/22/2020. Release of Transcript Restriction set
                    for 12/20/2020.(Wayne, Bryan) (Entered: 09/21/2020)
09/21/2020   272

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                    TRANSCRIPT OF 9/19/20 EVIDENTIARY HEARING before Judge Tanya
                    S. Chutkan held on September 19, 2020; Page Numbers: 1−55. Date of
                    Issuance: 9/21/2020. Court Reporter: Bryan A. Wayne. Transcripts may be
                    ordered by submitting the Transcript Order Form at www.dcd.uscourts.gov.
                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.NOTICE RE REDACTION OF TRANSCRIPTS:
                    The parties have twenty−one days to file with the court and the court reporter
                    any request to redact personal identifiers from this transcript. If no such
                    requests are filed, the transcript will be made available to the public via
                    PACER without redaction after 90 days. The policy, which includes the five
                    personal identifiers specifically covered, is located on our website at
                    www.dcd.uscourts.gov. Redaction Request due 10/12/2020. Redacted
                    Transcript Deadline set for 10/22/2020. Release of Transcript Restriction set
                    for 12/20/2020.(Wayne, Bryan) (Entered: 09/21/2020)
09/22/2020   273    TRANSCRIPT OF 9/17/20 TELEPHONE CONFERENCE before Judge
                    Tanya S. Chutkan held on September 17, 2020; Page Numbers: 1−47. Date of
                    Issuance: 9/22/2020. Court Reporter: Bryan A. Wayne. Transcripts may be
                    ordered by submitting the Transcript Order Form at www.dcd.uscourts.gov.
                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.NOTICE RE REDACTION OF TRANSCRIPTS:
                    The parties have twenty−one days to file with the court and the court reporter
                    any request to redact personal identifiers from this transcript. If no such
                    requests are filed, the transcript will be made available to the public via
                    PACER without redaction after 90 days. The policy, which includes the five
                    personal identifiers specifically covered, is located on our website at
                    www.dcd.uscourts.gov. Redaction Request due 10/13/2020. Redacted
                    Transcript Deadline set for 10/23/2020. Release of Transcript Restriction set
                    for 12/21/2020.(Wayne, Bryan) (Entered: 09/22/2020)
09/23/2020   277    NOTICE OF WITHDRAWAL OF APPEARANCE as to IN THE MATTER
                    OF THE FEDERAL BUREAU OF PRISONS' EXECUTION PROTOCOL
                    CASES. Attorney Alan Burch terminated. (Burch, Alan) (Entered:
                    09/23/2020)
09/25/2020          MINUTE ORDER: By 9:00 am Tuesday, September 29, 2020, the parties shall
                    meet, confer, and file a joint status report indicating: 1) all outstanding
                    motions or other unresolved matters in these consolidated actions; 2) the
                    underlying case number(s) to the extent a motion or issue does not apply to all
                    plaintiffs; 3) ECF numbers and precise page numbers for any documents
                    relating to the outstanding issues; and 4) a proposed schedule for moving
                    forward with this case, including to the extent necessary, briefing on any
                    outstanding matters. Signed by Judge Tanya S. Chutkan on 09/25/2020. (lcfb)
                    (Entered: 09/25/2020)
09/28/2020          Set/Reset Deadlines: Joint Status Report due by 9/29/2020. (tb) (Entered:
                    09/28/2020)


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09/28/2020   278    MOTION for Leave to File Reply In Support of Motion to Alter Judgment as
                    to (205 in 1:19−mc−00145−TSC) by RICHARD TIPTON (Attachments: # 1
                    Plaintiffs Reply In Support Of Their Motion To Alter And Amend Judgment
                    Pursuant To Rule 59(E) Of The Federal Rules Of Civil Procedure)(King,
                    Gerald) (Entered: 09/28/2020)
09/29/2020   279    Joint STATUS REPORT by JEFFREY PAUL. (Nolan, Shawn) (Entered:
                    09/29/2020)
09/29/2020   280    ERRATA by IN THE MATTER OF THE FEDERAL BUREAU OF
                    PRISONS' EXECUTION PROTOCOL CASES 279 Status Report filed by
                    JEFFREY PAUL. (Attachments: # 1 Joint Status Report (rev.))(Walker,
                    Johnny) (Entered: 09/29/2020)
09/29/2020   281    MOTION for Leave to File Motion to Alter or Amend Judgment Denying
                    Permanent Injunction by JEFFREY PAUL (Attachments: # 1 Motion to alter
                    or amend judgment denying permanent injunction, # 2 Exhibit 1 − Hale
                    Statements, # 3 Exhibit 2 − AP Article − Tarm, # 4 Exhibit 3 − Kudisch
                    Article, # 5 Exhibit 4 − Van Norman Supp. Decl. 9−29−2020, # 6 Exhibit 5 −
                    Edgar Supp. Decl. 9−28−2020)(Nolan, Shawn) (Entered: 09/29/2020)
09/30/2020          MINUTE ORDER: Plaintiffs' 278 motion for leave to file a reply and 281
                    motion for leave to file a motion to alter or amend 262 judgment denying a
                    permanent injunction are hereby GRANTED. Plaintiffs shall refile the motion
                    to alter or amend as a new document. Defendants shall file a response to
                    Plaintiffs' motion to alter judgment by Wednesday, October 7, 2020. Plaintiffs
                    may file a reply by Monday, October 12, 2020. Signed by Judge Tanya S.
                    Chutkan on 09/30/2020. (lcfb) (Entered: 09/30/2020)
09/30/2020   282    MOTION to Alter Judgment as to 261 Memorandum & Opinion, 262 Order on
                    Motion for Partial Summary Judgment,, Order on Motion for Permanent
                    Injunction,, Order on Motion to Dismiss,, Order on Motion for Summary
                    Judgment, on behalf of all Plaintiffs by JEFFREY PAUL (Attachments: # 1
                    Exhibit 1 − Hale Statements, # 2 Exhibit 2 − AP Article − Tarm, # 3 Exhibit 3
                    − Kudisch Article, # 4 Exhibit 4 − Gail Van Norman Supp. Decl. 9−29−2020,
                    # 5 Exhibit 5 − Mark A. Edgar Supp. Decl. 9−28−2020)(Nolan, Shawn)
                    (Entered: 09/30/2020)
09/30/2020   283    NOTICE OF WITHDRAWAL OF APPEARANCE as to CHRISTOPHER
                    ANDRE VIALVA. Attorney Susan M. Otto and Michael F. Williams
                    terminated. (Attachments: # 1 Exhibit Exhibit 1 − Judgment
                    Returned)Associated Cases: 1:19−mc−00145−TSC,
                    1:20−cv−01693−TSC(Otto, Susan) (Entered: 09/30/2020)
09/30/2020   284    NOTICE of Execution Date (Orlando Cordia Hall) by WILLIAM P. BARR
                    (Attachments: # 1 Certificate of Service)(Walker, Johnny) (Entered:
                    09/30/2020)
10/01/2020          Set/Reset Deadlines: Response due by 10/7/2020. Reply due by 10/12/2020.
                    (tb) (Entered: 10/01/2020)
10/01/2020   285    MOTION for Leave to File Supplemental Memorandum in Support of
                    Plaintiffs' Motion to Alter or Amend Judgment (ECF No. 238), on behalf of all
                    Plaintiffs by JEFFREY PAUL (Attachments: # 1 Proposed supplemental
                    memorandum in support of Plaintiffs' motion to alter or amend judgment (ECF


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                    No. 238))(Nolan, Shawn) (Entered: 10/01/2020)
10/06/2020   287    MOTION for Leave to File Motion to Alter or Amend Judgment as to Count V
                    on Behalf of Plaintiffs Battle, Bernard, Bourgeois, Hall, Robinson, and
                    Webster by ANTHONY BATTLE (Attachments: # 1 Motion to alter or amend
                    judgment as to Count V, # 2 Exhibit 1 − Hall Request)(Toll, Joshua) (Entered:
                    10/06/2020)
10/06/2020   288    Unopposed MOTION for Leave to File Unopposed Motion to Extend Time
                    (Two Days) by U.S. DEPARTMENT OF JUSTICE (Attachments: # 1 Text of
                    Proposed Order (Granting Leave to File), # 2 Unopposed Motion to Extend
                    Time, # 3 Text of Proposed Order (Extending Time), # 4 Certificate of
                    Service)(Walker, Johnny) (Entered: 10/06/2020)
10/07/2020          MINUTE ORDER granting 288 Motion for Leave to File. For good cause
                    shown, Defendants' unopposed motion to extend time is hereby GRANTED. It
                    is hereby ORDERED that Defendants shall file a response to 282 Plaintiffs'
                    motion to alter judgment by Friday, October 9, 2020. Plaintiff may file a reply
                    by Wednesday, October 15, 2020. Signed by Judge Tanya S. Chutkan on
                    10/07/2020. (lcfb) Modified on 10/14/2020 (tb). (Entered: 10/07/2020)
10/07/2020   289    MOTION for Extension of Time to File Response/Reply as to 282 MOTION
                    to Alter Judgment as to 261 Memorandum & Opinion, 262 Order on Motion
                    for Partial Summary Judgment,, Order on Motion for Permanent Injunction,,
                    Order on Motion to Dismiss,, Order on Motion for Summary Judgment, on
                    behalf of all Plai by UNITED STATES DEPARTMENT OF JUSTICE
                    (Attachments: # 1 Text of Proposed Order)(ztd) (Entered: 10/08/2020)
10/08/2020          Set/Reset Deadlines: Response due by 10/9/2020. Reply due by 10/15/2020.
                    (tb) (Entered: 10/08/2020)
10/09/2020   290    MOTION to Dismiss Mr. Lee's Individual Complaint and Remove Him as
                    Plaintiff from the Consolidated Action by DANIEL LEWIS LEE (Van Tol,
                    Pieter) (Entered: 10/09/2020)
10/09/2020   291    Memorandum in opposition to re 282 MOTION to Alter Judgment as to 261
                    Memorandum & Opinion, 262 Order on Motion for Partial Summary
                    Judgment,, Order on Motion for Permanent Injunction,, Order on Motion to
                    Dismiss,, Order on Motion for Summary Judgment, on behalf of all Plai filed
                    by WILLIAM P. BARR, UNITED STATES DEPARTMENT OF JUSTICE.
                    (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 3d Supp. Decl. of Joseph
                    Antognini, # 4 Supp. Decl. of Kendall Von Crowns, # 5 Decl. of Eric
                    Williams)(Walker, Johnny) (Entered: 10/09/2020)
10/13/2020          MINUTE ORDER: Plaintiffs' 285 Motion for Leave to File Supplemental
                    Memorandum in Support of 238 Plaintiffs' Motion to Alter or Amend
                    Judgment is hereby GRANTED. Signed by Judge Tanya S. Chutkan on
                    10/13/2020. (lcfb) (Entered: 10/13/2020)
10/13/2020          MINUTE ORDER: Plaintiffs' 211 motion for leave to file a surreply in
                    opposition to 173 Defendants' motion to vacate preliminary injunctions is
                    hereby GRANTED. Signed by Judge Tanya S. Chutkan on 10/13/2020. (lcfb)
                    (Entered: 10/13/2020)
10/13/2020   293


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                    SUPPLEMENTAL MEMORANDUM to re 238 MOTION to Alter Judgment
                    as to (205 in 1:19−mc−00145−TSC) Order on Motion for Entry of Final
                    Judgment, filed by JEFFREY PAUL. (ztd) (Entered: 10/14/2020)
10/13/2020   294    SURREPLY to re 173 MOTION to Vacate Preliminary Injunctions Barring
                    Executions of Plaintiffs James Roane, Richard Tipton, Cory Johnson, Orlando
                    Hall, Bruce Webster, Anthony Battle, and Jeffrey Paul filed by JEFFREY
                    PAUL. (ztd) (Entered: 10/14/2020)
10/14/2020   292    REPLY to opposition to motion re 282 MOTION to Alter Judgment as to 261
                    Memorandum & Opinion, 262 Order on Motion for Partial Summary
                    Judgment,, Order on Motion for Permanent Injunction,, Order on Motion to
                    Dismiss,, Order on Motion for Summary Judgment, on behalf of all Plai filed
                    by JEFFREY PAUL. (Attachments: # 1 Exhibit Reply Ex. 1 − Wabash Valley
                    AP Article, # 2 Exhibit Reply Ex 2 − NPR Article)(Nolan, Shawn) (Entered:
                    10/14/2020)
10/16/2020   295    Unopposed MOTION for Leave to File Response to Plaintiffs' Supplemental
                    Memorandum in Support of Their Motion to Alter or Amend the Judgment
                    Dismissing Their Eighth Amendment Claim [ECF No. 293] by WILLIAM P.
                    BARR, UNITED STATES DEPARTMENT OF JUSTICE (Attachments: # 1
                    Text of Proposed Order (Granting Leave to File), # 2 Response to Plaintiffs'
                    Supplemental Memorandum, # 3 Certificate of Service)(Walker, Johnny)
                    (Entered: 10/16/2020)
10/16/2020   296    NOTICE of Execution Date (Brandon Bernard) by UNITED STATES
                    DEPARTMENT OF JUSTICE (Attachments: # 1 Certificate of
                    Service)(Walker, Johnny) (Entered: 10/16/2020)
10/19/2020          MINUTE ORDER: Defendants' 295 Unopposed Motion for Leave to File
                    Response to Plaintiffs' 293 Supplemental Memorandum in Support of Their
                    Motion to Alter or Amend the Judgment Dismissing Their Eighth Amendment
                    Claim is hereby GRANTED. Signed by Judge Tanya S. Chutkan on
                    10/19/2020. (lcfb) (Entered: 10/19/2020)
10/19/2020   297    RESPONSE re 293 Supplemental Memorandum filed by WILLIAM P.
                    BARR, UNITED STATES DEPARTMENT OF JUSTICE. (ztd) (Entered:
                    10/21/2020)
10/23/2020          MINUTE ORDER: Plaintiffs' 287 motion for leave to file a motion to alter or
                    amend judgment as to Count V is hereby GRANTED. Plaintiffs shall refile the
                    motion to alter or amend as a new document. Defendants shall file a response
                    to Plaintiffs' motion, not to exceed ten pages, by Monday, October 26, 2020.
                    Plaintiffs may file a reply, not to exceed five pages, by Tuesday, October 27,
                    2020. Signed by Judge Tanya S. Chutkan on 10/23/2020. (lcfb) (Entered:
                    10/23/2020)
10/23/2020   298    MOTION to Alter Judgment as to 261 Memorandum & Opinion, 262 Order on
                    Motion for Partial Summary Judgment,, Order on Motion for Permanent
                    Injunction,, Order on Motion to Dismiss,, Order on Motion for Summary
                    Judgment, As To Count V by Plaintiffs Battle, Bernard, Bourgeois, Hall,
                    Robinson and Webster by ANTHONY BATTLE (Attachments: # 1 Exhibit 1
                    − Hall Request)(Toll, Joshua) (Entered: 10/23/2020)
10/23/2020   299


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                    MANDATE of USCA as to 267 Notice of Appeal to DC Circuit Court, filed
                    by WILLIAM EMMETT LECROY ; USCA Case Number 20−5285.
                    (Attachments: # 1 USCA Order)(zrdj) (Entered: 10/26/2020)
10/26/2020          Set/Reset Deadlines: Response due by 10/26/2020. Reply due by 10/27/2020.
                    (tb) (Entered: 10/26/2020)
10/26/2020   300    ORDER granting 290 Plaintiff Daniel Lewis Lee's Motion to Dismiss. It is
                    hereby ORDERED that Daniel Lewis Lee be removed as a Plaintiff in the
                    consolidated action. Signed by Judge Tanya S. Chutkan on 10/26/2020. (lcfb)
                    (Entered: 10/26/2020)
10/26/2020   301    Memorandum in opposition to re 298 MOTION to Alter Judgment as to 261
                    Memorandum & Opinion, 262 Order on Motion for Partial Summary
                    Judgment,, Order on Motion for Permanent Injunction,, Order on Motion to
                    Dismiss,, Order on Motion for Summary Judgment, As To Count V by Plai
                    filed by WILLIAM P. BARR, UNITED STATES DEPARTMENT OF JUSTICE.
                    (Attachments: # 1 Exhibit 1, # 2 Certificate of Service)(Walker, Johnny)
                    (Entered: 10/26/2020)
10/27/2020   302    REPLY to opposition to motion re 298 MOTION to Alter Judgment as to 261
                    Memorandum & Opinion, 262 Order on Motion for Partial Summary
                    Judgment,, Order on Motion for Permanent Injunction,, Order on Motion to
                    Dismiss,, Order on Motion for Summary Judgment, As To Count V by Plai
                    Plaintiffs Battle, Bernard, Bourgeois, Hall, Robinson, and Webster filed by
                    ANTHONY BATTLE. (Toll, Joshua) (Entered: 10/27/2020)
10/28/2020   303    MOTION to Intervene by LISA MARIE MONTGOMERY (Attachments: # 1
                    Exhibit 1 − Complaint, # 2 Exhibit A − Dr. Van Norman declaration, # 3
                    Exhibit B − Dr. Edgar declaration, # 4 Exhibit C − Dr. Zivot declaration, # 5
                    Exhibit D − Dr. Almgren declaration, # 6 Exhibit E − Dr. Stevens declaration,
                    # 7 Exhibit F − Gail Van Norman declaration)(Henry, Kelley) (Entered:
                    10/28/2020)
10/28/2020   304    NOTICE of Appearance− Pro Bono by Kelley Henry on behalf of LISA
                    MARIE MONTGOMERY (Henry, Kelley) (Entered: 10/28/2020)
10/28/2020          MINUTE ORDER: A telephone hearing is hereby set for Monday 11/2/2020
                    at 11:00 am on movant LISA MARIE MONTGOMERY's 303 Motion to
                    Intervene. The Judge's courtroom deputy will contact the parties with dial−in
                    instructions. Signed by Judge Tanya S. Chutkan on 10/28/2020. (DJS)
                    (Entered: 10/28/2020)
10/29/2020          Set/Reset Hearings: Telephone Conference set for 11/2/2020 at 11:00 AM by
                    telephone before Judge Tanya S. Chutkan. (tb) (Entered: 10/29/2020)
11/02/2020          Minute Entry: Motion Hearing held on 11/2/2020 before Judge Tanya S.
                    Chutkan: re 303 MOTION to Intervene filed by LISA MARIE
                    MONTGOMERY. Oral motion by plaintiff to withdraw motion; heard and
                    GRANTED. (Court Reporter Bryan Wayne) (tb) (Entered: 11/02/2020)
11/03/2020   305    ORDER denying 238 Motion to Alter Judgment; denying 282 Motion to Alter
                    Judgment; denying 298 Motion to Alter Judgment. Signed by Judge Tanya S.
                    Chutkan on 11/03/2020. (lcfb) (Entered: 11/03/2020)
11/03/2020   306

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                    MOTION to Dismiss Count IV of Plaintiff Dustin Higgs's Complaint by
                    UNITED STATES DEPARTMENT OF JUSTICE (Attachments: # 1
                    Memorandum in Support, # 2 Text of Proposed Order, # 3 Certificate of
                    Service)(Walker, Johnny) (Entered: 11/03/2020)
11/04/2020   307    NOTICE OF APPEAL TO DC CIRCUIT COURT as to 193 Order on Motion
                    to Expedite, 261 Memorandum & Opinion, 205 Order on Motion for Entry of
                    Final Judgment, 305 Order on Motion to Alter Judgment,, 262 Order on
                    Motion for Partial Summary Judgment,, Order on Motion for Permanent
                    Injunction,, Order on Motion to Dismiss,, Order on Motion for Summary
                    Judgment, by ANTHONY BATTLE, BRANDON BERNARD, ALFRED
                    BOURGEOIS, CHADRICK EVAN FULKS, ORLANDO HALL, DUSTIN
                    HIGGS, NORRIS G. HOLDER, JR, DUSTIN LEE HONKEN, CORY
                    JOHNSON, WILLIAM EMMETT LECROY, DANIEL LEWIS LEE, KEITH
                    NELSON, KEITH NELSON, JEFFREY PAUL, WESLEY IRA PURKEY,
                    JAMES H. ROANE, JR, JULIUS ROBINSON, RICHARD TIPTON,
                    CHRISTOPHER ANDRE VIALVA, BRUCE WEBSTER. Filing fee $ 505,
                    receipt number ADCDC−7797043. Fee Status: Fee Paid. Parties have been
                    notified. (Drylewski, Alex) (Entered: 11/04/2020)
11/05/2020   308    Transmission of the Notice of Appeal, Order Appealed (Memorandum
                    Opinion), and Docket Sheet to US Court of Appeals. The Court of Appeals fee
                    was paid this date 11/04/2020 re 307 Notice of Appeal to DC Circuit Court,,,.
                    (ztd) (Entered: 11/05/2020)
11/05/2020          USCA Case Number 20−5329 for 307 Notice of Appeal to DC Circuit Court,,,
                    filed by RICHARD TIPTON, DUSTIN LEE HONKEN, NORRIS G.
                    HOLDER, JR., ANTHONY BATTLE, ALFRED BOURGEOIS, ORLANDO
                    HALL, CHADRICK EVAN FULKS, JEFFREY PAUL, DANIEL LEWIS
                    LEE, DUSTIN HIGGS, JULIUS ROBINSON, BRUCE WEBSTER,
                    BRANDON BERNARD, KEITH NELSON, CORY JOHNSON, WILLIAM
                    EMMETT LECROY, CHRISTOPHER ANDRE VIALVA, JAMES H.
                    ROANE, JR.,, WESLEY IRA PURKEY. (zrdj) (Entered: 11/05/2020)
11/05/2020   309    MOTION for Leave to File Motion for Stay of Execution by BRANDON
                    BERNARD, ORLANDO HALL (Attachments: # 1 Motion for Stay of
                    Execution, # 2 Text of Proposed Order)(Lentz, Amy) (Entered: 11/05/2020)
11/06/2020          MINUTE ORDER: Plaintiffs' 309 motion for leave to file a motion for stay of
                    execution pending appeal is hereby GRANTED. Plaintiffs shall refile the
                    motion for stay of execution as a new document. Defendants shall file a
                    response to Plaintiffs' motion to stay execution, not to exceed 20 pages, by
                    Thursday, November 12, 2020 at 5 p.m. Plaintiffs may file a reply, not to
                    exceed 10 pages, by Friday, November 13, 2020 at 11:59 p.m. Signed by
                    Judge Tanya S. Chutkan on 11/6/2020. (lcfb) (Entered: 11/06/2020)
11/07/2020   310    MOTION to Stay Execution by BRANDON BERNARD, ORLANDO HALL
                    (Attachments: # 1 Text of Proposed Order)(Lentz, Amy) (Entered:
                    11/07/2020)
11/10/2020          Set/Reset Deadlines: Response due by 11/12/2020. Reply due by 11/13/2020.
                    (tb) (Entered: 11/10/2020)
11/12/2020   311    Memorandum in opposition to re 310 MOTION to Stay Execution filed by
                    WILLIAM P. BARR, UNITED STATES DEPARTMENT OF JUSTICE.

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                    (Walker, Johnny) (Entered: 11/12/2020)
11/13/2020   312    REPLY to opposition to motion re 310 MOTION to Stay Execution filed by
                    BRANDON BERNARD, ORLANDO HALL. (Lentz, Amy) (Entered:
                    11/13/2020)
11/16/2020   313    Emergency MOTION for Entry of Final Judgment by Plaintiffs by
                    ANTHONY BATTLE (Attachments: # 1 Text of Proposed Order)(Toll,
                    Joshua) (Entered: 11/16/2020)
11/16/2020   314    ENTERED IN ERROR ( SEE DOCKET ENTRY 315 .....ORDER granting
                    313 Motion for Entry of Final Judgment. The court hereby enters PARTIAL
                    FINAL JUDGMENT for the Defendants as to Count V (Ultra Vires Agency
                    Action) of the Amended Complaint. Signed by Judge Tanya S. Chutkan on
                    11/16/2020. (lcfb) Modified on 11/17/2020 (tb). (Entered: 11/16/2020)
11/16/2020   315    ORDER granting 313 Motion for Entry of Final Judgment. The court hereby
                    enters PARTIAL FINAL JUDGMENT for the Defendants as to Count V
                    (Ultra Vires Agency Action) of the Amended Complaint. Signed by Judge
                    Tanya S. Chutkan on 11/16/2020. (lcfb) (Entered: 11/16/2020)
11/17/2020   316    ORDER denying 310 Motion to Stay Execution Pending Appeal. Signed by
                    Judge Tanya S. Chutkan on 11/17/2020. (lcfb) (Entered: 11/17/2020)
11/17/2020   317    Unopposed MOTION for Extension of Time to File Opposition to Defendants'
                    Motion to Dismiss Count IV of Plaintiff Higgs's Complaint by DUSTIN
                    HIGGS (Attachments: # 1 Text of Proposed Order)(Nolan, Shawn) (Entered:
                    11/17/2020)
11/18/2020          MINUTE ORDER: For good cause shown, Plaintiff Dustin Higgs' 317
                    Unopposed Motion for Extension of Time to File an Opposition to Defendants'
                    306 Motion to Dismiss Count IV is hereby GRANTED. Plaintiff Higgs shall
                    file an opposition to Defendants' 306 motion by November 20, 2020. Signed
                    by Judge Tanya S. Chutkan on 11/18/2020. (lcfb) (Entered: 11/18/2020)
11/18/2020          Set/Reset Deadlines: Plaintiff Dustin Higgs shall file an opposition to
                    Defendants' 306 Motion to Dismiss Count IV of Plaintiff Dustin Higgs's
                    Complaint by 11/20/2020. (jth) (Entered: 11/18/2020)
11/18/2020          MINUTE ORDER: In light of the D.C. Circuit's order reversing this court's
                    dismissal of Plaintiffs' Eighth Amendment claim and the execution of Orlando
                    Hall scheduled for tomorrow, it is hereby ORDERED that any motion for
                    expedited relief be filed by 4 p.m. today. Signed by Judge Tanya S. Chutkan
                    on 11/18/2020. (lcfb) (Entered: 11/18/2020)
11/18/2020   318    MOTION to Set Aside 2019 Federal Lethal Injection Protocol, MOTION to
                    Stay Execution by ORLANDO HALL (Attachments: # 1 Text of Proposed
                    Order)(Lentz, Amy) Modified event on 11/19/2020 (znmw). (Entered:
                    11/18/2020)
11/18/2020   321    MANDATE of USCA as to 307 Notice of Appeal to DC Circuit Court,,, filed
                    by RICHARD TIPTON, DUSTIN LEE HONKEN, NORRIS G. HOLDER,
                    JR., ANTHONY BATTLE, ALFRED BOURGEOIS, ORLANDO HALL,
                    CHADRICK EVAN FULKS, JEFFREY PAUL, DANIEL LEWIS LEE,
                    DUSTIN HIGGS, JULIUS ROBINSON, BRUCE WEBSTER, BRANDON
                    BERNARD, KEITH NELSON, CORY JOHNSON, WILLIAM EMMETT

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                    LECROY, CHRISTOPHER ANDRE VIALVA, JAMES H. ROANE, JR.,,
                    WESLEY IRA PURKEY ; USCA Case Number 20−5329. (Attachments: # 1
                    USCA Order)(zrdj) (Entered: 11/19/2020)
11/19/2020   319    Memorandum in opposition to re 318 MOTION for Order Setting Aside 2019
                    Federal Lethal Injection Protocol MOTION to Stay Execution filed by
                    WILLIAM P. BARR, U.S. DEPARTMENT OF JUSTICE. (Walker, Johnny)
                    (Entered: 11/19/2020)
11/19/2020   320    REPLY to opposition to motion re 318 MOTION to Set Aside 2019 Federal
                    Lethal Injection Protocol MOTION to Stay Execution filed by ORLANDO
                    HALL. (Lentz, Amy) (Entered: 11/19/2020)
11/19/2020   322    MEMORANDUM AND OPINION re Plaintiff Orlando Hall's 318 Motion to
                    Set Aside 2019 Federal Lethal Injection Protocol and Motion to Stay
                    Execution. Signed by Judge Tanya S. Chutkan on 11/19/2020. (lcfb) (Entered:
                    11/19/2020)
11/19/2020   323    ORDER granting 318 Motion to Stay Execution and Motion to Set Aside
                    Federal Lethal Injection Protocol. Signed by Judge Tanya S. Chutkan on
                    11/19/2020. (lcfb) (Entered: 11/19/2020)
11/19/2020   324    NOTICE OF APPEAL TO DC CIRCUIT COURT as to 322 Memorandum &
                    Opinion, 323 Order on Motion to Set Aside, Order on Motion to Stay by
                    UNITED STATES DEPARTMENT OF JUSTICE, WILLIAM P. BARR, U.S.
                    DEPARTMENT OF JUSTICE. Fee Status: No Fee Paid. Parties have been
                    notified. (Walker, Johnny) (Entered: 11/19/2020)




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 In the Matter of the
 Federal Bureau of Prisons’ Execution
 Protocol Cases
                                                                Case No. 19-mc-0145 (TSC)
 LEAD CASE: Roane, et al. v. Barr
 THIS DOCUMENT RELATES TO:
 Roane, et al. v. Barr, No. 05-2337


                                      NOTICE OF APPEAL

       Notice is hereby given that Defendants in this action appeal to the United States Court of

Appeals for the District of Columbia Circuit from the Memorandum Opinion and Order entered

on November 19, 2020, see ECF Nos. 322 (Memorandum Opinion) and 323 (Order), in which this

Court granted Orlando Hall’s Motion for an Order Setting Aside the Federal Lethal Injection

Protocol and for a Stay of Execution, ECF No. 318, and ordered that Defendants “are enjoined

from executing Plaintiffs until further order of this court.”

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Respectfully submitted,

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Dated: November 19, 2020




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                           CERTIFICATE OF SERVICE

       I hereby certify that on November 19, 2020, I caused a true and correct copy of

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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                )
In the Matter of the                            )
Federal Bureau of Prisons’ Execution            )
Protocol Cases,                                 )
                                                )
LEAD CASE: Roane, et al. v. Barr                )       Case No. 19-mc-145 (TSC)
                                                )
THIS DOCUMENT RELATES TO:                       )
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Roane, et al. v. Barr, 05-cv-2337               )
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                                 MEMORANDUM OPINION

        In an order issued early yesterday morning, the U.S. Court of Appeals for the District of

Columbia Circuit reversed this court’s dismissal of Plaintiff Orlando Hall’s Eighth Amendment

claim. In re Federal Bureau of Prisons’ Execution Protocol Cases, No. 20-5329 (D.C. Cir. Nov.

18, 2020). In doing so, the Court of Appeals found that this court had read too broadly Barr v.

Lee in assessing the irreparable harm facing Plaintiff from being executed with non-prescribed

pentobarbital in violation of the Food, Drug, and Cosmetic Act (FDCA).

        Plaintiff Hall, whose execution is scheduled for 6 p.m. today, has moved for an order

setting aside the 2019 Federal Bureau of Prisons’ Execution Protocol and declaring it unlawful

for Defendants to carry out further executions without a prescription for pentobarbital. Hall has

also moved for a stay of execution to allow the court to reconsider its finding that Plaintiffs in

this consolidated litigation failed to make the necessary showing of irreparable harm to warrant a

permanent injunction despite Defendants’ FDCA violation. Given the complexity of this

litigation, including a decision by the Court of Appeals issued on the eve of the scheduled

execution which has fundamentally altered this court’s prior fact-findings, and the Plaintiff’s



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likelihood of success on the merits of his challenge to this court’s irreparable harm findings, the

motion is GRANTED.

                                     I.      BACKGROUND1

A. The Court’s Prior Rulings

       On August 20, 2020, this court entered partial final judgment in favor of Defendants as to

Plaintiffs’ Eighth Amendment claim in Count II of their Amended Complaint. Based on the

Supreme Court’s reasoning in Barr v. Lee, the court found that “[s]o long as pentobarbital is

widely used . . . no amount of new evidence will suffice to prove that the pain pentobarbital

causes reaches unconstitutional levels.” (ECF No. 193 at 4 (discussing Barr v. Lee, 140 S. Ct.

2590 (2020) (per curiam)).) This conclusion was premised, in part, on the Supreme Court’s

observation that Plaintiffs’ Eighth Amendment claim faced “an exceedingly high bar” given that

single-dose pentobarbital “has become a mainstay of state executions . . . [h]as been used to

carry out over 100 executions, without incident . . . [and h]as been repeatedly invoked by

prisoners as a less painful and risky alternative to the lethal injection protocols of other

jurisdictions.” Lee, 140 S. Ct. at 2591; see also id. (citing Bucklew v. Precythe, 139 S. Ct. 1112,

1124 (2019)) (“This Court has yet to hold that a State’s method of execution qualifies as cruel

and unusual.”).

       In its Opinion, the court further concluded that even if it “found in favor of Plaintiffs on

all alleged facts,” including evidence that an inmate would be virtually certain to suffer the

effects of flash pulmonary edema, “there would be no Eighth Amendment violation because the




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  This being the most recent of several opinions in this litigation, the court presumes familiarity
with the facts and procedural posture of the case. A more detailed recitation of the facts may be
found in the Court of Appeals’ most recent opinion in this case. Execution Protocol Cases, No.
20-5329, Slip Op. at 5–11.
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evidence of pain would not satisfy Lee’s high bar for an objectively intolerable risk of pain.”

(ECF No. 193 at 3, 5.)

       On September 20, 2020, the court granted summary judgment in favor of Plaintiffs’

FDCA claim. It found that that “the pentobarbital the government intends to use in executions is

subject to the FDCA and fails to meet the premarketing, labeling, and prescription requirements

therein,” and that because “the government’s use, under the 2019 Protocol, of pentobarbital . . .

has not been prescribed and does not meet other statutory requirements of the FDCA,” the

intended executions “constitute[] agency action that is contrary to law in violation of the APA

[Administrative Procedure Act].” (ECF No. 261 at 33; see also ECF No. 213.)

       The court, however, denied Plaintiffs’ request for injunctive relief, finding that although

there was a “possibility that inmates will suffer excruciating pain during their executions,

Plaintiffs have not established that flash pulmonary edema is ‘certain’ or even ‘likely’ to occur

before an inmate is rendered insensate.” (ECF No. 261 at 36.)

       This conclusion was influenced by the court’s overbroad reading of Lee. Emphasizing

that it could not “weigh the evidence before it in a vacuum,” the court concluded that Plaintiffs

were not entitled to injunctive relief “[g]iven the Supreme Court’s decision” in Lee and “the

competing evidence in this case.” (Id. at 39–40.) The court reaffirmed this reading in

considering Plaintiffs’ motion for reconsideration, explaining that it was “constrained” by the

Supreme Court’s findings in Lee and other cases and that “Plaintiff would need to supply

evidence that casts doubt on the more than “100 executions carried out using pentobarbital.”

(ECF No. 305 at 7.)




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B. The Court of Appeals’ November 18, 2020 Decision

       In reversing this court’s dismissal of Plaintiffs’ Eighth Amendment claim, the Court of

Appeals disagreed with this court’s assessment that “no amount of new evidence will suffice to

prove that the pain pentobarbital causes reaches unconstitutional levels.” Execution Protocol

Cases, No. 20-5329, slip op. at 18–19 (citing ECF No. 193 at 4). The Court clarified that “all the

Supreme Court said in Lee was that, under the demanding preliminary-injunction standard and

before any conclusive factual findings could be made in the case, ‘competing expert testimony’

over whether pulmonary edema occurs before or after the inmate is rendered insensate would not

by itself support a ‘last-minute’ stay of execution.” Id. at 19 (citing Lee, 140 S. Ct. at 2591).

       Finally, the Court of Appeals affirmed this court’s conclusion that “the FDCA applies

when already-covered drugs like pentobarbital are used for lethal injections” and that the

Protocol as administered is “‘not in accordance with law’ to the extent it allows the dispensation

and administration of pentobarbital without a prescription.” Id. at 24 (quoting 5 U.S.C.

§ 706(2)). The Court then directed that the Protocol be “set aside” in that respect. Id. It

affirmed this court’s denial of a stay given this court’s finding that “the evidence in the record

does not support Plaintiffs’ contention that they are likely to suffer flash pulmonary edema while

still conscious.” Id. at 25 (quoting ECF No. 261 at 39).

       Plaintiff then filed the present motion, asking the court to: 1) issue an order setting aside

the 2019 Protocol and declaring it unlawful for Defendants to carry out further executions

without a prescription, and 2) stay his execution to allow the court to reconsider its findings that

Plaintiffs failed to make the necessary ‘irreparable harm’ showing to warrant enjoining their

executions.




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       As to the first request, the Court of Appeals has already directed this court to enter an

order setting aside the Protocol to the extent it permits the dispensing and administration of

pentobarbital without a prescription, and the court will therefore issue an order accordingly.

Given the extraordinary circumstances here, the request for a stay of execution will be granted.

                                   II.     LEGAL STANDARD

       In considering whether to grant the “extraordinary remedy” afforded by injunctive relief,

courts assess four factors: (1) the likelihood of the plaintiff’s success on the merits, (2) the threat

of irreparable harm to the plaintiff absent an injunction, (3) the balance of equities, and (4) the

public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20, 24 (2008) (citations

omitted); John Doe Co. v. Consumer Fin. Prot. Bureau, 849 F.3d 1129, 1131 (D.C. Cir. 2017).

“[L]ike other stay applicants, inmates seeking time to challenge the manner in which the [the

government] plans to execute them must satisfy all of the requirements for a stay, including a

showing of a significant possibility of success on the merits.” Hill v. McDonough, 547 U.S. 573,

584 (2006). In addition, “the traditional stay inquiry calls for assessing the harm to the opposing

party and weighing the public interest,” two factors that “merge” where, as here, the government

is the opposing party. Nken v. Holder, 556 U.S. 418, 435 (2009).

A. Significant Possibility of Success on the Merits

       In denying Plaintiff’s earlier request for permanent injunctive relief, the court found that

the evidence in the record was insufficient to show that flash pulmonary edema was “likely, let

alone ‘certain’ or ‘imminent.’” (ECF No. 261 at 40 (citing Wis. Gas Co. v. FERC, 758 F.2d 669,

674 (D.C. Cir. 1985)).) As the court explained, this conclusion was premised, in part, on its

interpretation of Lee. (Id. at 39–40.) And in ruling on Plaintiffs’ motion for reconsideration, the

court found that in order to demonstrate irreparable harm, Plaintiffs would need to “supply



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evidence that casts doubt on the more than 100 executions carried out using pentobarbital.” (See

ECF No. 305.) 2

       These conclusions were thrown into doubt given the D.C. Circuit’s clarification of Lee.

And as Judge Pillard pointed out in her dissent, this court’s prior assessment of the evidence in

the record was tainted by the court’s erroneous interpretation of Lee. See Execution Protocol

Cases, No. 20-5320, slip op. at 31 (Pillard, J., dissenting) (“Only after the Supreme Court

vacated a preliminary injunction on Plaintiffs’ Eighth Amendment claim did the district court

find that Plaintiffs had failed to show irreparable harm.”).

       Indeed, correcting this court’s error casts the evidence in a different light such that

Plaintiffs have established a significant possibility of showing irreparable harm given

Defendants’ violation of the FDCA. This court found initially that the question of whether an

inmate injected with a high dose of pentobarbital will suffer flash pulmonary edema while

sensate was one upon which reasonable minds could differ. But that conclusion was premised on

a finding that Plaintiffs had failed to “completely undermine” the testimony of Defendants’

expert Dr. Crowns. (See ECF No. 261 at 38.) This improperly elevated Plaintiff’s burden to

show irreparable harm. And new evidence presented after each execution (See, e.g., ECF

No. 282-4, Van Norman Supp. Decl.), appears to chip away at Crowns’ hypothesis and, given

the Court of Appeals’ interpretation of Lee, undermines the basis for the court’s conclusion on




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  The court also explained that it was not clear whether the prescription requirement was linked
to the harm of flash pulmonary edema. (ECF No. 261 at 36.) The Court of Appeals could have
adopted this reasoning and avoided consideration of the court’s factual finding regarding
irreparable harm altogether. Instead, it relied on this court’s factual findings, which suggests, at
least at this juncture, that the Plaintiffs can make a showing of irreparable harm in the absence of
the prescription requirement.
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Plaintiffs’ motion for reconsideration of the irreparable harm finding. Accordingly, this factor

weights in favor of issuing a stay.

       Defendants’ arguments to the contrary are unpersuasive. First, they argue that Dunn v.

McNabb, 138 S. Ct. 369 (2017) forecloses this court’s ability to issue a stay to reconsider its

findings on irreparable harm. (ECF No. 319 at 1.) Not quite. In Dunn, the Supreme Court

vacated a stay issued by a district court where the plaintiff had failed to establish a “significant

possibility of success on the merits.” 138 S. Ct. 369. Plaintiff in this case has made that

showing. Citing the mandate rule, Defendants also argue that Plaintiff’s request for injunctive

relief is foreclosed by the D.C. Circuit’s finding that this court “was correct to deny the entry of a

permanent injunction” on the FDCA claims. (ECF No. 319 at 2.) But as Plaintiff correctly

points out, the Circuit’s conclusion means only that this court did not abuse its discretion under

the circumstances that were then before it, not that a permanent injunction was unavailable as a

matter of law. Even after a mandate issues, a court may revisit an issue when “there has been a

substantial change in the evidence or where an intervening decision has changed the law.”

Yankee Atomic Elec. Co. v. United States, 679 F.3d 1354, 1360 (Fed. Cir. 2012); accord Barrow

v. Falck, 11 F.3d 729, 731 (7th Cir. 1993) (“An appellate mandate does not turn a district judge

into a robot, mechanically carrying out orders that become inappropriate in light of subsequent

factual discoveries or changes in the law.”).

       The Court of Appeals’ decision has fundamentally changed the law upon which this court

relied in making its factual finding. Thus, the court is not foreclosed from reconsidering whether

to grant a permanent injunction, especially after finding that Plaintiff has a substantial possibility

of success on the merits.




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B. Irreparable Harm

       In order to prevail on a request for a stay, as with a request for a preliminary injunction,

irreparable harm “must be certain and great, actual and not theoretical, and so imminent that

there is a clear and present need for equitable relief to prevent irreparable harm,” and it “must be

beyond remediation.” League of Women Voters of U.S. v. Newby, 838 F.3d 1, 7–8 (D.C. Cir.

2016) (citing Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir.

2006)) (internal quotation marks and brackets omitted); see also Nken, 556 U.S. at 434 (noting

the substantial overlap between the factors governing a stay and the factors governing a

preliminary injunction). Here, without injunctive relief, Plaintiff will be executed with a drug

administered in violation of a federal law that ensures its safety and efficacy for the intended

purpose. Furthermore, he will be unable to pursue his Eighth Amendment claim, which the D.C.

Circuit has just revived as of yesterday. This harm is manifestly irreparable.

       Other courts in this Circuit have found irreparable harm in similar, but less dire

circumstances. See, e.g., Damus v. Nielsen, 313 F. Supp. 3d 317, 342 (D.D.C. 2018) (finding

irreparable injury where plaintiffs faced detention under challenged regulations); Stellar IT Sols.,

Inc. v. USCIS, No. 18-2015 (RC), 2018 WL 6047413, at *11 (D.D.C. Nov. 19, 2018) (finding

irreparable injury where plaintiff would be forced to leave the country under challenged

regulations); FBME Bank Ltd. v. Lew, 125 F. Supp. 3d 109, 126–27 (D.D.C. 2015) (finding

irreparable injury where challenged regulations would threaten company’s existence); N.

Mariana Islands v. United States, 686 F. Supp. 2d 7, 19 (D.D.C. 2009) (finding irreparable

injury where challenged regulations would limit guest workers).




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C. Balance of Equities

        The need for closure in this case—particularly for the victim’s family—is weighty. See

Calderon v. Thompson, 523 U.S. 538, 556 (1998) (“Only with an assurance of real finality can

the [government] execute its moral judgment in a case . . . [and] the victims of crime move

forward knowing the moral judgment will be carried out.”). And this court is mindful of the

Supreme Court’s caution against last minute stays of execution. See Bucklew, 139 S. Ct. at 1134.

But the government’s ability to enact moral judgment is a great responsibility and, in the case of

a death sentence, cannot be reversed. After suspending federal executions for over seventeen

years, the government announced a new Execution Protocol and a resumption of executions in

July 2019, and since July of this year has executed seven inmates. Any potential harm to the

government caused by a brief stay is not substantial. Indeed, the government has not shown that

it would be significantly burdened by staying federal executions until it can secure a valid

prescription. Accordingly, the court sees no reason why this execution must proceed today.

        Thus, the balance of the equities favors a stay.

D. Public Interest

        The court is deeply concerned that the government intends to proceed with a method of

execution that this court and the Court of Appeals have found violates federal law. The public

interest is not served by executing individuals in this manner. See Harris v. Johnson, 323 F.

Supp. 2d 797, 810 (S.D. Tex. 2004) (“Confidence in the humane application of the governing

laws . . . must be in the public’s interest.”).

        Thus, the court finds that all four factors weigh in favor of a stay. The court once again

finds itself in the unenviable position of having to issue yet another last-minute stay of execution.

Nonetheless, this is the nature of death penalty litigation and this court has had a disproportionate



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number of such claims given the nature of the case. Moreover, this result could not have been

avoided here. The Court of Appeals issued a decision altering the court’s understanding of the

law of this case just after 3 a.m. yesterday. The Court of Appeals’ mandate was not filed until 3

p.m., another twelve hours later. The court received Plaintiff’s motion at around 10 p.m. last

night and the motion was fully briefed around 10:45 a.m. this morning. The court would not

issue a stay were it not convinced that the Plaintiff has presented claims that had a substantial

possibility of succeeding. Indeed, the court denied another request for a stay of execution

brought by Orlando Hall earlier this week. (See Hall v. Barr, No. 20-cv-3184 (D.D.C.).)

                                      III.    CONCLUSION

       For the foregoing reasons, Plaintiffs motion for a stay of execution will be GRANTED

until such time that the court has reconsidered its finding that Plaintiffs failed to show the

necessary “irreparable harm” to warrant enjoining their executions, despite Defendants’ violation

of the FDCA. Plaintiff’s request for an order declaring that the Federal Execution Protocol must

be set aside to the extent it permits the use of pentobarbital not subject to a prescription is also

GRANTED. The court will issue an accompanying order.

Date: November 19, 2020


                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                )
In the Matter of the                            )
Federal Bureau of Prisons’ Execution            )
Protocol Cases,                                 )
                                                )
LEAD CASE: Roane, et al. v. Barr                )       Case No. 19-mc-145 (TSC)
                                                )
THIS DOCUMENT RELATES TO:                       )
                                                )
Roane, et al. v. Barr, 05-cv-2337               )
                                                )

                                             ORDER

        In accordance with the Court of Appeals’ November 18 ruling, In re Bureau of Prisons’

Execution Protocol Cases, No. 20-5329 (D.C. Cir. Nov. 18, 2020) and 5 U.S.C. § 706(2), it is

hereby ORDERED that the Federal Bureau of Prison’s 2019 Execution Protocol be set aside to

the extent it allows the dispensation and administration of pentobarbital without a prescription.

        Plaintiff’s motion for a temporary stay of execution is hereby GRANTED for the reasons

set forth in the accompanying Memorandum Opinion. It is further ORDERED that Defendants

(along with their respective successors in office, officers, agents, servants, employees, attorneys,

and anyone acting in concert with them) are enjoined from executing Plaintiffs until further order

of this court.

Date: November 19, 2020


                                              Tanya S. Chutkan
                                              TANYA S. CHUTKAN
                                              United States District Judge




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